          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 1 of 66




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA, ACTING
BY AND THROUGH DELAWARE COUNTY
DISTRICT ATTORNEY JACK STOLLSTEIMER and
HAVERFORD TOWNSHIP,

                     Plaintiffs,

v.

3M COMPANY (f/k/a Minnesota Mining and
Manufacturing Co.); E. I. DUPONT DE NEMOURS
AND COMPANY; THE CHEMOURS COMPANY;
THE CHEMOURS COMPANY FC, LLC; DUPONT DE
NEMOURS, INC.; CORTEVA, INC.; CHEMGUARD,
                                                             Civil Action No. 21-3587
INC.; TYCO FIRE PRODUCTS LP (successor-in-
interest to The Ansul Company); KIDDE-FENWAL,
INC.; KIDDE PLC, INC.; CHUBB FIRE, LTD.; UTC
                                                             NOTICE OF REMOVAL
FIRE & SECURITY AMERICAS CORPORATION,
INC.; CARRIER GLOBAL CORPORATION;
                                                             JURY TRIAL DEMANDED
RAYTHEON TECHNOLOGIES CORPORATION (f/k/a
United Technologies Corporation); NATIONAL FOAM,
INC.; BUCKEYE FIRE EQUIPMENT COMPANY;
ARKEMA, INC.; BASF CORPORATION;
CHEMDESIGN PRODUCTS, INC.; CLARIANT
CORPORATION; CHEMICALS INCORPORATED;
NATION FORD CHEMICAL COMPANY; AGC INC.
(f/k/a Asahi Glass Co., Ltd.); AGC CHEMICALS
AMERICAS INC.; DEEPWATER CHEMICALS, INC.;
DYNAX CORPORATION; ARCHROMA
MANAGEMENT, LLC; ARCHROMA U.S., INC.; AND
JOHN DOE DEFENDANTS 1-49,

                     Defendants.

       Defendants Tyco Fire Products LP and Chemguard, Inc. (“Tyco and Chemguard”), by and

through undersigned counsel, hereby give notice of the removal of this action, pursuant to 28

U.S.C. §§ 1442(a)(1) and 1446, from the Court of Common Pleas of Delaware County,

Pennsylvania, to the United States District Court for the Eastern District of Pennsylvania. As



                                              1
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 2 of 66




grounds for removal, Tyco and Chemguard allege as follows on personal knowledge as to their

own conduct and status and on information and belief as to all other matters:

                                PRELIMINARY STATEMENT

       1.      Plaintiffs the Commonwealth of Pennsylvania, acting by and through Delaware

County District Attorney Jack Stollsteimer, and Haverford Township seek to hold Tyco and

Chemguard and certain other Defendants liable based on their alleged conduct in designing,

manufacturing, and/or selling aqueous film-forming foams (“AFFF”) at or near their property,

which allegedly contaminated their properties.

       2.       Two “Part 139” civilian airports1—the Philadelphia International Airport in Phila-

delphia, Pennsylvania and Reading Regional Airport in Reading, Pennsylvania—are plausible

sources of the AFFF that has allegedly caused Plaintiffs’ injuries. Part 139 airports are required

by law to stock and use AFFF manufactured by a select group of suppliers (including Tyco and

Chemguard) whose products appear on the Department of Defense (“DoD”) Qualified Products

List for sale to the United States military and others in accordance with the military’s rigorous

specifications (“MilSpec AFFF”). Under the federal “government contractor” defense recognized

in Boyle v. United Technologies Corp., 487 U.S. 500 (1988), Tyco and Chemguard are immune to

tort liability for their design and manufacture of MilSpec AFFF and their provision of warnings

for the product. Under the federal officer removal statute, 28 U.S.C. § 1442, Tyco and Chemguard

are entitled to remove this action in order to have their federal defense adjudicated in a federal

forum. See Papp v. Fore-Kast Sales Co., 842 F.3d 805, 810–15 (3d Cir. 2016) (alterations in

original). Such removal “fulfills the federal officer removal statute’s purpose of protecting persons



       1
          See FAA Part 139 Airport Certification Status List (last updated Aug. 3, 2021), available
at https://www.faa.gov/airports/airport_safety/part139_cert/.

                                                 2
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 3 of 66




who, through contractual relationships with the Government, perform jobs that the Government

otherwise would have performed.” Isaacson v. Dow Chem. Co., 517 F.3d 129, 133 (2d Cir. 2008).

                                         BACKGROUND

       3.      This action was filed on June 28, 2021, in the Court of Common Pleas of Delaware

County, Pennsylvania, bearing Docket No. CV-2021-005707 (Ex. A, Complaint). Venue is proper

in this Court pursuant to 28 U.S.C. §§ 118(a) and 1441(a) because the Court of Common Pleas of

Delaware County, Pennsylvania, is located within the Eastern District of Pennsylvania.

       4.      Tyco and Chemguard were served on July 13, 2021.

       5.      Tyco and Chemguard are not required to notify or obtain the consent of any other

Defendant in this action in order to remove Plaintiffs’ action as a whole under § 1442(a)(1). See,

e.g., Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006); Linden v. Chase

Manhattan Corp., No. 99 Civ. 3970(LLS), 1999 WL 518836, at *1 (S.D.N.Y. July 21, 1999);

Torres v. CBS News, 854 F. Supp. 245, 246 n.2 (S.D.N.Y. 1994).

       6.      Plaintiffs generally allege that Defendants, including Tyco and Chemguard, have

designed, manufactured, marketed, distributed, and/or sold AFFF products and/or fluorinated

surfactants used therein, which contain PFAS, including PFOS, PFOA, and/or their precursors.

(Ex. A, Compl. ¶¶ 7–9, 17, 31–36). Plaintiff Haverford Township alleges that these AFFF

products were released, used, stored, and/or disposed of at or near its property. (Id. ¶¶ 10, 82).

Haverford Township further alleges that Defendants’ products resulted in PFOA, PFOS, and/or

their precursors migrating into groundwater and the ensuing contamination of the surface water,

soil, sediment, and groundwater of its property. (Id. ¶¶ 10–12, 37–39, 53–54, 119).

       7.      Plaintiffs assert claims for strict liability for a design defect and/or defective

product (id. ¶¶ 59–76), strict liability for failure to warn (id. ¶¶ 77–88), nuisance (id. ¶¶ 89–97),



                                                 3
             Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 4 of 66




trespass (id. ¶¶ 98–106), negligence (id. ¶¶ 107–15), civil conspiracy (id. ¶¶ 116–21), fraudulent

transfer (id. ¶¶ 122–32), and violations to Pennsylvania’s Unfair Trade Practices and Consumer

Protection Law (id. ¶¶ 133–153).

        8.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon counsel for Plaintiffs and a copy is being filed with the Clerk of the Court of Common Pleas

of Delaware County, Pennsylvania.

        9.      By filing a Notice of Removal in this matter, Tyco and Chemguard do not waive

the rights of any Defendant to object to service of process, the sufficiency of process, jurisdiction

over the person, or venue; and Tyco and Chemguard specifically reserve the rights of all

Defendants to assert any defenses and/or objections to which they may be entitled.

        10.     Tyco and Chemguard reserve the right to amend or supplement this Notice of

Removal.

                     REMOVAL IS PROPER UNDER THE FEDERAL
                     OFFICER REMOVAL STATUTE, 28 U.S.C. § 1442

        11.     Removal here is proper under the federal officer removal statute, 28 U.S.C. §

1442(a)(1), which provides for removal of an action relating to a defendant’s acts undertaken at

the direction of a federal officer. Removal is appropriate under this provision where the removing

defendant establishes that: (a) it is a “person” within the meaning of the statute; (b) it acted under

federal authority; (c) plaintiff’s claims are “for[] or relating to” the defendant’s actions taken

pursuant to a federal officer’s directions; and (d) it can assert a “colorable” federal defense. Papp,

842 F.3d at 812; cf. Mesa v. California, 489 U.S. 121, 124–25, 129–31, 133–35 (1989); Cuomo v.

Crane Co., 771 F.3d 113, 115 (2d Cir. 2014); Isaacson, 517 F.3d at 135; Durham, 445 F.3d at

1251.




                                                  4
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 5 of 66




       12.     Removal rights under the federal officer removal statute are much broader than

under the general removal statute, 28 U.S.C. § 1441. Suits against defendants acting on behalf of

federal officers “may be removed despite the nonfederal cast of the complaint; the federal-question

element is met if the defense depends on federal law.” Jefferson County v. Acker, 527 U.S. 423,

431 (1999). This is because § 1442 protects “the government’s need to provide a federal forum

for its officers and those who are ‘acting under’ a federal office.” Albrecht v. A.O. Smith Water

Prods., No. 11 Civ. 5990(BSJ), 2011 WL 5109532, at *3 (S.D.N.Y. Oct. 21, 2011) (citation

omitted).    This important federal policy “should not be frustrated by a narrow, grudging

interpretation of [§] 1442(a)(1).” Willingham v. Morgan, 395 U.S. 402, 407 (1969); see Durham,

445 F.3d at 1252. To the contrary, § 1442 as a whole must be “liberally construe[d]” in favor of

removal. Papp, 842 F.3d at 812 (alterations in original) (internal quotation marks omitted).

       13.     All requirements for removal under § 1442(a)(1) are satisfied where, as here, the

notice of removal alleges that the plaintiff’s injuries are caused at least in part by MilSpec AFFF.

See, e.g., Nessel v. Chemguard, Inc., No. 1:20-cv-1080, 2021 WL 744683, at *3 (W.D. Mich. Jan.

6, 2021) (denying motion to remand in AFFF case against Tyco and Chemguard and other

manufacturers and holding that, notwithstanding plaintiffs’ assertion “that they do not seek

resolution of any claims related to MilSpec AFFF[,] . . . . Plaintiffs cannot decide what defense

Defendants might present”); Ayo v. 3M Co., No. 18-CV-0373(JS)(AYS), 2018 WL 4781145

(E.D.N.Y. Sept. 30, 2018) (denying motion to remand and finding that federal officer removal was

proper in a lawsuit against Tyco and Chemguard and other AFFF manufacturers). The court

overseeing the In re Aqueous Film-Forming Foams Products Liability Litigation multi-district

litigation has also found on multiple occasions that removal under § 1442 is proper where the

notice of removal alleges that plaintiffs’ injuries are caused, at least in part, by MilSpec AFFF.



                                                 5
           Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 6 of 66




See Order, In re AFFF Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG, ECF No. 103 (D.S.C.

May 24, 2019) (“MDL Order 1”), at 3–6; Order, In re AFFF Prods. Liab. Litig., MDL No. 2:18-

mn-2873-RMG, ECF No. 320 (D.S.C. Sept. 27, 2019) (“MDL Order 2”), at 3–5; Order, In re

AFFF Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG, ECF No. 325 (D.S.C. Oct. 1, 2019)

(“MDL Order 3”), at 3–6. Given its experience with the claims and defenses in AFFF litigation,

the MDL Court’s holdings clearly demonstrate that this case, too, has been properly removed to

federal court.2

A.     MilSpec AFFF

       14.        Since the 1960s, the United States military has used MilSpec AFFF on military

bases, airfields, and Navy ships—settings where fuel fires are inevitable and potentially

devastating—to train its personnel, put out fires, save lives, and protect property. Indeed, the

United States Naval Research Laboratory developed AFFF in response to catastrophic fires aboard

the aircraft carriers USS Forrestal in 1967 and USS Enterprise in 1969.3 Decades later, the Naval

Research Laboratory described the development of AFFF as “one of the most far-reaching benefits

to worldwide aviation safety.”4

       15.        The manufacture and sale of MilSpec AFFF is governed by rigorous military

specifications created and administered by Naval Sea Systems Command.            The applicable

specification, Mil-F-24385, was first promulgated in 1969, and has been revised a number of times



       2
       Following removal, Tyco and Chemguard intend to designate this action for transfer to
the MDL.
       3
          See Press Release 71-09r, U.S. Naval Research Lab., Navy Researchers Apply Science
to Fire Fighting (Oct. 23, 2009), https://tinyurl.com/y2jq4q4w.
       4
          U.S. Navy, NRL/MR/1001-06-8951, The U.S. Naval Research Laboratory (1923–2005):
Fulfilling the Roosevelts’ Vision for American Naval Power 37 (2006) (“Fulfilling the Roosevelts’
Vision”), https://permanent.fdlp.gov/gpo125428/roosevelts.pdf.

                                                6
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 7 of 66




since then.5 All MilSpec AFFF products must be qualified for listing on the applicable Qualified

Products List prior to military procurement. Prior to such listing, a manufacturer’s products are

examined, tested, and approved to be in conformance with specification requirements.6 The

MilSpec designates Naval Sea Systems Command as the agency responsible for applying these

criteria and determining whether AFFF products satisfy the MilSpec’s requirements. After a

product is added to the Qualified Products List, “[c]riteria for retention of qualification are applied

on a periodic basis to ensure continued integrity of the qualification status.”7 Naval Sea Systems

Command reserves the right to perform any of the quality assurance inspections set forth in the

specification where such inspections are deemed necessary to ensure supplies and services

conform to prescribed requirements.

       16.       From its inception until very recently, the MilSpec included the express

requirement that MilSpec AFFF contain “fluorocarbon surfactants.” All fluorocarbon surfactants

are PFAS, and that category includes PFOA, PFOS, and their chemical precursors—the very

compounds at issue in the Complaint here. This requirement has been in force for virtually the

entire time period at issue in the Complaint. In 2019, the MilSpec removed the modifier

“fluorocarbon” from “surfactants,” but it expressly states that “the DoD intends to acquire and use

AFFF with the lowest demonstrable concentrations of . . . PFOS and PFOA” “[i]n the short term.”

PFOA or PFOS are unavoidably present at some concentrations in fluorocarbon surfactants, and




       5
          The 1969 MilSpec and all its revisions and amendments through April 2020 are available
at https://tinyurl.com/yxwotjpg.
       6
            Dep’t of Defense SD-6, Provisions Governing Qualification 1 (Feb. 2014),
https://tinyurl.com/y5asm5bw.
       7
           Id.

                                                  7
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 8 of 66




the current MilSpec expressly contemplates that AFFF formulations will contain PFOA and PFOS

(subject to recently imposed limits).

       17.        So-called “Part 139” airports are those serving scheduled passenger flights by nine

passenger (or larger) aircraft or unscheduled passenger flights by 31 passenger (or larger) aircraft.

See 14 C.F.R. § 139.1 (2019). The federal government requires Part 139 airports to use MilSpec

AFFF. On July 8, 2004, the FAA issued Advisory Circular 150/5210-6D, which stated that “AFFF

agents [used by Part 139 airports] must meet the requirements of Mil-F-24385F.”8 Although the

preamble indicated that the circular was for guidance only, on February 8, 2006, the FAA issued

a CertAlert clarifying that the MilSpec AFFF requirement was, in fact, mandatory and that “[a]ny

AFFF purchased after July 1, 2006 by an airport operator certificated under Part 139 must meet

[Mil-F-24385F].”9 The FAA explained:

       There are several reasons for this requirement. First of all, AFFF has to be
       compatible when mixed. AFFF manufactured by different manufacturers, although
       meeting the UL 162 standard, may not be compatible. AFFF meeting the Military
       Specification will always be compatible with other Military Specification AFFF no
       matter the manufacturer. Second, AFFF meeting the military specification requires
       less agent than AFFF meeting UL 162 to extinguish the same size fire. Finally, the
       requirement to use Mil Spec is in concert with the National Fire Protection
       Association National Fire Code 403, paragraph 5.1.2.1.10

       18.        On September 1, 2016, the FAA issued a superseding CertAlert, which reiterated

that “Airport operators must ensure any AFFF purchased after July 1, 2006, meets Mil-Spec

standards.”11 Thus, from July 1, 2006 to present, airport operators holding an FAA Airport

Operating Certificate have been required to purchase MilSpec AFFF for use.


       8
           See Advisory Circular 150/5210-6D at 4, Chapter 6, https://tinyurl.com/yxpk87ky.
       9
        See DOT/FAA/TC-14/22, Impact of Alternative Fuels Present in Airports on Aircraft
Rescue and Firefighting Response at 25-26 (Aug. 2014), https://tinyurl.com/rt35dgp.
       10
            Id.
       11
            Federal Aviation Administration, Cert Alert No. 16-05: Update on Mil-Spec Aqueous
                                                   8
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 9 of 66




       19.     Plaintiff Haverford Township alleges that the purported contamination of its

property—Haverford Township Recycling Drop-Off Center—is “a result of the use of Defendants’

Fluorosurfactant Products for their intended purpose.” (Ex. A, Compl. ¶ 11; see also id. ¶¶ 3–7,

10). Plaintiffs add that AFFF is generally “used to control and extinguish Class B fuel fires and is

used at sites such as military bases, airports, petroleum refineries, and fire training centers.” (Id.

¶ 8). Philadelphia International Airport and Reading Regional Airport—federally-regulated Part

139 airports12 that are required to stock and use MilSpec AFFF—are plausible sources of the

alleged PFAS contamination that gives rise to Plaintiffs’ claims. MilSpec AFFF has been used

and released into the environment at both airports since at least 2006.

       20.     Reading Regional Airport is directly adjacent to the Schuylkill River, which flows

in a southeastern direction towards the Delaware River. Haverford Township’s water provider,

Aqua Pennsylvania, draws some of its water from the Schuylkill River.               Thus, Haverford

Township’s water supply plausibly includes water or co-mingled water from the Schuylkill River

which likely contains PFOA, PFOS, or other PFAS compounds from MilSpec AFFF used at

Reading Regional Airport.

       21.     Aqua Pennsylvania previously purchased surface water from Tinicum Township,

which borders the western edge of Philadelphia International Airport. As a result, Haverford

Township’s water supply plausibly included water drawn from Tinicum Township.                  Given

Tinicum Township’s close proximity to Philadelphia International Airport, that water likely

contained PFOA, PFOS, or other PFAS compounds from MilSpec AFFF discharged at

Philadelphia International Airport.


Film Forming Foam (AFFF) at 2 (Sept. 1, 2016), https://tinyurl.com/ya5pvbkh.
       12
           See FAA Part 139 Airport Certification Status List (last updated Aug. 3, 2021), available
at https://www.faa.gov/airports/airport_safety/part139_cert/.

                                                  9
          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 10 of 66




B.     All the Requirements of 28 U.S.C. § 1442(a)(1) Are Satisfied

               1.      The “Person” Requirement Is Satisfied

       22.     The first requirement for removal under the federal officer removal statute is

satisfied here because Tyco and Chemguard (corporations) are “persons” under the statute. For

purposes of § 1442(a)(1), the term “person” includes “corporations, companies, associations,

firms, [and] partnerships.” Papp, 842 F.3d at 812 (quoting 1 U.S.C. § 1); accord Bennett, 607

F.3d at 1085; Isaacson, 517 F.3d at 135–36.

               2.      The “Acting Under” Requirement Is Satisfied

       23.     The second requirement (“acting under” a federal officer) is satisfied when an entity

assists or helps carry out, the duties or tasks of a federal officer. Papp, 842 F.3d at 812. “The

words ‘acting under’ are to be interpreted broadly . . . .” Isaacson, 517 F.3d at 136 (citation

omitted). Federal courts “have explicitly rejected the notion that a defendant could only be ‘acting

under’ a federal officer if the complained of conduct was done at the specific behest of the federal

officer or agency.” Papp, 842 F.3d at 813.

       24.     The requirement of “acting under” federal office is met here because Plaintiffs’

claims, at least in part, challenge Tyco and Chemguard’s alleged conduct in providing vital

products “that, in the absence of Defendants, the Government would have had to produce itself.”

Isaacson, 517 F.3d at 137. MilSpec AFFF is a mission-critical military and aviation safety product

that, without the support of private contractors, the government would have to produce for itself.

See Ayo, 2018 WL 4781145, at *9 (describing MilSpec AFFF as a “mission-critical” and “life-

saving product” used by all branches of the U.S. armed forces and NATO members (internal

quotation marks omitted)); cf. Isaacson, 517 F.3d at 137. The Naval Research Laboratory states

that, “[a]lthough [it] was responsible for the original concepts and formulations, it was necessary

to elicit the aid of the chemical industry to synthesize the fluorinated intermediates and agents to

                                                10
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 11 of 66




achieve improvements in formulations.”13 Accordingly, the military has long depended upon

outside contractors like Tyco and Chemguard to develop and supply AFFF. See Chemguard, 2021

WL 744683, at *3 (holding that Tyco and Chemguard and other AFFF manufacturers were “acting

under” a federal officer in connection with the manufacture and sale of MilSpec AFFF); Ayo, 2018

WL 4781145, at *8–9 (same); see also MDL Order 1, at 3–6 (finding that the “acting under”

requirement was satisfied because defendant demonstrated that it was manufacturing AFFF under

the guidance of the U.S. military); MDL Order 2, at 3–5 (same for AFFF used at Part 139 airport);

MDL Order 3, at 3–6 (same). If Tyco and Chemguard and other manufacturers did not provide

MilSpec AFFF for use at military bases and Part 139 airports, the government would have to

manufacture and supply the product itself.

       25.       In designing, manufacturing and supplying the MilSpec AFFF at issue, Tyco and

Chemguard acted under the direction and control of one or more federal officers. Specifically,

Tyco and Chemguard acted in accordance with detailed specifications, promulgated by Naval Sea

Systems Command, that govern AFFF formulation, performance, testing, storage, inspection,

packaging, and labeling. Further, the AFFF products in question were subject to various tests by

the United States Navy before and after being approved for use by the military and for inclusion

on the Qualified Products List maintained by the DoD.14

                 3.      The “For or Relating to” Requirement Is Satisfied

       26.       The third requirement, that plaintiff’s claims be “for or relating to” defendant’s

actions taken “under color of federal office,” requires only that there be some connection between

the claims and defendant’s actions under color of federal office. Papp, 842 F.3d at 812–13. This



       13
            Fulfilling the Roosevelts’ Vision, supra n.3, at 37.
       14
            See Dep’t of Defense, SD-6, supra n.5, at 1.

                                                  11
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 12 of 66




requirement, sometimes termed the “causation” requirement, erects a low hurdle. Isaacson, 517

F.3d at 137.15 The requirement is satisfied if the defendant establishes that an act that allegedly

caused or contributed to the plaintiff’s injury occurred while the defendant was performing its

official duties. Isaacson, 517 F.3d at 137–38.

       27.      Here, the Plaintiffs’ claims arise at least in part from Tyco and Chemguard’s

production and sale of AFFF manufactured to military specifications for use at Part 139 airports.

Plaintiffs allege that the use of PFAS in AFFF is the source of its injuries. Tyco and Chemguard

contend that the use of such chemicals in MilSpec AFFF was required by military specifications.

The conflict is apparent: MilSpec AFFF was developed by Tyco, Chemguard, and other

manufacturers to meet specifications established by the DoD. Military installations and Part 139

airports are required to employ MilSpec AFFF. The design choices Plaintiffs are attempting to

impose via state tort law would create a conflict in which Tyco and Chemguard could not comply

with both the MilSpec and the purported state-prescribed duty of care. See Boyle, 487 U.S. at 509;

see also Ayo, 2018 WL 4781145, at *9 (“[T]here is evidence of a ‘casual connection’ between the

use of PFCs in AFFF and the design and manufacture of AFFF for the government.”); MDL Order

1, at 5–6 (“Here, [Plaintiff]’s claims arise out of use of AFFF products that it claims Tyco

manufactured and sold, and for which the U.S. military imposes MilSpec standards. The Court . .

. finds that the causation element of federal officer removal is satisfied here.”); MDL Order 2, at

5 (finding the causation element of federal officer removal satisfied where Tyco and Chemguard’s

AFFF products, “for which the military imposes MilSpec standards,” were used at several Part 139

airports); MDL Order 3, at 5–6 (same as to MilSpec AFFF used at a single airport).


       15
          The “acting under” and “under color of” prongs overlap. Both “are satisfied if the actions
subject to suit resulted directly from government specifications or direction.” Albrecht, 2011 WL
5109532, at *5.

                                                 12
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 13 of 66




       28.      Here, Plaintiffs’ purported injuries arise at least in part from MilSpec AFFF. The

causal connection between Plaintiffs’ alleged injuries and Tyco and Chemguard’s actions under

color of federal office is clear. It is irrelevant that the Plaintiffs do not expressly contend that it

has been injured by MilSpec AFFF.          Courts “credit Defendants’ theory of the case when

determining whether [the] causal connection exists.”         Isaacson, 517 F.3d at 137; see also

Chemguard, 2021 WL 744683, at *3 (noting that “Plaintiffs cannot decide what defense

Defendants might present”).

                4.     The “Colorable Federal Defense” Requirement Is Satisfied

       29.      The fourth requirement (“colorable federal defense”) is satisfied by Tyco and

Chemguard’s assertion of the government contractor defense.

       30.      At the removal stage, a defendant need only show that its government contractor

defense is colorable; that is, “that the defense was ‘legitimate and [could] reasonably be asserted,

given the facts presented and the current law.’” Papp, 842 F.3d at 815 (alteration in original)

(citation omitted). “A defendant ‘need not win his case before he can have it removed.’” Id.

(quoting Willingham, 395 U.S. at 407); see also Isaacson, 517 F.3d at 139 (“To be ‘colorable,’ the

defense need not be ‘clearly sustainable,’ as the purpose of the statute is to secure that the validity

of the defense will be tried in federal court.” (citation omitted)). At the removal stage, the inquiry

“is purely jurisdictional, and neither the parties nor the district courts should be required to engage

in fact-intensive motion practice, pre-discovery, to determine the threshold jurisdictional issue.”

Cuomo, 771 F.3d at 116.16 Moreover, “this inquiry is undertaken whilst viewing the facts in the



       16
           See also Kraus v. Alcatel-Lucent, No. 18-2119, 2018 WL 3585088, at *2 (E.D. Pa. July
25, 2018) (“A court does not ‘determine credibility, weigh the quantum of evidence or discredit
the source of the defense’ at this stage. Instead, [the court] only determine[s] whether there are
sufficient facts alleged to raise a colorable defense.” (internal citation omitted)).

                                                  13
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 14 of 66




light most favorable to Defendants.” Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 783–

84 (E.D. Pa. 2010). “Precisely in those cases where a plaintiff challenges the factual sufficiency

of the defendant’s defense, the defendant should ‘have the opportunity to present [his] version of

the facts to a federal, not a state, court.’” Cuomo, 771 F.3d at 116 (alteration in original) (citation

omitted).

       31.      Under the government contractor defense, the defendant is not liable for the design,

manufacture, or warnings of equipment or supplies “when (1) the United States approved

reasonably precise specifications; (2) the equipment conformed to those specifications; and (3) the

supplier warned the United States about the dangers in the use of the equipment that were known

to the supplier but not to the United States.” Boyle, 487 U.S. at 512.

       32.      Tyco and Chemguard have satisfied these elements for purposes of removal. As

discussed above, Naval Sea Systems Command approved reasonably precise specifications,

governing MilSpec AFFF formulation, performance, testing, storage, inspection, packaging, and

labeling. Tyco and Chemguard’s products appeared on the DoD Qualified Products List, which

could have happened only if Naval Sea Systems Command had first determined that they

conformed to the MilSpec. See Ayo, 2018 WL 4781145, at *13 (“[T]here is colorable evidence

that Manufacturing Defendants’ Mil-Spec AFFF is not a stock product and that the government

approved reasonably precise specifications requiring them to use PFCs, including PFOS and

PFOA, in their products.”); see also id. (“There is also colorable evidence . . . that Manufacturing

Defendants’ AFFF products conformed to the government’s reasonably precise specifications.”);

MDL Order 1, at 5 (finding defendant demonstrated a colorable defense “where it contends that

its AFFF products were manufactured according to the U.S. military’s MilSpec specifications”);




                                                  14
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 15 of 66




MDL Order 2, at 4 (same, as to Tyco and Chemguard); MDL Order 3, at 5 (same); see also

Chemguard, 2021 WL 744683, at *4.

       33.      Moreover, the government was sufficiently informed regarding alleged product-

related “dangers,” Boyle, 487 U.S. at 512, to exercise its discretionary authority in specifying and

procuring MilSpec AFFF. The military specifications have long included testing protocols and

requirements for toxicity, chemical oxygen, and biological demand. Indeed, it is clear that the

United States has long understood that AFFF contains PFAS and may contain or break down into

PFOS and/or PFOA; that AFFF constituents can migrate through the soil and potentially reach

groundwater; and that it has been reported that this may raise environmental or human health

issues.17 For example, as early as October 1980, a report supported by the U.S. Navy Civil

Engineering Laboratory, U.S. Air Force Engineering Service Center, and the U.S. Army Medical

Research and Development Command stated that AFFF contained fluorocarbons and that “[a]ll of

the constituents resulting from fire fighting exercises are considered to have adverse effects

environmentally.”18 By no later than 2001, DoD was aware of data purportedly showing PFAS

compounds in MilSpec AFFF to be “toxic” and “persistent.”             In 2002, the United States

Environmental Protection Agency issued a draft hazard assessment for PFOA, which reviewed in

detail, among other data, human epidemiological studies and animal toxicology studies pertaining

to alleged associations between PFOA and cancer. More recently, in a November 2017 report to

Congress, the DoD acknowledged the concerns raised by the EPA regarding PFOS and PFOA.

Nonetheless, it still described AFFF containing PFOS or PFOA as a “mission critical product [that]


       17
        See, e.g., EPA, Revised Draft Hazard Assessment of Perfluorooctanoic Acid and Its Salts
1–6 (Nov. 4, 2002) (excerpt).
       18
           See Edward S. K. Chian et al., Membrane Treatment of Aqueous Film Forming Foam
(AFFF) Wastes for Recovery of Its Active Ingredients 1 (Oct. 1980),
https://apps.dtic.mil/dtic/tr/fulltext/u2/a136612.pdf.

                                                15
            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 16 of 66




saves lives and protects assets by quickly extinguishing petroleum-based fires.”19 Indeed, Naval

Sea Systems Command continues to require that MilSpec AFFF contain “surfactants,” and

recognizes that PFAS, including PFOS and PFOA, will be present (subject to recently imposed

limits for PFOS and PFOA) in AFFF formulations.20 See Ayo, 2018 WL 4781145, at *12 (“That

the DoD knows of the alleged risks of PFC-based AFFF products but continues to purchase them

supports the position that the government approved reasonably precise specifications for the

claimed defective design.”); MDL Order 1, at 5 (“As to whether [defendant] adequately informed

the U.S. military of dangers associated with its AFFF products of which the military was not

already aware, [defendant] points to materials such as a November 2017 Department of Defense

report to Congress, in which the agency acknowledged the [EPA]’s stated concerns with

PFOS/PFOA in drinking water . . . .”).

       34.      At minimum, these facts constitute colorable evidence that Naval Sea Systems

Command “made a discretionary determination” regarding the formulation of MilSpec AFFF after

weighing the fire-suppression benefits against the alleged risks. See Twinam v. Dow Chem. Co.

(In re “Agent Orange” Prod. Liab. Litig.), 517 F.3d 76, 90 (2d Cir. 2008); see also Albrecht, 2011

WL 5109532, at *5 (“A defendant is not required to warn the government where ‘the government

knew as much or more than the defendant contractor about the hazards of the product.’” (citation

omitted)). Where, as here, the government has exercised “discretionary authority over areas of

significant federal interest such as military procurement,” the government contractor defense



       19
         Dep’t of Defense, Aqueous Film Forming Foam Report to Congress 1–2 (Oct. 2017)
(pub. Nov. 3, 2017), https://tinyurl.com/wshcww4.
       20
            See MIL-PRF-24385F(SH), Amendment 4, § 6.6 & Tables I, III (2020),
https://quicksearch.dla.mil/qsDocDetails.aspx?ident_number=17270; see also David Vergun,
DOD Officials Discuss Fire-Fighting Foam Replacement, Remediation Efforts (Sept. 16, 2020),
https://tinyurl.com/ty5ku8hp.

                                               16
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 17 of 66




applies. In re “Agent Orange” Prod. Liab. Litig., 517 F.3d at 89–90; see also Ayo, 2018 WL

4781145, at *13.

       35.    Tyco and Chemguard’s use of PFAS in MilSpec AFFF was required by military

specifications. By seeking to impose tort liability on Tyco and/or Chemguard for alleged injuries

to Plaintiffs that were caused in whole or in part by Tyco and Chemguard’s compliance with

military specifications, Plaintiffs are attempting to use state tort law to attack design choices

dictated by the military. The government contractor defense precludes such an attack. See Boyle,

487 U.S. at 509.

       WHEREFORE, Tyco and Chemguard hereby remove this action from the Court of

Common Pleas of Delaware County, Pennsylvania, to this Court.

       RESPECTFULLY SUBMITTED this 11th day of August, 2021.



                                                ARCHER & GREINER P.C.

                                                By:        /s/ Kerri E. Chewning
                                                Kerri E. Chewning
                                                One Centennial Square
                                                Haddonfield, NJ 08033
                                                856-616-2685
                                                kchewning@archerlaw.com

                                                Counsel for Tyco Fire Products LP and
                                                Chemguard, Inc.




                                               17
Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 18 of 66




                    EXHIBIT A
                                                                                                        .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 19 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                                    CI                                                                                                                                                                                                                                                                                                                                                                    “i                                                                                                                 "I I
5                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (:3                                                                                                                                                   “I



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    V                                                                                                                                                                                                                                                                        v                                                                                                                  y/
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Mr                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     _                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . .;                                                                                                                                                                                                                                                                                                       C)                                                                                                   I             ) ,1

                                                                                                                                                   Suprem                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        CW                                                                                                                                                                                                                                                                                                                                                                                                          ' ensylva                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ‘                                                                                                                                                                                                       1                                                                                                                                                                               *’
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      [I                                                                                                                                                                                                                                                       ‘3                                                                                                                             1:0\                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I                                                                                                                                                             I 7‘                                                                                                                                                  I                                                                                                         '2”:                  i.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         COMEIQ‘                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           IPleas                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               For                                                                                                       Plothnary                                                                                                                                                                                                                       Use                            Only                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ‘3                                                                                   I                                                             5                                                                                                                  6:)                                                                                                I                        \
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ’                                                                                                                        .                                                                                   ' Aug"                                                                                                                       ¥U                                                                                                                                   ?’                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   \                                                                                            1‘                                            I _                                                                                                                                 *4“             ,5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Glyn                                                   I                                                                                                                                                 &E§ﬁrb€ €0er                                                                                                                                                                   )She‘t                                                                             ‘5                                         )                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Docket                                                                                                                                                                            NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I                                                                                                                                                                                                                                                                                                                                                                      um                                                                                                                           “I 4                                                  57:"                                                                                                   ‘~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                                                                                                                                                                                                                       \                                                                       (\Q‘A                                                                                                                                                                         VD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  DE                                                                                                                                                                        »,"“3‘*”’°'$-                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I.,                                                                                                                                                                                                                                                                                                                                                                                                                                                         0 "‘                                                                                                                                              ‘                                                                               '-!/J a                                                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MRI)»; AWRE                                                                                                                                                                                                                                                                                                        I;                                  ,                                                                                                                       C                                                                         ounty                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,                                                                                                                                                                                                                                                                                                                                                                                                                                    ,                                                                                                                                                                                                                                                                                                                                                                                                                                   O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          \W’                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                A                                           ’20-                                                                                                                                      C ﬁ                                                                                                                                                                                                                                                                                                                                                                                             0                                                                                                                                                                                              , J 4)                                                                                                                                                                                                                              63"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              q                                                                                      f                                                      V                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I                                                                                                                                                                                                                                                                                              1                                                                                                                                                                                     r                                                                              ,

                                                                                                                                                                                                                                                                          The                                                                                                                                                                                                  mfonatz                                                                                                                                                                                                                                                                                                                                                                    coletd                                                                                                                                                                                                                                                 on                                            tins                                                  f01m                                                                                            13                                                                                   used                                                                                                                                                                                                 soley                                                                                                                              f0]                                                                          court                                                                                                                                  admzstron                                                                                                                                                                                                                 puro!se                                                                                                                                                                                                                                                                                                                                                                                                   T [Its                                                                                                                                                          form                                                                                                                                          does                                                                               not
                                                                                                    I                                                                                                                                                          suplemnt                                                                                                                                                                                                                                                                                                                                                                                                               0/                                                                                                   Ieplac                                                                                                                                                                                                        the                                                                ﬁlmg                                                                                                                      and                                                      serwc                                                                                                                                                                                                                                                                                      of                     pleadings                                                                                                                                                                                                    01                                                                                       othel                                                                                                                 paels                                                                                                        as                                    lega]                                                                                                       ed                                                                                                                                     by                                                                                                           law                                                                                                    qr                                                                                                                  I ules                                                                                                                        of                                                          coult
                                                                                            I                                                                     Comenct                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    of                                                                          Action                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I
                                                                                                I S                                                                                E                                                                                                      Complaint                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E                                                                                                      Writ                                                                                            of                                 Sumons                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I:                                                    Petion                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                .                                                                                  D                                                                                            Transfe                                                                                                                                                                                                                                                                                                                               from                                                                                                                                                                          Another                                                                                                                                                                                                         Jurisdcton                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          El                                                         Declartion                                                                                                                                                                                                                                                            of                          Taking                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                I E
                                                                                         I C                                       Lead                                                                                                                                                               Plaintfs                                                                                                                                                                                                                                                                                                                                                                 Name                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Lead                                                                                             Defndat                                                                                                                                                               5 Name                                                                                                                                                                                                                                                                                                                                                  I
                                                                                        I T                                                                                            Com                                                                                                                                                                                                                                                                                                           of                                                            PA                                                                                                                                               acting                                                                                                                                                                                   throug                                                                                                                                                                                                   DelCo                                                                                                        DA                                  Jack                                                                                                                                           Stolseimr                                                                                                                                                                                                                                                                                                                                                                                                                                                                       3M                                                                          Company                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I                                                                                                                                                                                 I
                                                                                          l
                                                                                        I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I                                                                                                                                                                                         I
                                                                                    I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dolar                                                                                                                                         Amount                                                                                                  Requstd                                                                                                                                                                                                                                                                                                                                                                                              EIWthm                                                                                                                                                                                                                                                                       arb1tlon                                                                                                                                                                           1mts
                                                                                    I (I)                                                                                   Are                                                                                                                                                                                                                                                                    money                                                                                                                                                                                          damges                                                                                                                                                                                                                                                                                               requStd?                                                                                                                                                                                                                                                                                     E                                                      Yes                                                                                                                                                                                                                                                                                             D                                                                  No                                                                                                                                                                                                                                                                                                                                                                        (chek                                                                               one)                                                                                                                                                                                                                                                                                                                                          I                                                                                           Eoutside                                                                                                                                                                                                                                                                                 arbiton                                                                                                                                                              limts
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I




                                                                                I
                                                                                    I N                                                                                           Is this                                                                                                                                                                                                                                                                                                            a ClasActon                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Suzt?                                                                                                                                                                                                                                                          lYes                                                                                                                                                                                                                                                                                                                                     E!                                                                      No                                                                                                                                                                                                                                                           Is this                                                                                                                                                   an                             MDJApeIal?                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I a                                                                                                                                                 Yes                                                                                                                                                     E]                                                  No
                                                                                I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Jer                                                                                                                                                                                                                                  R                                                       D                                                S d                                                                                                 to                                                                Es
                                                                                                            A                                                                                                                                                                                                                                                                                                               Name                                                                                                                                        of                                                          Plaintf/Ape                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               s Atorney                                                                                                                                                                                                                                                          ry                                                                                                                                                                                                                               e                       I era                                                                                                                                                                                                                            qmre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                    '                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I                                                                                                                                                                             I
                                                                            I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         E]                                                                                                                                   Check                                                                                                                                                                           her                                                                               if you                                                                                           have                                                                                                                                                                                                                                                   no                                          atorney                                                                                                                                                                               (are                                                                                                                               a Self                                                                                                                                              Reprsntd                                                                                                                                                                                                            [Pro                                                                                                                                                                                                                    Se]                                                                               legant)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  |
                                                                    I                                                                     Nature                                                                                                                                                                                                                                                                                                                                                          of                                                                          the                                                                                                                                             Case                                                                                                                                                                                                                                       Place                                                                                                                                                  an                                          ‘X                                                         to                                                    the                                                                                           left                                                                                                                                                                     of                                             the                                                                                   ONE                                                                                                                   case                                                                                              category                                                                                                                                                                   tha                                                           most                                                                                           acqurtelyzdsib                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               your
                                                                I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PRIMAY                                                                                                                                                                                                                                                    CASE                                                                                                                                                                   If you                                                                                                                                                                                                                                   are                                                         making                                                                                                                                                                                 more                                                                                                                                              than                                                         one                                  type                                                                       of                                                                         claim,                                                                                                                                                                                                                                             chek                                                                                                                                                                                                                            the                                                                      one                                                                                         tha
                                                                        I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  you                                                                                                                  consxder                                                                                                                                most                                                                                                                                    Importan                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I
                                                            I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                            I                                                                                               TOR                                                                                                                                                                                                                                                                                                                                (do                                 not                                                                                                                               Include                                                                                                                                                                                                                Mas                                                                                                  T01!)                                                                                                                                                                                                                                                                               CONTRA                                                                                                                                                                                                                                                                                                                                                                                                                                       (do                                            not                                                                                         Include                                                                                                                                            Judgmentx)                                                                                                                                                                             CIVL                                                                                                                                                                                                                                                                                       APELS
                                                        I                                                                                                                                                                                                  D                                                                                                                                                                       Inteioal                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Buyer                                                                                                                         Plaintf                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Adminstraye                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Agencis
                                                    II                                                                                                                                                                                                     B                                                                                                                                                     Malicous                                                                                                                                                                                                                                                                              Prosecutin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           a                                                                                                                                                   Debt                                                                                             Colectin                                                                                                                                                                                                                 Credit                                                                                                                                                         Card                                                                                                                                                                                                                        I:                                                                                                                       Board                                                                                                                                                                                                                  of                                                                                         Asemnt
                                        I                                                                                                                                                                                                             D                                                                                                                                                   Motr                                                                                                                                                               Vehicl                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D                                                                                                                                                       Debt                                                                                             Colectin                                                                                                                                                                                                                 Other                                                                                                                                                                                                                                                                                                                                                                                      :1                                                                                                                       Board                                                                                                                                                                                                                  of                                                                                         Elections
                                                    I                                                                                                                                                                                                 [I                                                                                                                    Nuisance                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 [a                                                                                                126m                                                                                                                                                                                                             of                                                                      Transpoti
                                                    I S                                                                                                                                                                                           E                                                                                                                                              Premis                                                                                                                                                                                                                                                    Liablty                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               E                                                                                                                                             $ltauoryIApe                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Other
                                                                                                                                                                                                                                                                                                                                                                                       Product                                                                                                                                                                                                                Liabl                                                                                                                                                                                                                                                                                                                does                                                                                                  not                                                                                  Include
                                                    I E                                                                                                                                                                                     ams                                                                                                                                                                                                                                                                    to,                                                                                   t)                                                                                                                                                                                                                                     ty(                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 a                                                                                                                                               Employent                                                                                                                                                                                                                                     DIspute                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                                                                                                                                                              81                                                               d                                                                                    /L                                                                                                 b 1/)                                                                                                                                                                                             f                                                                                                                       n                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Discrmnato                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                H
                                                I C                                                                                                                                                                                @0312?                                                                                                                                                                                                                                                                                                                                                                                                                                      I e                                                                                                                                                                                                                8 am                                                                                                                                               on                                                                                                                                                                                                                                                                                               I:                                                                                                                                                Employent                                                                                                                                                                                                                                       DIspute                                                                                                                                                                                               Other                                                                                                                                                                                                                                                                                                                                                                       ﬁomng                                                                                                                                                                                                                                                                       BIoard
                                                I                                                                                                                                                                                                                                                                                                                                                                                                                     Unfair                                                                                                                Trade                                                                                                                                                                                                             Practies                                                                                                                                                                                                                                           and                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (pther                                                                                                                                                                                                                                                                                                                 I
                            I T                                                                                                                                                                                                                                                                                                                                                                                                                            Consumer                                                                                                                                                                                                                                                                                        Protecin                                                                                                                                                                                                                                                                            Law                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                                                             |
                                                    I I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    C]                                                                                                                                                       Other                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     —I                                                                                                                                                                                                                                                                                                    I
                                I 0                                                                                          MAS                                                                                                                                                                                                                                                                                                                                                         TOR
                                I                                                                                                                                                                                         D                                                                                                                 Asbeto                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                                                                                                             I
                I N                                                                                                                                                                                                           [I                                                                                                                            Tobac                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                    I                                                                                                                                                                                         E                                                                                                                                     Toxic                                                                                                                                                                                   Tort                                                                                                                                                                                                      DES                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I                                                                                                                                                                                                                                              I
            I                                                                                                                                                                                                             D “x!"                                                                                                                                                                                                                                                                                                                      3;“                                                                                                                                                                                                                   Implant                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           REAL                                                                                                                                                                                                                                                                                 PROETY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 MISCELANOU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              l                                                                                                                                                                                                              I



                            I                                                                                                                                                                                        [I                                                                                                                              30:1                                                                                                                                                                                                                                                                    aste                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               D                                                                                                                             Ejectmn                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          a                                                                                                                      (:Iomn                                                                                                                                                                                                                                                                                                                                     ‘Law/Stuory                                                                                                                                                                                                                                                                     Arbitaon
                            I B                                                                                                                                                                                  D                                                                                                                                                                                                                                                             I or                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               U                                                                                                                             Eminet                                                                                                                                                                                                    Domain/Cdet                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D                                                                               lDecIarton                                                                                                                                                                                                                                                                                                                                                                                                                             Judgment
        I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         D                                                                                                                             Ground                                                                                                                                                                                             Rent                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   [j                                                                              I/landmus
    I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E                                                                                                                                  Landlor/Tet                                                                                                                                                                                                                                                                                                                                                                        Dispute                                                                                                                                                                                                                                                                                                                                                                                D                                                           Non                                                                                                                                                                                                                       Domlestic                                                                                                                                                                                                                                                                         Relations
                I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   D                                                                                                                         Mortgae                                                                                                                                                                                                                                                  Foreclsu                                                                                                                                                                                                                                                             Residntal                                                                                                                                                                                                                                                                                                                                                                                                                   Restrainxlg                                                                                                                                                                                                                                                                                                                                                               Orde
                    I                                                                                           PROFESINAL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LIABTY                                                                                                                                                                                                                                                                                                                                                                                                                                                               D                                                                                         Mortgae                                                                                                                                                                                                                                                                              Foreclsu                                                                                                                                                                                                                                                             Comercial                                                                                                                                                                                                                                                                   D                                                       Que                                                                                                                                                                                                   WarInto
                                                                                                                                                                                                        E]                                                                                                                 Dental                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            El                                                                                             Partion                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CI                                                           Ilepvin                                                                                                                                                                                                                                                                                                                                                                                                        I
                    I                                                                                                                                                                             [:1                                                                                                            Legal                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E]                                                                                                                              Quiet                                                                                                                                                                         Title                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             D Other                                                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                            I                                                                                                                                                BI                                                                                                                  Medical                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        B                                                                                                                     Other                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                                                                                                                        I
                        I                                                                                                                                                                                    D                                                                                                                      Other                                                                                                                                                                                                Profesinal                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                                                                                                I



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                                                                                                                                                                                                                I                                                                                                                                          Update                                                                                                                         1/20
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l!                                                                                                                                                                               l
                                                                                                                                                      Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 20 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          |


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               NOTICE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                            Pensylvai                                                                                                                                                                                                         Rule                                                                                                                                                                            of                             Civl                                                                                                       Procedu                                                                                                                                                                                                                                          205                                                                                                       5                                  (Cover                                                                                                                                  Shet)                                                                                                                                                         provides,                                                                                                                                                                                                                                        in                                                ?art

                                                                                                                                  Rule                                               205                                                                                                                         5                                                                                                                                    Cover                                                                                Shet                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i                                                                                                                                                   }

                                                                                                                                  (a)l                                                                                                This                                                                                                                                        rule                                                                                           shal                                                             aply                                                                                                                                                to          al                                              actions                                                                                                                                                                      governd                                                                                                                                                                   by                                                                                          the                                      iules                                                                                  of                                                   civl                                                                                           proceidu                                                                                                                                                                                                                    excpt

                                                      the                       folwing                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           i

                                                                                                                                                                                                                                             (i)                                                                                                                                                                                            actions                                                                                                                 pursant                                                                                                                                                                  to                             the                                                                                                    Protecin                                                                                                                                                        from                                                                                                                    Abuse                                                                                                              Act,                                                                                   Rules                                                                                                                                                     190                                                                                                         et                                    seq

                                                                                                                                                                                                                                                   (i)                                                                                                                                                                            actions                                                                                                                                     for                                                                                           sup01t                                                                                                                    Rules                                                                                                                             190                                                                                                 1 et                                                                   seq

                                                                                                                                                                                                                               (i)                                                                                                                                                                                      actions                                                                                                                               for                                                                                                custody,                                                                                                                                           partil                                                                                                                               custody                                                                                                                              and                                                                                                  vistaon                                                                                                                                                            of                                         minor                                                                                                                                            children,                                                                                                                                                                            Rules

                                                                                                                                                195                                        1 et                                                                                                            seq                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '1                                                                                                                                                                                  1

                                                                                                                                                                                                                               (iv)                                                                                                                                                                           actions                                                                                                                                         for                                                                                      divorce                                                                                               01                                                                                anulmet                                                                                                                                                                                        of                                                    marige,                                                                                                                                                                      Rules                                                                                                                                   1920                                                                                                                               1 et                                                      seq

                                                                                                                                                                                                                        (v)                                                                                                                                                                                   actions                                                                                                                                    in                                                                  domestic                                                                                                                                                     relations                                                                                                                                                                              genraly,                                                                                                                                                                                          includg                                                                                                                                                                pater'ily                                                                                                                                                                                                           actions,                                                                                                                                       Rules

                                                                                                                                         1930                                              1 et                                                                                                      seq                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I

                                                                                                                                                                                                                        (vi)                                                                                                                                                             voluntary                                                                                                                                                                                                                mediaton                                                                                                                                                                                                   in                                                               custody                                                                                                                            actions,                                                                                                                                                                    Rules                                                                                   1940                                                                                                        1 et seq

                                                                                                                      (2)                                                                                   At                                                                                                              the                                                                      coment                                                                                                                                                                                                                                                                                                            of                                                   any                                                                                                                         action,                                                                                                       the                                                             party                                                                                                                                                  mitang                                                                                                                                                 the                                                                               action                                                                                                                                            shal                                                                                                 complet

                                     the                                cover                                                                         shet                                                                                               set                                                                             forth                                                                                                                              in                                            subdivon                                                                                                                                                                                          (6)                                                                               and                                                                                                 ﬁle                                                  1t with                                                                                                  the                                                                   prothnay                                                                                                                                                                                                                                                                                                                                 I

                                                                                                                            (b)                                                                                   The                                                                                                                            prothnay                                                                                                                                                                                                                                                                               shal                                                               not                                                                    acept                                                                                                                                                       a ﬁling                                                                                                                 comenig                                                                                                                                                                                                                                           an                                                   actin                                                                                                                                            withou                                                                                                                                                                   a

                                           completd                                                                                                                    cover                                                                                                         shet                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1‘                                                                                                                                                                                            I

                                                                                                                (c)                                                                                         The                                                                                                                                  prothnay                                                                                                                                                                                                                                                                               shal                                                               asit                                                                                                                                a party                                                                                                                                      apering                                                                                                                                                                                          p10                                                                      se                 in                                           the                                                                                       completi                                                                                                                                                                                                                                          of                                   the                                                   form

                                                                                                                (d)                                                                                     A                                                                                   jud10a                                                                                                                                                                                                               distrc                                                                                                                                                              whic                                                              has                                                                                                              implentd                                                                                                                                                                                                                                              an                                                                                                  elctroni                                                                                                                                           ﬁlig,                                                                                                                                             sytem                                                                                                                                           pursant                                                                                                      to

                              Rule                                                        205                                                         4 and                                                                                                    has                                                                                                  promulgated                                                                                                                                                                                                                                                                those                                                                              procedus                                                                                                                                                                                                                             pursant                                                                                                                                                     to                                                                                      Rule                                            239                                                                                             9 shail                                                                                                                                       be                                                                            exmpt                                                                                                                                                   from                      the

            provisn                                                                                                                                               of                       this                                                                                                                      rule                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '

                                                                                                          (e)                                                                                     The                                                                                                                                                       Court                                                                                                                                   Adminstrao                                                                                                                                                                                                                                    of                                                                              Pensylvai,                                                                                                                                                                                                                                                                  in                                                 conjuti                                                                                                                                                                                                                     with                                                                                                  the                                                                                          Civl                                                                                                       Procedual

                      Rules                                                                     Comite,                                                                                                                                                                                                                           shal                                                                                                                             design                                                                                                           and                                                                                                     publish                                                                                                                               the                                                                                           cover                                                                          shet                                                                                                                     The                                                                                                           lates                                                                                 versio                                                                                                                                                                  of                                                                   the1                                                                   form                                                                                                  shal                     be

published                                                                                                                                                    on                the                                                                                   websit                                                                                                                                                                                                             of                                           the                                                  Adminstrave                                                                                                                                                                                                                                                                                                                   Ofﬁce                                                                                               of                            Pensylvai                                                                                                                                                                                                                                                          Courts                                                                                                                                   gin                                                                            wvxi                                                                                                              pacourts                                                                                                     us
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1l                                                                                                                                                                     .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                l l
                                                                                                                                                                                          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 21 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             IN                                                        THE                                                                                                                                                                      COURT                                                                                                                                                                                                                                OF                                                  COMN                                                                                           PLEAS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      OF                                                                                                               DELAWR                                                                                                                                                                                                                                                                                                                                                                                      COUNTY                                                                                                                                              PENSYLVAI                                                                                                                 I                                                                              I

                                                                                                      COMNWEALTH                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  OF                                                                                                                                                                                                  PENSYLVAI                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I
                                                                                             ACTING                                                                                                                                 BY                                                                                                                                                        AND                                                                                                                                                                                                                        THROUG                                                                                                                                                                                                                                                                                                                                                     DELAWR                                                                                                                                                                                                                                                                       CIVL                ACTION                                                          )                                                              I
                                                                                                      COUNTY                                                                                                                                                     DISTRC                                                                                                                                                                                                                                                                                                                                                                                                                                                ATORNEY                                                                                                                                                                                                                                                                                                                                                                                                            JACK                                                                                                              NO
                                                                                                                   STOLEIMR                                                                                                                                                                                                                                                                                                          and                                                                                                   HAVERFOD                                                                                                                                                                                                                                                                                                                                                                                    TOWNSHIP                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                          Plaintfs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LIST                                    OF            DEFNATS                                                                                                                                                                                          and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ADRES                                                                                                                                    I                                                    ;
                                                                                                                              v                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 COMPLAINT                                                                   IN                                                                           CIVL                                                                         ACTION

                                                                                 3M                                                                COMPANY                                                                                                                                                                                                                                                                                                                             (f/ka                                                                                                                                                                                           Minesota                                                                                                                                                                                                                                                                                                               Ming                                                                                                                                                                    and                                                                                                                                                                                                                                                 I
                                               Manufctrig                                                                                                                                                                                                                                           Co)                                                                                                                                                                                                   E                                                             I                                                                                       DUPONT                                                                                                                                                                                                                                                   DE                                                                                                                                 NEMOURS
                                               AND                                                                                                           COMPANY                                                                                                                                                                                                                                                                                                             THE                                                                                                                                              CHEMOURS                                                                                                                                                                                                                                                                                                                                                                                     COMPANY
                                               THE                                                                                      CHEMOURS                                                                                                                                                                                                                                                                                                                       COMPANY                                                                                                                                                                                                                                                                                                                                 FC                                                                                                             LC                                                                                                                                                                            DUPONT
                                               DE                                                                                                                               NEMOURS                                                                                                                                                                                                                                                                                                                                                               INC                                                                                                                                                                                                                      CORTEVA                                                                                                                                                                                                                                                                                                                                                                 INC
                                                                                 CHEMGUARD                                                                                                                                                                                                                                                                                 INC                                                                                                                                                                                   TYCO                                                                                                                                                                            FIRE                                                                                                                                                         PRODUCTS                                                                                                                                                                                                                                                                      LP
                                                                                 (suceor                                                                                                                          in                                    inters                                                                                                                                                                                                                                                                                              to                                                                                                                   The                                                                                                                                                                              Ansul                                                                                                                                                                                                          Company);
                                               KIDE                                                                                                                                               FENWAL                                                                                                                                                                                                                                                                                                                 INC                                                                                                                                                                                                     KIDE                                                                                                                                                                                                                                                                   PLC                                                                                                                                      INC                                                                                                                                                                                         I                                                                                                i
                                               CHUB                                                                                                                                                        FIRE                                                                                                                                                                  LTD                                                                                                                                                                                                             UTC                                                                                                                                                          FIRE                                                                                                                                                                 &                                                                                                                                  SECURITY
                       AMERICS                                                                                                                                                                                                                                                     CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INC                                                                                                                                                                                                                CARIE
                                               GLOBA                                                                                                                                                                                                                                                                           CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RAYTHEON
                       TECHNOLGIS                                                                                                                                                                                                                                                                                                                                                                                                                                                              CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                              (f/ka                                                                                                                                                       United
                       Technolgis                                                                                                                                                                                                                                                                   Corpatin)                                                                                                                                                                                                                                                                                                                                                                                                                           NATIOL                                                                                                                                                                                                                                                                                                                                                                            FOAM
                       INC                                                                                                                                             BUCKEY                                                                                                                                                                                                                                                                         FIRE                                                                                                                                                    EQUIPMNT                                                                                                                                                                                                                                                                                                                                                                                               COMPANY                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                    ARKEM                                                                                                                                                                                                                                                     INC                                                                                                                                                                                                                                                                                                      BASF                                                                                                                                                                                                                                                                                        CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                        I
                                                            CHEMDSIGN                                                                                                                                                                                                                                                                                                                               PRODUCTS                                                                                                                                                                                                                                                                                                                                                                                                             INC                                                                                                                                                                                                             CLARINT                                                                                                                                                                                                                                                                                                         I                                                                                        I
                                               CORPATIN                                                                                                                                                                                                                                                                                                                                                                                    CHEMIALS                                                                                                                                                                                                                                                                                                                                                                                      INCORPATED                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                            i
NATIO                                                                                                                                                                                                                  FORD                                                                                                                                                                                                                                  CHEMIAL                                                                                                                                                                                                                                                                                                                                                           COMPANY                                                                                                                                                                                                                                                                                                                       AGC                                                                                                                                                                                                                                                                                          I
        INC                                                                                                                                                                               (f/ka                                                                                                                 Asahi                                                                                                                                                                                                                                                                     Glas                                                                                                                                                                                                            Co                                                                                                                                                                 Ltd)                                                                                                                                                                                  AGC                                                                                                                                                                                                                                                                                    I
                                    CHEMIALS                                                                                                                                                                                                                                                                                              AMERICS                                                                                                                                                                                                                                                                                                                                                                                                       INC                                                                                                                                                                                       DEPWATR
                                    CHEMIALS                                                                                                                                                                                                                                                                                                                          WC                                                                                                                                                                                                          DYNAX                                                                                                                                                                                                                                                                                                 CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,                                                                                        I
              ARCHOM                                                                                                                                                                                                                                                      MANGET                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LC                                                                                                                                      ARCHOM                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                    ,
              US                                                                                                                  INC                                                                                         AND                                                                                                                                                      JOHN                                                                                                                                                                                 DOE                                                                                                                              DEFNATS                                                                                                                                                                                                                                                                                                                                                                                                             1 49                                                                                                                                                                                                                                                i                                                                                I

                                                                                                                                                                                                                                                                                                                                                                                                               Defndats                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                            I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LIST                                                                                                                                                               OF                                                                 DEFNATS                                                                                                                                                                                                                                                                                                                                                                                                    and                                ADRES                                                                                (28)                                                                                         l                                                                    I

                                                                                                                                                                                                                                         3M                                                                                                         Company                                                                                                                                                                                                                                                                                                              (f/ka                                                                                                                 Minesota                                                                                                                                                                                                                                                                                              Ming                                                                                        and                       Manufctrig                                                                          Corﬁ'pany)                                                                                               (I“3M”)
                                                                                                                                                                                                                                              3M                                                                                                              Centr                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                   St                                                                   Paul                                                                                                                                                                                  Minesota                                                                                                                                                                                                                                                                   514
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I




                                                                        123459                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I                                                                                    .


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 |
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 22 of 66




                                                                                                                                                                     E                                        I DuPont                                                                                                                                                                                                                                                                                                                                   De                                                                                                              Nemours                                                                                                                                                                            and                                         Company                                              (“DuPont”)
                                                                                                                                                                                      974                                          Centr                                                                                                                                                                                                                                                      Road
                                                                                                                                                         Wilmngto,                                                                                                                                                                                                                                                                                                                                                                                                                        Delawr                                                                                                                                                                                                     19805

                                                                                                                                                         The                                                                                          Chemours                                                                                                                                                                                                                                                                                                                                                                                          Company                                                                                                                                                                              (“Chemours”)
                                                                                                                                                                                                  107                                                                                               Market                                                                                                                                                                                                                                                                                         Stre                                                                                                                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                 Wilmngto,                                                                                                                                                                                                                                                                                                                                                                                                                                                Delawr                                                                                                                                                                                                     198                                                                                                                                                                                                                                                          1
                                                                                                                                             The                                                                                           Chemours                                                                                                                                                                                                                                                                                                                                                                                     Company                                                                                                                                                                                        FC,                                                         LC                         ("Chemours                                              FC")                                                                            I
                                                                                                                                                                                            107                                                                                                              Market                                                                                                                                                                                                                                                                                       Stre
                                                                                                    Wilmngto,                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Delawr,                                                                                                                                                                                                                      198                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I \
                                                                                                    DuPont                                                                                                                                                                                                                                                                     de                                                                               Nemours,                                                                                                                                                                                                                                                     Inc                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                             974                                                                           Centr                                                                                                                                                                                                                                                  Road
                                                                                                    Buildng                                                                                                                                                                                                                                                                                                730                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                           /
                                                                                                    Wilmngto,                                                                                                                                                                                                                                                                                                                                                                                                                                                 Delawr                                                                                                                                                                                                                 19805                                                                                                                                                                                                                                                                                ‘

                     ' Corteva,                                                                                                                                                                                                                                                                                                                                                     Inc                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                   974                                                             Centr                                                                                                                                                                                                                                                   Road                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1‘
                                                                  Wilmngto,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Delawr                                                                                                                                                                                                                19805                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                         l
                             Chemguard,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Inc                                                                                                                                                  (“Chemguard”)                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                One                                                                                                                                                        Stano                                                                                                                                                                                                                                                                  Stre
                                                                                         Marinet,                                                                                                                                                                                                                                                                                                                                                      Wiscon                                                                                                                                                                                                                                                                                           5413                                                                                                                                                                                                                                                                                              ‘                                   .

                 I                                                                                                                                                                                      yco                                                                                                                   Fire                                                                                                          Products                                                                                                                                                                                                                                                        LP                                                            (“Tyco”)
                                                                                                                      (Sucesor                                                                                                                                                                                                                                                                                                                                                           in                                                                                                                      inters                                                                                                                                        to                                                         The                                                       Ansul                                                  Company)                                                                  I                                                                                i
                                                                                                                                                                                140                                                                                                       Penbr0k                                                                                                                                                                                                                                                                                                                                                                                  Parkwy                                                                                                                                                                                                                                                                                                                            i                                                                        a
                                                                              Lansdle,                                                                                                                                                                                                                                                                                                                                      Pensylvai                                                                                                                                                                                                                                                                                                                                                                              1946                                                                                                                                                                                         '1                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1                                                                        A
                     VKide                                                                                                                                                                                                                                                                                                                           Fenwal                                                                                                                                                                                                                                                                                       Inc                                                            ( Kide                                                                                                                                                         )                                                                                                                                                                                                                 1
                                                                  One                                                                                                                                                                                            Fmancil                                                                                                                                                                                                                                                                                                                                                  Plaz                                                                                                                                                                                                                                                                                                                                                                                               ‘1                                                                       1
                                                                              Hartfod                                                                                                                                                                                                                                                                                                                            Conectiu                                                                                                                                                                                                                                                                                                                                           061                                                                                                                                                                                                                                                      I                                                                        ‘
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             |
                                                                              Kide                                                                                                                                                                                                                                                   PLC                                                                                                                                                             Inc                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                               9 armF                                                                                                                                                                                                                                                                                Springs                                                                                                                                                                                                                                                                                      Road                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                              F armingto,                                                                                                                                                                                                                                                                                                                                                                                                                                              Conectiu                                                                                                                                                                                                                                                                                 0632                                                                                                                                                                                                                                                                                  I

                                          'Chub                                                                                                                                                                                                                                                                                                               Fire                                                                                                                                         Ltd                                                                                                                                                                              ( Chub                                                                                                                                                                )                                                                                                                                                               1                                                                                           i
                                                                              Litleon                                                                                                                                                                                                                                                                                                     Road                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }                                                                               a
                                                  Ashford                                                                                                                                                                                                                                                                                                                                        Midlesx                                                                                                                                                                                                                                                                                                            United                                                                                                                                            Kingdom                                                                         TW15                      1TZ                                                   1
             V                                              UTC                                                                                                                                                                                                                    Fire                                                                                                                                                 &                                                                                   Security                                                                                                                                                                                               Americas                                                                                                                                                                       Corpatin,                                               Inc                (“UTC”)                                      ‘                                                                               I
                                                                                                                                                                         1395                                                                                                                                                              Pasteur                                                                                                                                                                                                                                                                               Blvd                                                                                                                                                                                                                                                                                                                                                                                                     I                                                                               I
                                                  Palm                                                                                                                                                                                                                                                                Beach                                                                                                                                                                                      Gardens,                                                                                                                                                                                                                     Florida                                                                                                                                       3418                                                                                                                                          3I                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                                                                   I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I


123459   1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            !                                                                               i
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 23 of 66




                                                                                                                                                                                 Gamer                                                                                                                                                                                 Globa                                                                                                                                                                                                                                                                                                Corpatin                                                                                                                                                                                                                                                                      (“Carde”)
                                                                                                                                                                                                              1395                                                                                                                       Pasteur                                                                                                                                                                                                                                                                                                                Boulevard
                                                                                                                                                  Palm                                                                                                                                Beach                                                                                                                                                                                                                                                                                    Gardens                                                                                                                                                                                                                                               Florida                                                                                                                                                        3418                                                                                                                                            i                       I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    |
                                                                                                                                                         Raytheon                                                                                                                                                                                                                                                                                                              Technolgis                                                                                                                                                                                                                                                                                                                                                                                                       Corpatin                                                                                                                                                                      (f/ka                     United       Technolgi'és                               Corﬁatin)
                                                                                                                                                                    (“Raytheon                                                                                                                                                                                                                                                                                                                                                                        Tech                                                                                                                                                                                                         f/ka                                                                                         United                                                                                                                                     Tech”)                                                                                                                           I
                                                                                                                                                                                                         10          Farm                                                                                                                                                                                Springs                                                                                                                                                                                                                                                                                                                                  Road                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                     Farmingto,                                                                                                                                                                                                                                                                                                                                                                                                                                          Conectiu                                                                                                                                                                                                                                                                                                                    0632                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                              Nationl                                                                                                                                                                                                                                                                                                                              Foam,                                                                                                                                                                                                                                                                       Inc                                                                                           (“Nationl                                                                                                                                                                                                                      Foam”)
                                                                                                                                                                                                    14                                 Juny                                                                                                                                                                                                                                                                                Road
                                                                                        Angier                                                                                                                                                                                                                                                                                 North                                                                                                                                                                                                                                                            Carolin                                                                                                                                                                                                                        27501

                                                                                                                          Buckey                                                                                                                                                                                                                                                                                                 Fire                                                                                                                                                                                        Equipment                                                                                                                                                                                                                                                                     Company                                                                                                                                          (“Buckey”)
                                                                                                                                                                                                    10                                 Kings                                                                                                                                                                                                                                                                        Road
                                                                                                                          Mountai,                                                                                                                                                                                                                                                                                                                                                                   North                                                                                                                                                                                                                                               Carolin                                                                                                                                                                           2806                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                  Arkema,                                                                                                                                                                                                                                                                                                                  Inc                                                                                                                                                                                  (“Arkema”)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          r                                                   '
                                                                                                                                                         90                                                                                    1St                                                                                                      Avenu
                                                                                        King                                                                                                                                                                              ofPrusia,                                                                                                                                                                                                                                                                                                                                                                                                                           Pensylvai                                                                                                                                                                                                                                                                                             19406                                                                                                                   i                                           I
                                                                                                  BASF                                                                                                                                                                                                                       Corpatin(                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 BASF                                                                                                                                                                     )                                                                                                                                                       I                       I
                                                                                                                                                                                               10                               Palk                                                                                                                                                                                                    Avenu                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                         Florham                                                                                                                                                                                                                                                                                                                                  Park                                                                                                                                                                                                                                                    New                                                                                                                              J ersy                                                                                                                                                 07932                                                                                                                                                                                             I                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                              ChemDsign                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Products,                                                                                                                                                                                                                                                            Inc                                                                                          (“ChemDsign”)
                                                                                        2 Stano                                                                                                                                                                                                                                                                                                                                                         Stre
                                                                   Marinet,                                                                                                                                                                                                                                                                                                                                                                                                                 Wiscon                                                                                                                                                                                                                                                                                                                            5413

                                                                                        Clarint                                                                                                                                                                                                                                                                                        Corpatin                                                                                                                                                                                                                                                                                                                                                                                                          (“Clarint”)                                                                                                                                                                                                                                                                                                                                    I
                                                                              40                                                                                                                                                                          Monre                                                                                                                                                                                                                                                                                                                                                                          Road                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                  Charlote                                                                                                                                                                                                                                                                                                                                                             North                                                                                                                                                                                                                                                     Carolin                                                                                                                                                                                            2805                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        |
                                                                                                  Chemicals                                                                                                                                                                                                                                                                                                                                                                                                                       Incorpated                                                                                                                                                                                                                                                                                                                                           (“Chem                                                                                                                                        Inc                                 ")                                                                             I
                                                                                                                                                                                         123                                                                                                                    Hatchervil                                                                                                                                                                                                                                                                                                                                                                                                                                                          Road                                                                                                                                                                                                                                                                                                                                                                '
                                  Baytown                                                                                                                                                                                                                                                                                                                                                                                                       Texas                                                                                                                                                                                                                                                                     7521                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                  Nation                                                                                                                                                                                                                                                                                                                                        Ford                                                                                                                                                                                                Chemical                                                                                                                                                                                                                                                                          Company                                                                                                                                                                              (“Nation                                           F 0rd”)                                                   '
                                            230                                                                                                                                                                                                                   Banks                                                                                                                                                                                                                                                                                      Stre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
                                                  Fort                                                                                                                                                                                               M1                                                                                                                                                                                                        South                                                                                                                                                                                                                                 Carohn                                                                                                                                                                                                                 29715                                                                                                                                                                                                               I


             / AGC                                                                                                                                                                                                                                                                            Inc                                                                                                                                                                                                            f/ka                                                                                                                                                                      Asahi                                                                                                                                                   Glas                                                                                                                                        Co                                                         Ltd                             ( AGC                      )                                                                  I
                                                                                                                                                                                 1 5                                        1                                                                       Marunochi                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chiyoda                                                                                                                                                                                                     ku
                           Toky                                                                                                                                                                                                                                                                                                                    10                                                                                                                                                                                          8405                                                                                                                                                                                        Japn                                                                                                                                                                                                                                                                                                                                                                                                                                             I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i                                   L
123459   1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 24 of 66


                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                             I

                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                          AGC                                                    Chemicals                                                                                                                                                 Americas,                                                                                                                                        Inc         (“AGC   America”)           I            I
                                               5 E Uwchlan                                                                                                                                                            Avenu,                                                                                                                        Suite                                         201                               I                I
                          Exton,                                                                    Pensylvai                                                                                                                                                                                        1934                                                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     II
                                    Depwatr                                                                                                                  Chemicals,                                                                                                                                               Inc                                                     (“Depwatr”)                                                            I
                                                           1962                                                            E County                                                                                                                          Road                                                                   40
                          Wodwar,                                                                                                                                                Oklahom                                                                                                                                    73801                                                                                                                    '

                                    Dynax                                                                       Corpatin                                                                                                                                                           (“Dynax”)                                                                                                                                                         '
                                                     103          Fan'view                                                                                                                                Park                                                             Drive                                                                                          I                                                                          I
                                    Elmsford                                                                                          New                                                                                      York                                                                         10523I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                          Archoma                                                                                                             Mangemt,                                                                                                                                                                                                      LIC                                                                                      I
             Neuhofstra                                                                                                                                                                                          1,                                                 4153                                                                 ReiInach                                                                                                    I
                          Basel                                                              Land                                                                                          Switzerland                                                                                                                                                                    I                                                                          I

                          Archoma                                                                                                                        U                                               S , Inc                                                                                                                                                                                                                    I                I
                                               543                           7                                               Centr                                                                                                    Dr                                                       #10
                                    Charlote                                                                                          North                                                                                                Carolm                                                                                                                 2‘817

                                    Defndats                                                                                                                              John                                                                         Doc                                                           1 49                                                                                                               I            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I

                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I            I
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‘            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I




                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I




                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                                     II


                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                        II   II



                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I            I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I            I
                                                                                                                                                                                                                                                                                                                                                                                                                            I                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I

                                                                                                                                                                                                                                                                                                                                                                                                                                        I    I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                                        I            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     i




123459   1                                                                                                                                                                                                                                                                                                                                                                                                                                                I


                                                                                                                                                                                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                               Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 25 of 66



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            “il"                                                                                                               ;                                                                       ‘6”:                                         “i";
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                {I                                                                                                            ’                          a                                    2'3                                               </X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INTHE                                                                                                                                                                                                                                                                             COURT                                                                                                                                                                                                                                           OF                                                                                                    COMN                                                                                                      PLEAS                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2"                      )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;                                     ‘
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            G”                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          \       \

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           OF                                                                                                                          DELAWR                                                                                                                                                                                                                                                                                                                                                                                                                                 COUNTY                                                                                                                                                                                                      PENSYLVAI                                                                                                                                                                                                                                                I                                                                                                                         1 I                                                 ’93;                                         U
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '                                                                       I " 3 @-                                                                                                                                                             co.
                                                                                                                                                                     COMNWEALTH                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OF                                                                                                                                                                                                              PENSYLVAI                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                 I                                            c)                                                                                      (:9
                                                                                                     ACTING                                                                                                                                                                                                              BY                                                                                                                                                           AND                                                                                                                                                                                                                  THROUG                                                                                                                                                                                                                                                                                                                                                                                                       DELAWR                                                                                                                                                                                                                                                                                                                               CIVL                                   ACTION                                                                                                                                                                                                               I                                                                            4“?                           1                                      ‘5
                                                                                                                                                            COUNTY                                                                                                                                                                                               DISTRC                                                                                                                                                                                                                                                                                                                                                                                                                                                     ATORNEY                                                                                                                                                                                                                                                                                                                                                                                                                                                                         JACK                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                   {I
                                                                                                                                                                                           STOLEIMR                                                                                                                                                                                                                                                                                                                                and                                                                                          HAVERFOD                                                                                                                                                                                                                                                                                                                                                                                                                                          TOWNSHIP                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Plaintfs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  COMPLAINT                                                                                    IN                         CIVL                                                                                                           iACTION

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                     3M                                                    COMPANY                                                                                                                                                                                                                                                                                                                                                            (f/ka                                                                                                                                                                                         Minesota                                                                                                                                                                                                                                                                                                                                                     Ming                                                                                                                                                                                                                            and                                                                                                                                                                                                                                                                                                                             I
                                      Manufctrig                                                                                                                                                                                                                                                                                                                                                    Co)                                                                                                                                                                                                          E                                                  I                                                                                           DUPONT                                                                                                                                                                                                                                                                                    DE                                                                                                                                           NEMOURS
                                                                                                     AND                                                                                                                             COMPANY                                                                                                                                                                                                                                                                                                                                            THE                                                                                                                                            CHEMOURS                                                                                                                                                                                                                                                                                                                                                                                                                           COMPANY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                            THE                                                 CHEMOURS                                                                                                                                                                                                                                                                                                                                             COMPANY                                                                                                                                                                                                                                                                                                                                   FC                                                                                                                                              LC                                                                                                                                                                                       DUPONT                                                                                                                                                                                                                                                                                                                                                                                                                                                       I
                                 DE                                                                                                                                                                                                                     NEMOURS                                                                                                                                                                                                                                                                                                                                                                            lNC'                                                                                                                                                                                                                                                 CORTEVA                                                                                                                                                                                                                                                                                                                                                                                                                  INC'                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                     CHEMGUARD                                                                                                                                                                                                                                                                                                                     INC                                                                                                                                                                                 TYCO                                                                                                                                                                                                           FIRE                                                                                                                                                                     PRODUCTS                                                                                                                                                                                                                                                                                                                                        LP
                                                                                                                                                  (suceor                                                                                                                                              in                                inters                                                                                                                                                                                                                                                                                                   to                                                                                                                                  The                                                                                                                                                                                     Ansul                                                                                                                                                                                                                                         Company);
                                                                              KIDE                                                                                                                                                                                            FENWAL                                                                                                                                                                                                                                                                                                                                 INC                                                                                                                                                                                                                        KIDE                                                                                                                                                                                                                                                                                               PLC                                                                                                                                                             INC
                                                                                                                                                  CHUB                                                                                                                                          FIRE                                                                                                                                                                     LTD                                                                                                                                                                                                           UTC                                                                                                                                                                                               FIRE                                                                                                                                                                                 &                                                                                                                                  SECURITY                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                             |
                                                                                           AMERICS                                                                                                                                                                                                                                                                                 CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                INC                                                                                                                                                                                                                          CARIE                                                                                                                                                                                                                                                                                                                                                      I                                                                       I
                                                                                                                                                  GLOBA                                                                                                                                                                                                                                                                       CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RAYTHEON                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                           I
                                                                              TECHNOLGIS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (f/ka                                                                                                                                                                          Un1ted                                                                                                                                                                                                                                                                                              I                                                                                                             I
                                                                                                                                     Technolgis                                                                                                                                                                                                                                                           Comratin)                                                                                                                                                                                                                                                                                                                                                                                                                                          NATIOL                                                                                                                                                                                                                                                                                                                                                                                                                     FOAM                                                                                                                                                                                                                                                                                                   I                                                                                                             |
                                                                        INC                                                                                                                                                                    BUCKEY                                                                                                                                                                                                                                                                                               FIRE                                                                                                                                                            EQUIPMNT                                                                                                                                                                                                                                                                                                                                                                                                                                    COMPANY                                                                                                                                                                                                                                                                                                                                                                                                                    I
                     ARKEM                                                                                                                                                                                                                                                                                                                                                                    INC                                                                                                                                                                                                                                                                                            BASF                                                                                                                                                                                                                                                                                                                        CORPATIN
                                                                                                                         CHEMDSIGN                                                                                                                                                                                                                                                                                                                                                          PRODUCTS                                                                                                                                                                                                                                                                                                                                                                                                                                INC'                                                                                                                                                                                                                                            CLARINT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I
                                                                                                              CORPATIN                                                                                                                                                                                                                                                                                                                                                                                                                   CHEMIALS                                                                                                                                                                                                                                                                                                                                                                                                    INCORPATED
NATIO                                                                                                                                                                                                                                                                                                       FORD                                                                                                                                                                                                                                           CHEMIAL                                                                                                                                                                                                                                                                                                                                                                         COMPANY                                                                                                                                                                                                                                                                                                                                                                              AGC
                                                   INC                                                                                                                                                                                                            (f/ka                                                                                                                                               Asahi                                                                                                                                                                                                                                                     Glas                                                                                                                                                                                                                      Co                                                                                                                                                                                                                     Ltd)                                                                                                                                                                                                               AGC                                                                                                                                                                                                                                                                                                                                              '
                                                                                                              CHEMIALS                                                                                                                                                                                                                                                                                                                   AMERICS                                                                                                                                                                                                                                                                                                                                                                                                                                   INC                                                                                                                                                                                                       DEPWATR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                                                                              CHEMIALS                                                                                                                                                                                                                                                                                                                             INC                                                                                                                                                                                                                  DYNAX                                                                                                                                                                                                                                                                                                                                                       CORPATIN
                                                   ARCHOM                                                                                                                                                                                                                                                                                                                 MANGET                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LC                                                                                                                                                                      ARCHOM                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
        U                                                                                                                                                                                             S   INC                                                                                                      AND                                                                                                                                                         JOHN                                                                                                                                                                           DOE                                                                                                                                                                     DEFNATS                                                                                                                                                                                                                                                                                                                                                                                                                                                  1 49                                                                                                                                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Defndats                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                COMPLAINT                                                                                                                                                                                                                                                                                                                                                                                                                                                          IN                                                        CIVL                                                                                  ACTION                                                                                                                       I                                                                                                      I
                                                                                                                                                                                                                                                                                                                                   AND                                                                                                                                                                                       NOW                                                                                                                                                                    come                                                                                                                                                                     the                                                                                                      Plaintfs,                                                                                                                                                                                                                                                                              the                                                                          Comnwealth                                                                                                                                         of   Pensyl                                                   ilan,                                                                     a<:ting                                                                                                                        by                      and

            throug                                                                                                                                                                                                                                                                     Delawr                                                                                                                                                                                                                                                                                  County                                                                                                                                                                                                                  Distrc                                                                                                                                                                                                                                                       Atorney                                                                                                                                                                                                                                                           Jack                                                                            Stolseimr,                                                                                           and                      Hiverfod1                                                                                                                                                                                      Township

                                                            (coletvy,                                                                                                                                                                                                                                                                             “Plaintfs”),                                                                                                                                                                                                                                                                                                                                                                                                           by                                                                            and                                                                                                                                        throug                                                                                                                                                                                                                                        their                                                                                                                         undersig                                                                                                   counsel,                                bring                                                                         this                action                                                                                                                                  aginst
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                     Defndats,                                                                                                                                                                                                                                                                                                3M                                                                                                                         Company                                                                                                                                                                                                                                                                                                              (f/ka                                                                                                                                 Minesota                                                                                                                                                                                                                                                                                                                                          Ming                                                                                                                          and                                                             Manufctrig                                                                Co;                                                                     , E                   I                                                                                    DuPont                                                                           De


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1                                                                                                                                                                                                                                                                                  I                                                                                                             I
                                                                                                                                                                                  123405                                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                             .


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                     I
    ’                                                                                                                                                                                                                     Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 26 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i                                                                                                                                                                                                                                                                   i
-                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       i                                                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                |                                                                                                                                                                                                                                                  l

                                                                                                                        Nemours                                                                                                                                                                                                      and                                                                                                                                                               Company,                                                                                                                                                                                                                                        The                                                                                                 Chemours                                                                                                                                                                                                          Company,                                                                                                                                                                                                                                                                                                  The                                                                                                        Chemours                                                                                                                                                                                                                                                               Compan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1 I         1

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LC,                                                                                                                             DuPont

                                                                                                                                                                          de                    Nemours,                                                                                                                                                                                                                                                                              Inc                                                              , Corteva,                                                                                                                                                                                                                        Inc                                                                                                           , Chemguard,                                                                                                                                                                                                                                                                                                                       Inc                                                                              , Tyco                                                                                                                                                                            Fire                                                                                                                                  Products                                                                                                                                                                    LP                                                                                                   (5:                                                                                                                ces!)r                                                                                                                                                                                                    1n                                  1nters

                                                                                                                                                                     to                   The                                                        Ansul                                                                                                                                                                                                                                  Company)                                                                                                                                                                                                                                                         Kide                                                                                                                                                                    Fenwal                                                                                                                                                  Inc                                                                                                                                                            Kide                                                                                                                                                     PLC                                                                                                                                                                   Inc                                                                                                                         Chub                                                                                                                                   Fire}                                                                                                                                                                              Ltd                                                                                                                                           liTC                                                                                                           Fire                                                                                            &

                                                                                                                                                                               Security                                                                                                                                   Americas                                                                                                                                                                                                                                                                                      Corpatin,                                                                                                                                                                                                                                                                                                                                               Inc                                                                , Carle                                                                                                                                                                                                                                                         Globa                                                                                                                                                                                            Corpatin,                                                                                                                                                                                                                                                                                                              Ray!                                                                                                                                                                     eon                                                                                                                                                      Tiechnolgs

                                                                                                                                  Corpatin                                                                                                                                                                                                                                                                                                                     (f/ka                                                                                                                   United                                                                                                                                                                                                                                      Technolgis                                                                                                                                                                                                                                                                                                                                 Corpatin),                                                                                                                                                                                                                                                                                                                                                  Nationl                                                                                                                                                                                                                                       Foam,                                                                                                                                                                   ! c , B1€ckey                                                                                                                                                                                                                                                                                                                                                                            Fire

                                                                                                                                                         Equipment                                                                                                                                                                                                     Company,                                                                                                                                                                                                                                                                                                                Arkema,                                                                                                                                                                                                                         Inc                                                           , BASF                                                                                                                                                                                                                Corpatin,                                                                                                                                                                                                                                                                                                                                              ChemDs1gn                                                                                                                                                                                                                                                                           Pro                                                                                                                   ucts,                                                                                                                                                                              1:0                                                                                            , Clarint

                                                                                                                                                         Corpatin,                                                                                                                                                                                                                                                                                 Chemicals                                                                                                                                                                                                                                                                             Incorpated,                                                                                                                                                                                                                                                                                      Nation                                                                                                                                                                                                Ford                                                                                                                        Chemical                                                                                                                                                                                                                                                                          Company,                                                                                                                                                                                                              A(‘lC                                                                                                                                                                                             Inc                                                                                                                              ;(f/ka                                                                                                     Asahi

                                                                                                                                             Glas                                                                                               Co                                                                                               ,                                                                                           Ltd                                                                                                  ),                                                              AGC                                                                                                                                                         Chencals                                                                                                                                                                                                                                                                Amencas,                                                                                                                                                                                                                                                                                                        Inc                                                                             ,                                                                         Depwatr                                                                                                                                                                                                                                                                      Chem                                                                                                                                                           cals,                                                                                                                                                                                                         hm                                                                            ,                                            Dynax

                                                                                                                                             Corpatin,                                                                                                                                                                                                                                                                             Archoma                                                                                                                                                                                                                                                                           Mangemt,                                                                                                                                                                                                                                                                                                  LC,                                                                                                                                                         Archoma                                                                                                                                                                                                                                        U                                                                  S , Inc                                                                                                                                                                      , and                                                                                                       John                                                                                                                 D                                                                                                               e Defndats                                                                                                                                                                                                                                                                                                    l 49

                                                                                                           (coletivy,                                                                                                                                                                                                                                                                                                                                                  “Defndats”),                                                                                                                                                                                                                                                                                                                                                             and                                                                                           alegs                                                                                                                     as                                                                                      folws                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SUNHVIARY                                                                                                                                                                                                                                                                                   OF                                                                                              THE                                                                                                CASE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;                                                                                                                                                                                                                                                                   1

                                                                                                                                                                                                                 1                                                                                                                                                                                                The                                                                                                                                  Comnwealth                                                                                                                                                                                                                                                                                                                                                                                     of                                                Pensylvai,                                                                                                                                                                                                                                                                                                                                           acting                                                                                                                                                                                         by                                                                               and                                                                                       throug                                                                                                                                                             thi                                                                                                                                                   Delavi/r                                                                                                                                                                                                                    County

                                                              Distrc                                                                                                                                                                                                             Atorney,                                                                                                                                                                                                                                                                           Jack                                                                                                                                 Stolseimr                                                                                                                                                                                                                                                                    (“DA                                                                                                              Plaint1f’),                                                                                                                                                                                                                                                                                    brings                                                                                                                                                                                               this                                                                                     action                                                                                                                         agin                                                                                                                                                                            t Defndats                                                                                                                                                                                                                                                                                                                      t0                                        (1)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1                                                                                                                                                                                                                                                                   1
                                                                       enjoi                                                                                                                                                                                 Defndats                                                                                                                                                                                                                                                                                                                           from                                                                                                                                                                contiug                                                                                                                                                                                                                                                          to                                                                               violate                                                                                                                                                                                               Pensylvai’                                                                                                                                                                                                                                                                                                                                                                                                                          Unfair                                                                                                                                                Ti                                                            ade                                                                                                                                           Priactes                                                                                                                                                                                                                                  and

                                                                               Consumer                                                                                                                                                                                                                                                              Protecin                                                                                                                                                                                                                                                                                                                            Law                                                                                                                           (“UTPCL”)                                                                                                                                                                                                                                                                                                now                                                                                                                                                                and                                                                                            in                                                                                        the                                                                                                                              futre,                                                                                                                                                             (i)                                                                          req:                                                                                                                             1re                                                                                D%fendats                                                                                                                                                                                                                                                                                               to

                                                                               disgore                                                                                                                                                                                                                     al                                                                     monies                                                                                                                                                                                                               acquired                                                                                                                                                                                                                                       or                                                             retaind                                                                                                                                                            as                                                                                                           a result                                                                                                                                                                                of                                               the1r                                                                                                                                              violatns                                                                                                                                                                                                           of                                                                      the:                                                                                                   UTPCl’L,                                                                                                                                                                                                                                                                  and                                                                                (i)

                                 recov                                                                                                                                                                                                                                                      any                                                                                            and                                                                                                                                               al                            penaltis,                                                                                                                                                                                                                                                                                           ﬁnes,                                                                                                         restoaiv                                                                                                                                                                                                                                                                             rehf                                                                                                                                     and                                                                                                                      other                                                                                                                                 recovabl                                                                                                                                                                                                                                                  : amgeEs                                                                                                                                                                                                                                                                                               due                                                                            to                                      his

                                                                                                   ofﬁce                                                                                                                  and                                                                                                              the                                                                                                                                                                    peol                                                                                                                               of                                                                         Delawr                                                                                                                                                                                                                                 County                                                                                                                                                         as                                                                                       a result                                                                                                                                                                         of                                                                    the                                                                                                                          actions                                                                                                                                                        and                                                                  inac                                                                                                                                 ions                                                                                                                                             ofi                                                                                                Defndats

                                                         as                                                                                                                                                set                  forth                                                                                                                                                                     herin                                                                                                                                                                                                                                           Plaintf,                                                                                                                                                                                                                          Haverfod                                                                                                                                                                                                                                       Township,                                                                                                                                                                                                                                                                             brings                                                                                                                                                                                               this                                                                                                      action                                                                                                                                             agi’                                                                                                                                                                          st                          Dflzendats                                                                                                                                                                                                                                                                             to

                    recov                                                                                                                                                                                                                                                                             al                                                        past                                                                                                                                                                   and                                                                                                   futre                                                                                                                                                       compensatry                                                                                                                                                                                                                                                                                                                                   and/or                                                                                                                                                                            consequtial                                                                                                                                                                                                                                                                                                                                                          damges                                                                                                                                                                                            foe                                                                                                                                                        the                                                                           injvestgao,

                    remdiaton,                                                                                                                                                                                                                                                                                                                                                                                          removal,                                                                                                                                                                                                                                              dispoal,                                                                                                                                                                                                                     treamn,                                                                                                                                                                                                                                                      and                                                                                            monitrlg                                                                                                                                                                                                                                                                                                       of                                                                                 the                                                                             ongi                                                                                                                                                                                  c:                                                                              ntamiI:1o                                                                                                                                                                                                                                                                                                       of                                       its

                                               surface                                                                                                                                                                                                                  water,                                                                                                                                                                                                                                           groundwate,                                                                                                                                                                                                                                                           waster,                                                                                                                                                                                                                                                           soil                                                                                                                                        and                                                                                         sedimnt                                                                                                                                                                                                                                                 caused                                                                                                                                                       and/or                                                                                                                                  are?                                                                                                                                                ed                                                                by                                                                                                        ?Defndats’

        products,                                                                                                                                                                                                                                                                                               dimnshe                                                                                                                                                                                                                                                                                                             proety                                                                                                                                                                                                                            value,                                                                                                                                         punitve                                                                                                                                                                                                    damges,                                                                                                                                                                                                                                   atorneys’                                                                                                                                                                                                                                                             fes                                                                      and                                                                                                              cI                                                                                               st,                                                                            aslwe                                                                                                                                                                                              as                                       any

                                         and                                                                                                                                                                         al                 other                                                                                                                                                    damges                                                                                                                                                                                                                                                              avilbe                                                                                                                                                                                                            as                                                                  a result                                                                                                                                of                                                                                                  the                                                                               actions                                                                                                                                                                 and/or                                                                                                                                                                                                        mactlons                                                                                                                                                           of                                                                           D!                                                                                              fendarlts

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        l                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                                                                                   i
                                                                                          123405                                                                                                                                                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i
.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             :                                                                                                                                                                                                               i
                                                                                                                                                                                 Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 27 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                                                                                                                                                                             9
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1' lI
                                                                                                                                                          2                                                                                                                                                                                      J ack                                                                                                                                           Stolseimr,                                                                                                                                                                                                                                                                                             Distrc                                                                                                                                                                                                                                               Atorney                                                                                                                                                                                         for                                                                                       Delawr                                                                                                                                                                                                                              County,                                                                                                                                                          is                                          a:                                                                                              elctji                                                                                                                                                                         ofﬁcial                                                                                                                             of

                                                                    Delawr                                                                                                                                            County,                                                                                                                                                                                                                                                                                 and                                                                                             whic                                                                                                                                                       has                                                                                               “al                                                                                                                   the                                                                               powers                                                                                                                                                              and                                                                                    duties                                                                                                                     granted                                                                                                                                                                                                  by                                                          [C]o                                                                                        i                                                                                           onweialth                                                                                                                                                                                                  law,                                                                 by

                                                                                                                           laws                                   aplicbe                                                                                                                                                                                                                                                                          to                                                               Counties                                                                                                                                                                                                                                        of                                                                  the                                                                                                                          Second                                                                                                                                                                            Clas                                                                                                                        A                                                                            for                                                                       Distrc                                                                                                                                                                                                             Atorneys,E                                                                                                                                                                                                                                 y the                                                                                                                                   lHome                                                                                                                    Rule

                                                                                                        Charte,                                                                             by                                                                                         this                                                                                                                                                             chapter,                                                                                                                                                                                                                                             or                          by                                                                      ordinace                                                                                                                                                                                                                                                                                   of                                                         [Delawr]                                                                                                                                                                                                                                                  County                                                                                                                                                                                               Council                                                                                                                                        ”1                                                           |DA                                                                                                                              Stiﬂlsemr                                                                                                                                                                                                                                    is

                                                                                                                                  stauorily                                                                                           permitd                                                                                                                                                                                                                                                                                                                                to                                                                                    bring                                                                                                               this                                                                                                                     action                                                                                                                                                        in                                                                 the                                                                          name                                                                                                                                    of                                              the                                                                                                   Comnwealth1                                                                                                                                                                                                                                                                                                                                                                                                                     hold1Defnats

                                                                                            acountble                                                                                                                                                                                                    for                                                                                                          Violatns                                                                                                                                                                                                                                                                                              of                                the                                                                                    UTPCL                                                                                                                                                                                                                                                       pursant                                                                                                                                                                                                to                                                 73                                                    P S                                                                                                      § 201                                                                                                                                              4                                                                                                                                                l                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i

                                                                                                                                                              3                                                                                                                                                                       Haverfod                                                                                                                                                                                                                                                                                                                             Township                                                                                                                                                                                                                                             is                                                               a mun10pal                                                                                                                                                                                                                                                        corpatin                                                                                                                                                                                                                                                                     organized                                                                                                                                                                                                                     anti                                                                                               existng                                                                                                                                                                                                              under                                                                                                     the

                                                                                                                    laws                                                    of                   the                                                                                                                                                Stae                                                                                                                                                                                     of                                                                                                        Pensylvai                                                                                                                                                                                                                                                                                                                                                                      Haverfod                                                                                                                                                                                                                                                   Township                                                                                                                                                                                                                                  is                                                                                         herinaft                                                                                                                                                                                                          refi                                                                                                                                                                                                                                     to                                                            as                                         the

                                                                                                        “Municpal                                                                                                                                                            Plaintf                                                                                                                                                                                                                                                                    ”                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       l

                                                                                                                                                      4                                                                                                                                                                    Plaintf,                                                                                                                                                                                                                                                                                  Haverfod                                                                                                                                                                                                                                                                       Township,                                                                                                                                                                                                                                                                     is                                                             the                                                                                  owner                                                                                                                                                                     of                                                                lands,                                                                                                                                           proetis,                                                                                                                                                                                                                                                    faciltes,                                                                                                                                                                                      and

                                                                    infrastuce                                                                                                                                                                                                                                                                                      withn                                                                                                                                                                                           Delawi                                                                                                                                                                                                                    County,                                                                                                                                                                                                                    Pensylvai,                                                                                                                                                                                                                                                                                                                                             includg                                                                                                                                                                                                              but                                                                               not                                                           limt                                                                                                           d to                                                                                                                                   thie                                                             Haverfod

                                                                                 Township                                                                                                                                                              Recyling                                                                                                                                                                                                                                                                                                                                        Drop                                                                                                                                              Of                                                                                                                                Centr,                                                                                                                                                                                                 located                                                                                                                                                                                   at                                                                             a                                  forme                                                                                                                                                                                        the                                                                                                  traing                                                                                                                                                                                                          are                                                                                                             :(“Recyling

                                                                    Centr”)                                                                                                                                                     The                                                                                                                                                     Recyling                                                                                                                                                                                                                                                                                                     Centr                                                                                                                                                   is herinaft                                                                                                                                                                                                                                                                                                               refd                                                                                                                                                                                                     to                          as                                     the                                                                                                “Municpal                                                                                                                                                                                                                              PT aintf                                                                                                                                                                                                               is P1                                                                                               operty                                                                                       ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      l

                                                                                                                                                  5                                                                                                                                                                 Per                                                                                                                                                                    and                                                                                                                                  polyﬂurak                                                                                                                                                                                                                                                                                                                                                                     subtance                                                                                                                                                                                                                                                                                      (“PFAS”),                                                                                                                                                                                                                                       includg                                                                                                                                                                                                    per:                                                                                         u0r(:tan1c                                                                                                                                                                                                                                                                                                  acid

                                                                    (“PFOA”)                                                                                                                                                                                           and                                                                                                                                                       perﬂuoctan                                                                                                                                                                                                                                                                                                                                                                                                                     sulfonic                                                                                                                                                                                                                                                   acid                                                                                                      (“PFOS”),                                                                                                                                                                                                               wer                                                                                                                                                                                 discover:                                                                                                                                                                                                     in                                                                                                          water                                                                                                                                                  and                                                  soil

                                    resouc                                                                                                                                                                       at                                                                           Municpal                                                                                                                                                                                                                                                                                                                                      Plaintfs                                                                                                                                                                                                                             Propety                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i                                                                                                                                                                                                             I

                                                                                                                                                  6                                                                                                                                                                 PFOA                                                                                                                                                                                                                          and                                                                                                                                 PFOS                                                                                                                                        are                                                                                                                          man                                                                                                     made                                                                                                                                        compunds                                                                                                                                                                                                                                                                               tha                                                                                                          are                                                                              toxic                                                                                           a 3d                                                                                                                                      persitn                                                                                                                                                                                                           in                              the

                                             enviromt,                                                                                                                                                                                                                                                                                                                      do                                                                                                       not                                                                                                   biodegra,                                                                                                                                                                                                                                                                                                                                           move                                                                                                                                                                               readily                                                                                                                                          throug                                                                                                                                                                                          soil                                                                                                                          and                                                                                                     ground:                                                                                                                                                                                        ater,                                                                                                !and                                                                                                                       pose                                                                             a

                                                         signﬁcat                                                                                                                                                                               risk                                                                                                                                               to                                                                        human                                                                                                                                                                                                           healt                                                                                                                          and                                                                                                                       safety                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i                                                                                                                                                                                                         ‘

                                                                                                                                              7                                                                                                                                                                At                                                                                                                                                  various                                                                                                                                                                                                                                                       times                                                                                                                                                                                   from                                                                                                                                                               the                                                                                                            1960s                                                                                                                                                                                     throug                                                                                                                                                                                                                  today,                                                                                                                              De;                                                                                                                       ndatsl                                                                                                                                                                                                             design,

                      manufctred,                                                                                                                                                                                                                                                                                                                                                                       formulated,                                                                                                                                                                                                                                                                                                                           marketd,                                                                                                                                                                                                                                                                                           distrbue,                                                                                                                                                                                                                                                                   and/or                                                                                                                                                                                  sold                                                                                                                                                 PFOA,                                                                                                           P:OS,                                                                                                                                                                                                                   thle                                                                                                  chemial

    precuso                                                                                                                                                                                                                                                       of                                                                                                             PFOA                                                                                                                                                                                             and/or                                                                                                                                                                                       PFOS,                                                                                                                                                                                                    and/or                                                                                                                                                                aqueos                                                                                                                                                                                                                      ﬁlm                                                      forming                                                                                                                                                                                                                                       foam                                                                                             (“i                                                                                                            F”)I                                                                                                                                             contaig
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I

              PFOA,                                                                                                                                                              PFOS                                                                                                                                                                      and/or                                                                                                                                                                                           their                                                                                                                                                 chemial                                                                                                                                                                                                            precuso                                                                                                                                                                                                                                                  (coletivy,                                                                                                                                                                                                                                                                                  “Fluorsfactn!                                                                                                                                                                                                                                                                                                                                                                                    Produits”)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 E                                                                                                                                                                                                       1
                                    1 Delawr                                                                                                                                                           County,                                                                                                                                                                                                                                PA                                                                               Adminstrave                                                                                                                                                                                                                                                                                                    Code                                                                                                                            Article                                                                                                                                                       XV                                                                     § 6                                                        10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '



                                                         123405                                                                                                                         1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        !                                                                                                                                                                                                                          ‘

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I1                                                                                                                                                                                                                         I
'                                                                                                                                                                                                                                                                      ' 28 I of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ll I
                                                                                                                                                                                                                     Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page




                                                                                                                                                                                            8                                                                                                                                                                                                                              AF                                                                                                                           is                                                                            a ﬁreghtm                                                                                                                                                                                                                                                                                                                                                                       agent                                                                                                                                                               used                                                                                         to                                               contrl                                                                                                                                                                                                   and                                                                                       extingush                                                                                                                                                                                                                         Clas:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 B                                                         fuel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                   ﬁres                                                                                     and                                                              is

                                                                                                                                 used                                                                           at                           Sites                                                                                                                             such                                                                                                                                                   as                                       miltary                                                                                                                                                                                                                                      base,                                                                                                                                                                     airpots,                                                                                                                                                                                                                              petrolum                                                                                                                                                                                                   reﬁnis,                                                                                                                                                                                                                                                                  and                                                                                                    ﬁre                                                  tra':                                                                                                ing                                                                                                 ce%t1s

                                                                                                                                                                                        9                                                                                                                                                                                                                                       Defndats                                                                                                                                                                                                                                                                                                                                    design,                                                                                                                                                                                                                                                                                                                        manufctred,                                                                                                                                                                                                                                                                                                                                                                           marketd,                                                                                                                                                                                                                                                                                                     distrbu;e,                                                                                                                                                                                                                                                                                                                                aEnd/or                                                                                                                                                                                                               sold

                                                                                                                                 Fluorsfactn                                                                                                                                                                                                                                                                                                                                                           Products                                                                                                                                                                                                                                with                                                                                                                                 the                                                                                          knowledg                                                                                                                                                                                                                                                                                        tha                                                                              thes                                                                                                                                                           toxic                                                                                                                 compunds                                                                                                                                                                                                                                             woS                                                                                        Id                                                             be                                                                                                    rielasd                                                                                                                                                                                                  into

                                                                                                                           the                                                                       enviromt                                                                                                                                                                                                                                                                                                                dur1ng                                                                                                                                                                                     ﬁre                                                                                                                          protecin,                                                                                                                                                                                                                                                                                                                  traing,                                                                                                                                                                                  and                                                                                               respon                                                                                                                                                                                                                                                     act1vies,                                                                                                                                                                                                              jven                                                                                                                                             when                                                                                                                                                                                          used                                                                                       as
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                               direct                                                                                                                  and                                                                                             inted                                                                                                                                                                                                                                                     by                                                                               the                                                                                            Defndats                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    l                                                                                                                                                                                                                                                                    l

                                                                                                                                                                                                10                                                                                                                                                                                                                  Upon                                                                                                                                                                 informat                                                                                                                                                                                                                                                                                                                                                                    and                                                                                                                                                                         belif,                                                                                                                                                          at                                                                                                               al                                                                                                     times                                                                                                                                                       pertin                                                                                                                                                                                                                       hiern,                                                                                                                                                                                                                                                             I‘Defndats’

                                                                                                   Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                    Products                                                                                                                                                                                                                                                            have                                                                                                                             ben                                                                                                                                                                                                             relasd,                                                                                                                                                                                                   used,                                                                                                                                                                 stored,                                                                                                                                                                                and/or                                                                                                                                       dispel                                                                                                                                                                                                                                                    Mi                                                                                                                                  at                                                                 or                                         near

                                                                     Municpal                                                                                                                                                                                                                                                                 Plaintfs                                                                                                                                                                                                                                                           Propety                                                                                                                                                                                                                                                      for                                                                                          ﬁre                                                                                                protecin,                                                                                                                                                                                                                                                                  traing                                                                                                                                                                                                          and                                                                                                                respon                                                                                                                                                                  activ;                                                                                                           ties                                                                                                                                                                         1;)urng                                                                                                                                                                        thes

                                                                                                   actives,                                                                                                                                                                                                   Defndats’                                                                                                                                                                                                                                                                                                                      Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Products                                                                                                                                                         wer                                                                                                                                   stored,                                                                                                                                                                                                  used,                                                                                       cleand                                                                                                                                                               ip,                                                                                                               and/or                                                                                                                                                                                                              dispoe

                                                                                                   of                                                                  as                                            direct                                                                                                                                                                                                                                                  and                                                                                                                    inted                                                                                                                                                                                                                                                        by                                                                                 the                                                                                                           Defndats,                                                                                                                                                                                                                                                                                                    whic                                                                                                                                                                                            alowed                                                                                                                                                                         PFOS,                                                                                                                                                                                                 : 0A,                                                                                                                                                                                                                   and/or                                                                                                                                                             their

                                                                                                                 chem1al                                                                                                                                                                            precuso                                                                                                                                                                                                                                                                                                 to                                                                entr                                                                                                                                                             the                                                                           env1romt,                                                                                                                                                                                                                                                                                                                                                                     and                                                                                                          migrate                                                                                                                                                                       throug                                                                                                                                                                                                                     the                                                 soil                                                                                                                                  sedinlt,                                                                                                                                                                                                                                                                                              surface

                                                                                water,                                                                                                                                        and                                                                                               groundwate,                                                                                                                                                                                                                                                                                                                                                           the1                                                                                         eby                                                                                               contamig                                                                                                                                                                                                                                                                                                                                                                               Municpal                                                                                                                                                                                                                                                   Plaintf’s                                                                                                                                                                                                                         Propety                                                                                                                                                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                    1                                                                                                                                                                                                                          As                                                                               a result                                                                                                                                                                                                     of                                                                              the                                                                                          use                                                                                                                                           of                                                Defndats’                                                                                                                                                                                                                                                                                   Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                  Product?                                                                                                                                                                                                          for                                                                                                  thleir                                                                                                                                                          1nted
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1
                                       purose,                                                                                                                                                                                                                               PFOS,                                                                                                                                                                                                 PFOA,                                                                                                                                                                             and/or                                                                                                                                                                                           their                                                                                                                                                   chemial                                                                                                                                                                                                                                  precuso                                                                                                                                                                                                      have                                                                                                                                             ben                                                                                                               detc                                                                                                                                                                                                                     1 the                                                                                                        soil,                                                                                                                                                                    sedimnt,

                                                                                         surface                                                                                                                                    water,                                                                                                                                                                                                      and                                                                                        groundwate                                                                                                                                                                                                                                                                                                                                           of                                                        Municpal                                                                                                                                                                                                                                                                                     Plaintf                                                                                                                                                                              s Propety                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ;                                                                                                                                                                                                                                                             ‘

                                                                                                                                                                  12                                                                                                                                                                                                                                Municpal                                                                                                                                                                                                                                                                              Plaintf’s                                                                                                                                                                                                                                                                                         Propety                                                                                                                                                                                                                                                              has                                                             ben,                                                                                                                                                      and                                                                                                                            contmues                                                                                                                                                                                                                    to                                                                    bl,                                                                                                       contamied                                                                                                                                                                                                                                                                                                                                                   by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1
                           Defndats’                                                                                                                                                                                                                                                                                                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                                                                Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :

                                                                                                                                                             13                                                                                                                                                                                                                                At                                                                                          al                                                                times                                                                                                                                                            pertin                                                                                                                                                                                                                                                                                                         herin,                                                                                                                                                          Plaintfs                                                                                                                                                                                                                  di                                                                                                                          not                                                                                            know,                                                                                                                                                    nor                                                                      shcé)                                                                                                   ld                                                                    Plaintfs                                                                                                                                                                                                                                                              have

                   know,                                                                                                                                                                                                                             of                                                                   the                                                                                                                         ongi                                                                                                                                                                                                 contami                                                                                                                                                                                                                                                                                                                                                                                           of                                                                                                      Municpal                                                                                                                                                                                                                       Plaintf’s                                                                                                                                                                                                                                                                     Propety                                                                                                                                                    throu;                                                                                                                                                                                               the                                                                                                                                 Le,                                                                                                                          relas,

                                                          storage,                                                                                                                                                                                            and/or                                                                                                                                                                                         dispoal                                                                                                                                                                                                                 of                                                                         Defndats’                                                                                                                                                                                                                                                                                                                                                Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                        Products                                                                                                                                                                                                                              as                           Defnda:                                                                                                                                                                                                      ts                                                          di                                                                                                                                                             grim                                                                       discloe

    the                                                                                                                                                                     tox1c                                                                                                    nature                                                                                                                                                                            and                                                                                           harmful                                                                                                                                                                                                                             efcts                                                                                                                                                                                                   of                                   thes                                                                                                                                                              Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                            Products                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                                                                                                         y

                                                                                                                                                        14                                                                                                                                                                                                                            Throug                                                                                                                                                                                                                                          this                                                                                                            action,                                                                                                                                                                            Plaintfs                                                                                                                                                                                                                                                                                     sek                                                                             to                                                                                        recov                                                                                                                                                                   compensatry                                                                                                                                                                                                                                                                                                                                                                         : d/or                                                                                                                                                 cdnsequtial



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ; 1
          damges                                                                                                                                                                                                                                                                              for                                                                                                                                          al                                                   past                                                                                                                       and                                                                                                         futre                                                                                                                                                                    cost                                                                                                                                                                                  to                                                                                         investga,                                                                                                                                                                                                                                  remdiat,                                                                                                                                                                                                                                                                   remov,                                                                                                                                                                                     diEpose                                                                                                                                                                                                                        01f,                                                                                                         trea,                                                                                                                         and


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       4                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                l                                                                                                                                                                                                                                                                 l
                                                 123405                                                                                                                                                                                                   1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i                                                                                                                                                                                                                                                                 l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i                                                                                                                                                                                                                                                                 |

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i                                                                                                                                                                                                                 1
                                                                                                                                Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 29 of 66




                                   monitr                                                                                                         the                                                    PFOS                                                                                                                                                                     and                                                                                              PFOA                                                                                                              contami                                                                                                                                                                                                                                                                                                                                         of                                                              Municpal                                                                                                                                                                                                                      Plaintfs                                                                                                                                                                                                    PropetI                                                                                                                                                                                                                                    caused                                                                                                                                                    by                                            the                                  use

                                                         of                                    Defndats’                                                                                                                                                                                                          Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                               Products                                                                                                                                                                                            on                                                                                              Municpal                                                                                                                                                                                                                                           Plaintfs                                                                                                                                                                                                                   Prop:                                                                            rty,                                                                                                                                           toigehr                                                                                                                                                               with

                                                                          stauory                                                                           ﬁnes                                                                                                                             and                                                                       penaltis                                                                                                                                                                                   for                                                                     each                                                                                                                                  violatn                                                                                                                                                                                                 of                                                                                      the                                                               UTPCL,                                                                                                                                                                                                               disgoremntE                                                                                                                                                                                                                        of                                                                                                                     monies                                                                                                                                                  recivd

              by                                                                    Defndats                                                                                                                                                                                                       as                           a result                                                                                                                                                                                                   of                                     their                                                                                                                                           decptiv                                                                                                                                                                                 condut,                                                                                                                                                                                                                                                        and                                                 any                                                                                                            and                                                      al                                                  other                                                                                                  (1;                                           mageslrcovb

under                                                                                                                                 stae                                                                                                          and/or                                                                                                                                                                    aplicbe                                                                                                                                                                                                                         fedral                                                                                                                                                                                                     laws                                                                                                                                                                                        Municpal                                                                                                                                                                                                                                 Plaintf                                                                                                                                                                                  also                                                                                3; eks                                                                                                                                                                                    damges                                                                                                                                                and

              restiuon                                                                                                                                                           for                                                                                                   the                                                                   dunmtio                                                                                                                                                                                                                                                of                                                                 value                                                                                                                                                    of                                                  its                                                                       Propety                                                                                                                                                                                                                                Plaintfs                                                                                                                                                                                                           also                                                                                                    sek                                                                                                                      torne§|ls’                                                                                                                                                                                                               fes                                            and

                                                                  cost,                                                   and                                               al                                                                               other                                                                                                                      damges                                                                                                                                                       this                                                                                                              court                                                                                                                        dems                                                                                                                                 just                                                                                                                                         and                                                                                                      equitabl                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          PARTIES                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                     15                                                                                                                   Jack                                                                                            Stolseimr,                                                                                                                                                                                                                                                                     D1strc                                                                                                                                                                                                                      Atorney                                                                                                                                                                                                                                for                                                                                 Delawr                                                                                                                                                                                                         County,                                                                                                                                                1s                    a                                                                                                         elcti                                                                                                                                                                              ofﬁcial                                                                                   of

                          Delawr                                                                                                                                   County                                                                                                                                                                                                               DA                                                                                                Stolseimr                                                                                                                                                                                                                                                               is                                       stauorily                                                                                                                                                                                                                                       permitd                                                                                                                                                                                            to                                                                           bring                                                                                                        this                                                                          actior:                                                                                                                                                 in                                          the                                                                                      Iname                                                                                of                                   the

                                            Comnwealth                                                                                                                                                                                                                                                       to                                                                                                        hold                                                                                                Defndats                                                                                                                                                                                                                                                                                    acountble                                                                                                                                                                                                                                                                                        for                                                                               violatns                                                                                                                                                                                                        of                                                     the                                                                                    U                           PCL                                                                                                                                                                                                                            ipursant                                                                                                                             to

                                            73                                      P S                                                      § 201                                                                                                                                 4                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i

                                                                                                                16                                                                                                                        Plaintf                                                                                                                                                                                                            Haverfod                                                                                                                                                                                                                                      Township                                                                                                                                                                                                                 is                                                       a municpal                                                                                                                                                                                                                                                                                 corpatin                                                                                                                                                                                                                                                           orga                                                                                                                                    ized                                                                                           zind                                                                                                  existng

                          under                                                                                                 the                                                    laws                                                                                                             of                                                                                                       the                                                                                       Stae                                                                                                of                                                                                                     Pensylvai                                                                                                                                                                                                                                                                                                 and                                                                                                                        located                                                                                                                                                                    at                                                                 104                                                                                   Darby                                                                                                                  Road,                                                                                                                                                                                          gHavertown,

              Pensylvai                                                                                                                                                                                                                                                    19083                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I

                                                                                                           17                                                                                                          Upon                                                                                                                                                                           informat                                                                                                                                                                                                                                   and                                                                                                                   belif,                                                                                                                                       the                                                                                                               folwing                                                                                                                                                                                                                           Defndats                                                                                                                                                                                                                                       desi                                                                                                                                        ed,                                                                          manufctred,

formulated,                                                                                                                                                                                   marketd,                                                                                                                                                                                                                                                                  promted,                                                                                                                                                                                                               distrbue,                                                                                                                                                                                                                                                  and/or                                                                                                                                                                           sold                                                                                 the                                                                                     Fluorsfactn                                                                                                                                                                                                                                                                                                         Produ<its                                                                                                                                                                                                                              tha                                       have

contamied                                                                                                                                                                                                                                                            and                                                        contiue                                                                                                                                                                                                         to                                        contamie                                                                                                                                                                                                                                                                                       Municpal                                                                                                                                                                                                                                                                    Plaintfs                                                                                                                                                                                                        Propety                                                                                                                                                                                                                                                                                                                                                                                                                 ’

                                                                                                                                                        a                                                              Defndat                                                                                                                                                                                                                                                                        3M                                                                Company                                                                                                                                                                                                                                                         (f/ka                                                                                                                      Minesota                                                                                                                                                                                                                                                           M1ng                                                                                                                                                                     and                                                                     Manuﬁ                                                                                                                                                            cturingI                                                                                                                                                                                         Company)

                                                                                                                                                                                                                                 (“3M”)                                                                                                                                                                                       is                                                          a Delawr                                                                                                                                                                                                                                                     corpatin                                                                                                                                                                                                                                         authorized                                                                                                                                                                                                                                                 to                                                                              condut                                                                                                                                                     busine                                                                                                                                               s in                                                                                                 Pensylvai,

                                                                                                                                                                                                                       with                                                                                                                            its                                                                                         princal                                                                                                                                                                        place                                                                                                                                                                                            of                                           busine                                                                                                                                                                                                                        located                                                                                                                                                              at                                                                             3M                                                                           Centr,                                                                                                                                 SI                                                                                                                                Paul,i                                                                                                                Minesota

                                                                                                                                                                                                                                 514                                                                                                                                                                                                    3M                                                                                            is                    the                                                                                        only                                                                                                                               company                                                                                                                                                                                             tha                                                                                                                             manufctred                                                                                                                                                                                                                                                                                       and/or                                                                                                                             soi                                                                                                                                              AF                                                                                            I contaig

                                                                                                                                                                                                                PFOS                                                                                                                                                                             in                                          the                                                                  United                                                                                                                                                       Staes                                                                                                                                                                           includg                                                                                                                                                                                                                            Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1                                                                                                                                                                                                  ]



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    5                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          |                                                                                                                                                                                                                     ;
                                                         123405                                                                               1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                                 l


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               II
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 30 of 66




                          b                                                                                                                  Defndat                                                                                                                                                                                             E                                                                                I                                                                  DuPont                                                                                                                                                                               De                                                                                                           Nemours                                                                                                                                                                                                                                                                                       and                                                    Company                                                                                                                                                                                                                                                                (“DuPo                                                                                                                       i t”)                                                                                                                           is                                                                                                             Ia                                              Delawr

                                                                                                                                                       corpatin                                                                                                                                                                                                                            with                                                                                                                                        its                                                                                  princ1a                                                                                                                                                                                                                                                            place                                                                                                                                             of                                                                                busine                                                                                                                                                                                                   located                                                                                                                                                           at                                                            ’974                                                                                                                                                         CLntre                                                                                                                                                                                        Road,

                                                                                                                                  Wihngto,                                                                                                                                                                                                                                                        Delawr                                                                                                                                                                                                                                               19805                                                                                                                                                                       DuPont                                                                                                                                                                                                             is registd                                                                                                                                                                                                                                                             to                                                                                      do                     busineI                                                                                                                                                         s in                                                                                                      Pe‘nsylvai

                              c                                                                                                              Defndat                                                                                                                                                                                       The                                                                                                                 Chemours                                                                                                                                                                                                                        Company                                                                                                                                                                                                                                                                                        (“Chemours”)                                                                                                                                                                                                                                                                                                                        is                                                                                 a DelawI                                                                                                                                                                  e corp(!)atin                                                                                                                                                                                                                                                                                                                                                  with

                                                                                                                                  its                                           prmcial                                                                                                                                                                                       place                                                                                                                                               of                                                               busme                                                                                                                                                                          located                                                                                                                                                                                                                    at                                               107                                                                                                     Market                                                                                                                                                                                                                        Stre,                                                                                    Wi‘                                                                                                                                                             ingto:,                                                                                                                                                                                  Delawr

                                                                                                                                                                          198                                                       Chemours                                                                                                                                                                                                                                                                                                        is registd                                                                                                                                                                                                                                                                              to                                                                                                      do                          busine                                                                                                                                                                                                      in                               Pensylvai                                                                                                                                                                                                                                                                                                                                  !                                                                                                                                                                                                                                      ‘

                      d                                                                                           In                                                                      2015,                                                                                            DuPont                                                                                                                                                                                                                                            spun                                                                                                                         of                                                                                                1ts                                                                                      “Perfomanc                                                                                                                                                                                                                                                                                                                                 Chemicals”                                                                                                                                                                                                                                                       bus!                                                                                                                       es                                                                                                                     to;                                                                                    Chemours;

                                                                                                                       along                                                                                            with                                                                                                                               certam                                                                                                                                                                                                      enviromtal                                                                                                                                                                                                                                                                                                                                                                        liabtes                                                                                                                                                                                                                     Upon                                                                                                                                                             informatu4                                                                                                                                                                                                                                                 and                                                                                                                              belif,                                                                                                                                                                          at                                            the

                                                                                           time                                                                                                         of                                          the                                                                                                             transfe                                                                                                                                                                                                                   of                                                                    its                                  Perfomanc                                                                                                                                                                                                                                                                                                                                                               Chemicals                                                                                                                                                                                                                          busine                                                                                                                                                                               to                                                                        ChemoLrs,                                                                                                                                                                                                                                                                                                           DuPont
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -                                                                                                                                                                                                                                      I
                                                                               had                                                                                                                ben                                                                                                            sued,                                                                                                                                                          threand                                                                                                                                                                                                                                                                    with                                                                                                                                                                              suit                                                                      and/or                                                                                                                                                  had                                                                                                                       knowledg                                                                                                                                                                                                                                  of                                                                              the                                                                                                                     likehod                                                                                                                                                                                                                         of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                       litga1on                                                                                                                                                       to                                                                                              be                                                                ﬁled                                                                                                                                               regadin                                                                                                                                                                                                                               DuPont’s                                                                                                                                                                                                                                                         liabty                                                                                                                                                                 for                                                                                                                damges                                                                                                                                              : 1d                                                                                                                  inJIres                                                                                                                                                                                                                            arisng

                                                                                           from                                                                                                              the                                                          manufctre                                                                                                                                                                                                                                                                                                                                                              and                                                                                          sale                                                                                                                                        of                                                                       ﬂuorsfactn                                                                                                                                                                                                                                                                                                                                                                                                      and                                                                      the                                                                 pr                                                                  ducts                                                                                                                                                                               !tha                                                                                                                    contai

                                                                                                     ﬂuorsfactn

                  e                                                            Defndat                                                                                                                                                                                                                                                               The                                                                                                                                  Chemours                                                                                                                                                                                                                                                                Company                                                                                                                                                                                                                                                                  PO,                                                                                              LC                                                                                                                              ("Chemours                                                                                                                                                                                                                                                                  PC"),                                                                                                                                                                                                        shceor                                                                                                                                                                                                           in

                                                                                                     inters                                                                                                                                    to                                                                                 DuPont                                                                                                                                                                                                                    Chemical                                                                                                                                                                                                                        Solutins                                                                                                                                                                                                                                                                Enterp1is,                                                                                                                                                                                                                                                         is                                                                                 a Delaw%r                                                                                                                                                                                                                                    lunited                                                                                                                                                                                                               1ablity

                                                                                           company                                                                                                                                                                                                  with                                                                                                                                                                  its                                                                                                       princal                                                                                                                                                                                                                      place                                                                                                                                                                   of                                                                                                  busme                                                                                                                                                                                             located                                                                                                                                                                 at                                                                     1:                                               07                                                                                                    Market                                                                                                                                                                                                                                    Stre
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                                                      |

                                                                   Wilmngto,                                                                                                                                                                                                                                                                                                                                            Delawr,                                                                                                                                                                                                                                                     198                                                                                                                                                                                                                                           Chemours                                                                                                                                                                                                             PC                                                                                                     is                                                                                                   registd                                                                                                                                                                                      ! 0                                                                                                              do                                                                                                            busme                                                                                                                                                                                            1

                                                       Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :                                                                                                                                                                                                                                      i

              f                              Defndat                                                                                                                                                                                                                                                                     DuPont                                                                                                                                                                                                                        de                                                                             Nemours,                                                                                                                                                                                                                                                                   Inc                                                                                              is                                                                                       a Delawr                                                                                                                                                                                                                                                                      corpat1i                                                                                                                                                                                                                           with                                                                                                                                                  its                                                                                         princal

                                             place                                                                                                                                                                 of                                            busine                                                                                                                                                                                                                                       located                                                                                                                                                          at                                                                    974                                                                                                                          Centr                                                                                                                                                               Road,                                                                                                                                      Buildng                                                                                                                                                                                                                    730,                                                        Wi                                                                                                                                                          ingto,                                                                                                                                                                                   Delawr

                                                                                                                                                                  19805                                                                                   Upon                                                                                                                                                                        informat                                                                                                                                                                                                                                                                                          and                                                                                                                 belif,                                                                                                                                                              DowuPnt,                                                                                                                                                                                                                                                                                                                                     Inc                                                                      was                                                                            firmed                                                                                                                                                                                                                                   1                                                       2017                                                                                                                           as                             a

                                  result                                                                                                                                                                                       of                                                                          the                                                                                                                                   merg                                                                                                                                                                                                          of                                                           Dow                                                                                                                                                                                        Chemical                                                                                                                                                                                                                  and                                                                                                 DuPont                                                                                                                                                                                                                 Do                                                                                                                                                           uPon‘:t,                                                                                                                                                                                                                       Inc                                                                                               was

                                                                               subeqntly                                                                                                                                                                                                                                                                                                                         dive                                                                                                                                                                                                into                                                                                            thre                                                                                                                                                                              publicy                                                                                                                                                                                                             trade                                                                                                         companies                                                                                                                                                                                                                                                 an‘                                                                                                                 on                                                                                     Juine                                                                                                                                                                     1,                                                            2019,

                                  DowuPnt,                                                                                                                                                                                                                                                                                                                                                                 Inc                                                                                                          changed                                                                                                                                                                                                   its                                                                                    registd                                                                                                                                                                                                                                                                           name                                                                                            to                                                      DuPont                                                                                                                                                                                         de                                               NeLmours,l                                                                                                                                                                                                                                                                                       Inc                                                                                                  (“New




123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    |
    .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                                                                      I


.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1                                                                                                                                                                                                                                      1
                 Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 31 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1                                                                                                                                                                                                                                                      i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1 I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i


                                                                                                                                                                           DuPont”)                                                                                                          Upon                                                                                                                                                                                  mforatin                                                                                                                                                                                                                                                                                                                                and                                                                                  belif,                                                                                                                                                          New                                                                                                                                                  DuPont                                                                                                                            does                                                                                  and/c}>                                                                                                                                                                                                   has                                                                                                   done                                                                                                               busme

                                                                                                                                                                           throug                                                                                                                                                         the                                                                                               United                                                                                                                                                                     Staes,                                                                                                                                                                                                        includg                                                                                                                                                                                                        Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1                                                                                                                                                                                                                                      g

                                      g                                                                                                      Defndat                                                                                                                                                                                                   Corteva,                                                                                                                                                                                                                                Inc                                                                                                                                13                                                                                             a                                                    Delawr                                                                                                                                                                                                                                                corpatin                                                                                                                                                                                                                                                 with                                                                                                                                        its                                                                                princtgal                                                                                                                                                                                                                                    place                                                                                                                      of

                                                                                                                                                       busine                                                                                                                      located                                                                                                                                                                                                                                                                               at                                                     974                                                                                                                      Centr                                                                                                                                                                                                                  Road,                                                                                                                                                                                               Wilmngto,                                                                                                                                                                                                                                               Dela                                                                                                                                                          ;are                                                                                                                                                       19805                                                                                                                                                                  Upon

                                                                                                                                                                                       informat                                                                                                                                                                                              and                                                                                                                                             belif,                                                                                                                                                                    Corteva,                                                                                                                                                                                                                                                              Inc                                                                                                          is                                                                                                             one                                                                          of                                                                      the                                                                  afore%‘                                                                                                                                                                                           entiogd                                                                                                                                                                                                                                                       spm                                                                      of

                                                                                                                                                                           companies                                                                                                                                                            from                                                                                                                                                            DowuPnt,                                                                                                                                                                                                                                                                                                                                                        Inc                                                                                     , and                                                                                                                is                                                                            belivd                                                                                                                                                                   to                                                      have                                                                                                                                              aimed                                                                                                                                                                                                                                 ?some                                                                                                                of                                                the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1
                                                                                                                      PFAS                                                                                      liabtes                                                                                                                                                                                                                                                       of                                                                                              the                                                     forme                                                                                                                                                                                                                  DuPont                                                                                                                                                                                             Corteva,                                                                                                                                                                                                       Inc                                                                       IS registld                                                                                                                                                                                                                                                                                                                  to                                                                      (10%                                                                                  busme                                                                                                                                                        in

                                                                                                                                 Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                                                                                                   E

                              h                                                                                       Defndat                                                                                                                                                                             Chemguard,                                                                                                                                                                                                                                                                                                                                   Inc                                                                                                       (“Chemguard”)                                                                                                                                                                                                                                                                                                                                                                                                                            is                                  a Texas                                                                                                                                       corp01                                                                                                                                         min                                                                                                                                                   with!s                                                                                                                                                                princal

                                                                                                                                 place                                                                     of                                    busine                                                                                                                                                                                                                                                                            located                                                                                                                                                              at                                                                                 One                                                                                                          Stano                                                                                                                                                                                     Stre,                                                                                                                                                             Marinet,                                                                                                                                                                                                                              Wisczon                                                                                                                                                                                                                                                                            5413                                                                                                                                    Upon

                                                                                                                                                                mforatin                                                                                                                                                                                                       and                                                                                                                     belif,                                                                                                                                                             Chemgua1d                                                                                                                                                                                                                                                                                                                       does                                                                                                               and/or                                                                                                                                                        has                                                                  done                                                                                                                    bushie                                                                                                                                                                                                                                                      thIEoug                                                                                                                                                                                                                      the

                                                                                                      United                                                                                                                            Staes,                                                                                                                                                                                    mc1udng                                                                                                                                                                                                                                                  in                                                Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   }[                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i                                                                                                                                                                                                                              I
                                  1                                                                                   Defndat                                                                                                                                                                                          Tyco                                                                                                                                                                   Fire                                                                                                   Products                                                                                                                                                                                                                                                              LP                                                                                (“Tyco”)                                                                                                                                                                                                                                          is                               a Delawr                                                                                                                                                                                                                                         limt:{                                                                                                                                         d paltriesh                                                                                                                                                                                                                                                                                             with

                                                                                                               its                                                                                p1ncia                                                                                                                                                                                           place                                                                                                                                                                            of                                                        busine                                                                                                                                                                                                                                                                     located                                                                                                                                                                               at                                                                                                              140                                                                                           Penbrok                                                                                                                                                                                                                                                                                     arkw):/,                                                                                                                                                                                                                           Lansdle,

                                                                             Pensylvai                                                                                                                                                                                                                                                                                                                           1946                                                                                                                                                                                           Tyco                                                                                                                                                                             acquired                                                                                                                                                                                                        Chemguard                                                                                                                                                                                                                                                                       1n                                           201                                                                                                                      Ty“;                                                                                                                                                                     is                                                                 registd                                                                                                                                                                                                                         to                                            do

                                                                                         busine                                                                                                                                                                  in                                                           Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1                                                                                                                                                                                                                 a

                      j                                                                                        Tyco                                                                                                       is                                                                        the                                                                                                                                                              suceor                                                                                                                                                                                                                                       in                                                                                              inters                                                                                                                                                                                                     to                                                                                                       The                                                                                                               Ansul                                                                                                                                                      Compa                                                                                                                                                                                             y                                                                                                       (“Agnsul”)                                                                                                                                                                                                                        and

                                                                                         manufctres                                                                                                                                                                                                                                                                                                        the                                                                                                             Ansul                                                                                                                                                                brand                                                                                                                                                                 of                                                                      products                                                                                                                                                                                                 (Ansul                                                                                                                                              and/or                                                                                                                    Tyco                                                                                                                                       is                                                                                                         the                                                                                      shceor                                                                                                                                                                                             in

                                                                                                                      mters                                                                                                                                           to                                                                                                             Ansul                                                                                                                                                                                               wil                                                                                                                 be                                                                                                                                refd                                                                                                                                                                                                                        to                                                                                   coletivy                                                                                                                                                                                                                                                   as                                                                                              “T)iLo/Ansu1”                                                                                                                                                                                                                                                                                                                                                                                      Upon

                                                                                                                      informat                                                                                                                                                                                                                                           and                                                                                                                  belif,                                                                                                                                                         Tyco/Ansul                                                                                                                                                                                                                                                                                                                            does                                                                                                             and/or                                                                                                                                                           has                                                                 done                                                                                                                 busirﬂe                                                                                                                                                                                                                                                     thr!oug                                                                                                                                                                                                                    the

                                                    United                                                                                                                                                                     Staes,                                                                                                                                                                                   mcludng                                                                                                                                                                                                                                                       1n                                               the                                                                                                            Stae                                                                                                                 of                                                     Pensylvam                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :                                                                                                                                                                                                                 I

                          k                                  Defndat                                                                                                                                                                                                                                                                                              Kide                                                                                                                                                                                Fenwal,                                                                                                                                                                                                                    Inc                                                                                                                                               (‘Kjde”)                                                                                                                                                                                                                                                                         is                                          a                                                   Delawr                                                                                                                                                                                                                                            c?)                                                                                                    oratin                                                                                                                                                                                                      with                                                                                                         its

                                          prin01a                                                                                                                                                                                                                          place                                                                                                                                                                                of                                                                                              busine                                                                                                                                                                                                           located                                                                                                                                                                                                at                                                    One                                                                                                                                               Fmancil                                                                                                                                                                             Plaz,                                                                                                                                                              HalI                                                                                                    ford,                                                                                                                                        !Conect1u

                                                                       061                                                                                                                                                                                Upon                                                                                                                                                                                       informat                                                                                                                                                                                                                                                                                                                                               and                                                                                belif,                                                                                                                                                                                 Kide                                                                                                                                                        was                                                                                  part                                                                                     of                                                                                  UTEC                                                                                                                                                                                  Fire!&                                                                                                                                                                                        Security

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         7                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1
        123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 32 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E



                                                                                                                                                        Americas                                                                                                                                  Corpatin,                                                                                                                                                                                                                                                                                                               Inc                                                                                                                                                          Upon                                                                                                                                                         informat                                                                                                                                                                                                                                                                              and                                                                                                                                       belif,                                                                                                                                         Kid                                                                                                                                                         Fenwal,                                                                                                                                                                                                    Inc                                                                                                                1s                    the

                                                                                                                                                                                           suceor                                                                                                                       in                                                                               inters                                                                                                                                                                    to                                                        Kide                                                                                                                                                                                                          Fire                                                                                                Fightn,                                                                                                                                                                                                                      Inc                                                                                (coletivy,                                                                                                                                                                                                                                                                                                                       “I                                                                                                                                     de/Ki1                                                                                                                                                                                                                       F1re”)

                                                                                                                      Upon                                                                                         mforatin                                                                                                                                                                                                                                                                                                                               and                                                                                                                        belif,                                                                                                                                                                                            Kide/                                                                                                                                                                                                                                                                                                                   Fire                                                                                                                                                                          does                                                                                                       and/or                                                                                                                                       has                                                                                                                                                 dosne                                                                                                                        busine

                                                                                                                                                        throug                                                                                                                                                                                                        the                                                        United                                                                                                                                                          Staes,                                                                                                                                                                                                                        includmg                                                                                                                                                                                                                     in                                                            Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i

                          1                                                                                 Defndat                                                                                                                                                                                                                                     Kide                                                                                                                                                 PLC,                                                                                                                                                                             Inc                                                                                                        is                                                                            a Delawr                                                                                                                                                                                                                                                                                  corpatin                                                                                                                                                                                                                                                                                                        W1th                                                                                            it?                                                                                                                            prmcial                                                                                                                                                                                                        place                                                                                                                          of

                                                                                                            busine                                                                                                                                    located                                                                                                                                                                                                                     at                                                                                      9 Farm                                                                                                                                                                                              Sprmgs                                                                                                                                                                                                            Road,                                                                                                                                                    Farmingto,                                                                                                                                                                                                                                                                                                       ConecLiut                                                                                                                                                                                                                                                                                                                              0632                                                                                                                                                                                                 Upon

                                                                                                                                             mforatin                                                                                                                                                                                                                                              and                                                         behf,                                                                                                                                                                  Kide                                                                                                                                                                                                          PLC,                                                                                                                            Inc                                                                                             was                                                                                                                 part                                                                                                           of                                                                           UTC                                                                                                          Fire                                                                                      8g                                                                                            Securilty                                                                                                                                                                                              Amerlcas

                                                                                                                                                                               Corpatin,                                                                                                                                                                                                                          Inc                                                                                 Upon                                                                                                                                                                                                    mforatin                                                                                                                                                                                                                                                                                           and                                                                                      belif,                                                                                                                                                                                                Kide                                                                                                                            PLC,                                                                                                                                                                 1L                                                                                                                                                                  does                                                                                                    and/or                                                                                                                                has

                                                                                                                                      done                                                                busine                                                                                                                                                                                                        throug                                                                                                                                                                                                                                                                                                  the                                                                           United                                                                                                                                                                                    Staes,                                                                                                                                                        includmg                                                                                                                                                                                                                                        in                                     Pensywtvam                                                                                                                                                                                                                                                                                                                                                                                               i

                      m                                             Defndat                                                                                                                                                                                                                                                                      Chub                                                                                                                                         Fire,                                                                                                                             Ltd                                                                                                                                (“Chub”)                                                                                                                                                                                                                                                                            is                                               a foreign                                                                                                                                                                                                                                                         private                                                                                                                                                                            limted                                                                                                                                                                                                  comﬁany,                                                                                                                                                                                              United
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1                                                                                                                                                                                                                                          :
                                                                    Kingdom                                                                                                                                                                                                                                                  registaon                                                                                                                                                                                                                                                                    number                                                                                                                                                                                                                                                                               13420,                                                                                                                                                                                     with                                                                                                                                   ofﬁces                                                                                                                                                                                              at                                                                                 LitleJon                                                                                                                                                                                                                                                                Roaid,                                                                                                                     Ashford,

                                                                    Midlesx,                                                                                                                                                                                                                                                                                                       United                                                                                                                                                       Kingdom                                                                                                                                                                                                                                           TW15                                                                                                                                                                                    1TZ                                                                                                                      Upon                                                                                                                                             informat                                                                                                                                                                                                                                                                                                         an%                                                                          belif,%Chu                                                                                                                                                                                                                                                                                                                                                      is                                or

                                        has                                                                                                                                                         ben                                                                                                       compsed                                                                                                                                                                                                                                                                       of                                                                                                      difernt                                                                                                                                                                                                                              subidare                                                                                                                                                                                                                                                                                               and/or                                                                                                                                                                     divson;                                                                                                                                                                                                                                                                                   includ!g                                                                                                                                                                                                                          but                                                                                   not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1                                                                                                                                                                                                                                          1
                                                                                                                             limted                                                                                                 to                                                                                                                         Chub                                                                                                                                                                      Fire                                                                                                       &                                                                                                   Security                                                                                                                                                                                                              Ltd                                                                                                                Chub                                                                                                                                                                                       Security                                                                                                                                                                                                                                                   PLC                                                                                     ted                                                                                                                                                                      Hawk                                                                                                                                        Fire                                                                                                           &

                                                                                                                                                                   Security,                                                                                              LC,                                                                                                                                                             and/or                                                                                                                                                                   Chub                                                                                                                                                                                                                                           Nationl                                                                                                                                                                                                   Foam,                                                                                                                                                                             Inc                                                                                                                                              Upon                                                                                                                                                   info!                                                                                                                                                                                                     ation!                                                                                                     and                                                                                               belif,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1                                                                                                                                                                                                                          1
                                                                               Chub                                                                                                                                           was                                                                                                                                           part                                                                   of                                                                              UTC                                                                                                                             F1re                                                                                                                       &                                                                             Security                                                                                                                                                                             Americas                                                                                                                                                                                                                                                                            Corpat1n,                                                                                                                                                                                                                                                            LC                                                                                                                                                                                                                                                      }

              n                               Defndat                                                                                                                                                                                                                                                                                    UTC                                                                                                            Fire                                                                                                                            &                                                               Security                                                                                                                                                                                                                                                   Americas                                                                                                                                                                                                                  Corpatin,                                                                                                                                                                                                                                                                                    Inc                                                                                                                                 (“U1                                                                                                                                                               C”)                                                                                     is!                                              a Delawr

                                                                                      corpatin                                                                                                                                                                                                                                                                                              with                                                                            its                                                                                 princal                                                                                                                                                                                                                                                place                                                                                                                                             of                                            busine                                                                                                                                                                                                                            at                                                                                1395                                                                                                                                       Pasteur?                                                                                                                                                             Blvd                                                                                                                                                                                , L’aIm                                                                                                                                                        Beach

                                                                                                 Gardens,                                                                                                                                                                       Florida                                                                                                                                                                                                                                     3418                                                                                                                                                                                                                 Upon                                                                                                                                                                         informat                                                                                                                                                                                                                                                                                and                                                                                                                                        belif,                                                                                                                                                                         UTC;                                                                                                       was                                                                                                                                                                 aidvson                                                                                                                                                                                                                                   of

                              United                                                                                                                                                                                                     Technolgis                                                                                                                                                                                                                                                                                                                                                                                                                       Corpatin                                                                                                                                                                                                                                                                                                                                                               UTC                                                                                                                                                                        is                                                                                                             registd                                                                                                                                                                                                                                         t0I                                                                                                                                                                  do                                                                                       husine                                                                                                                                                                                                                        in

                                                        Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                                                                                                                                                                                          I

                  0                           Defndat                                                                                                                                                                                                                                                                                    Carie                                                                                                                                                                      Globa                                                                                                                                                                                                             Corpatin                                                                                                                                                                                                                                                                                  (“Carie”)                                                                                                                                                                                                                                                                                             IS                                                                  a Delawr                                                                                                                                                                                                                                                                   orpaitn                                                                                                                                                                                                                                                                 with                                                                                        its

                              princal                                                                                                                                                                                                                                                     place                                                                                                                                                                        of                                                                                                 busine                                                                                                                                                                                                                                                          located                                                                                                                                                                                           at                                                                                        1395                                                                                                                                                                                  Pasteur                                                                                                                                                                                                      Bou1                                                                                                                                                                                             ard,                                                                                                   1;)an                                                                                                                                                Beach

                                                                                                 Gardens,                                                                                                                                                       Flor1da                                                                                                                                                                                                                3418                                                                                                                                                                                                                              Upon                                                                                                                                                                           informat                                                                                                                                                                                                                                                                                  and                                                                                                  belif,                                                                                                                                          UTC                                                                                                                                             i                                                                       now                                                                                                                                                             a: d1VISOl                                                                                                                                                                                                      of




123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i                                                                                                                                                                                                                          i



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 33 I of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           |



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1



                                                                                      Carie                                                                                                                       Upon                                                                                                                                                                                informat                                                                                                                                                                                                                                                                                                  and                                                                                                                                          belif,                                                                                                                                                                                      Carie                                                                                                                                                                                                        does                                                                                                              and/or                                                                                                                                                                                               : as                                                                                                  dohe                                                                                                                           busme

                                                         throug                                                                                                                                                                                                                       the                                                                                          United                                                                                                                                                                 Staes,                                                                                                                                                                includg                                                                                                                                                                                                                                                                in                                                             Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i                                                                                                                                                               !

                  p                                      Defndat                                                                                                                                                                                                                                      Raytheon                                                                                                                                                                                                                                                                                        Technolgis                                                                                                                                                                                                                                                                                                                                                                                            Corpatin                                                                                                                                                                                                                                                                                                                                           (f/ka                                                                                                                       Uri                                                                                                        ted                                                                                                                 Tiechnolgs

                                                                          Corpatin)                                                                                                                                                                                                                                                    (“Raytheon                                                                                                                                                                                                                                                                                                   Tech                                                                                                                                        f/ka                                                                                             United                                                                                                                                                                                                                            Tech”)                                                                                                                                                                                                  is                                    a Delaw:                                                                                                                                                                                                             e corp?atin                                                                                                                                                                                                                                                                                       with

                                                                          its                                          princal                                                                                                                                                                                                 place                                                                                                                                                 of                                                    busine                                                                                                                                                                                                                                          at                                                                10                                                                         Farm                                                                                                                                              Springs                                                                                                                                                                                                                     Road,                                                                                                          Farm$gto                                                                                                                                                                                                                                                                                                                  :Conectiu

                                                                          0632                                                                                                 Upon                                                                                                                                                                 informat                                                                                                                                                                                                                                                                                               and                                                                                                          belif,                                                                                                                                                                            Raytheon                                                                                                                                                                                                                                       Tech                                                                                                                                           f/ka                                                                                    Unitéd                                                                                                                                                                              Tech'dos                                                                                                                                                                                                                                     and/or

                                        has                                                                                      done                                                                                    busme                                                                                                                                                                                                                                       in                                                   Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {J                                                                                                                                                                ‘

                      q                                  Defndat                                                                                                                                                                                                      Nationl                                                                                                                                                                                                                                     Foam,                                                                                                                                                                      Inc                                                                                                                   (“Nationl                                                                                                                                                                                                                                                                        Foam”)                                                                                                                                                                                                                    is                                                 a Delaw;                                                                                                                                                                                                             e corplatin                                                                                                                                                                                                                                                                                              with

                                                                   its                                       princal                                                                                                                                                                                                   place                                                                                                                                                    of                                                         busine                                                                                                                                                                                                                                located                                                                                                                                                                                         at                                                                              14                                                                                     Juny                                                                                                                                                                                    Road,                                                                                                                  Anglia,                                                                                                                                                                                                     NoLh                                                                                                                                 Carolin

                                                                          27501                                                                                                       Nationl                                                                                                                                                                                                                                       Foam                                                                                                                                                         is                                                              a subSIdiary                                                                                                                                                                                                                                                                                                                                          of                                                         Angus                                                                                                                                                                                              Interaiol                                                                                                                                                                                                                                                                                 ?Fafety                                                                                                                                                               [Group,                                                                                                                                                          Ltd

                                               Upon                                                                                                                 infomatl                                                                                                                                                                                                                                                                                                              and                                                                                                                      belif,                                                                                                                                                                              Nationl                                                                                                                                                                                                                                    Foam                                                                                                                                                          manufctres                                                                                                                                                                                                                                                                                               the                                                                                                                                              Ang1‘3                                                                                                                      brand                                                                                                                       of

                                                                   AF                                                                                    products                                                                                                                                                                                                                                                Nationl                                                                                                                                                                                                                Foam                                                                                                                                                                     is registd                                                                                                                                                                                                                                                                                               to                                               do                                                              busine                                                                                                                                                                                                                 in                             Pe+nsy1vai

              r                                Defndat                                                                                                                                                                                                       Buckey                                                                                                                                                                                                                                        Fire                                                                                                                         Equipment                                                                                                                                                                                                                                                                             Company                                                                                                                                                                                                                                                       (“Buckey”)                                                                                                                                                                                                                                                                                is                                                                         aim                                                                           Ohio                                                                                                                            corpatin

                                                                   with                                                                 its                                                            princal                                                                                                                                                                                                                                      place                                                                                                                                                                   of                                            busine                                                                                                                                                                                                            at                                                                                        10                                                                                                                          Kings                                                                                                                                                      Road,                                                                                                                        Mountji,                                                                                                                                                                                                                                                                        Noirth                                                                                                              Carolin

                                                                   2806                                                                                                                         Upon                                                                                                                                                                    informat                                                                                                                                                                                                                                                                                                                          and                                                                                                                            belif,                                                                                                                                                                                     Buckey                                                                                                                                                                                                                                                       does                                                                                            and/or                                                                                                                                                                        ﬁlms                                                                                                                       dohe                                                                                                                            busine

                                               throug                                                                                                                                                                                                                           the                                                                            United                                                                                                                                                                                              Staes,                                                                                                                                             includg                                                                                                                                                                                                                                                              Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1                                                                                                                                                                     ‘

                          s                    Defndat                                                                                                                                                                                                                                      Arkema,                                                                                                                                                                                                                                                 Inc                                                                                                                                      (“Arkema”)                                                                                                                                                                                                                                                                                                                                      is                                                                                a                                                Pensylvai                                                                                                                                                                                                                                                                                                                     mi)                                                                                                                                     oratin                                                                                                                                                                                       with                                                                     its
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1

                                                         princal                                                                                                                                                                 place                                                                                                                                                      of                                             busine                                                                                                                                                                                                                                  at                                                     90                                                                                                                          1St                                 Avenu,                                                                                                                                                                                                                                 King                                                                                                                                                            of                                                    Prus1a,                                                                                                                                                 PEmsylxian                                                                                                                                                                                                                                                                                                                                19406

                                               Arkema                                                                                                                                                            is registd                                                                                                                                                                                                                                                                                                           to                                                    do                                                                   busine                                                                                                                                                                                                                in                                                                            Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 %                                                                                                                                                                     ‘

              t                                Defndat                                                                                                                                                                                                                                      BASF                                                                                                                                                                                                Corpatin                                                                                                                                                                                                                                                                                                                                          (“BASF”)                                                                                                                                                                                                                                                                                  is                                                                               a                                                                          Delawr                                                                                                                                                                                                      c;                                                                                                                                         oraticgm                                                                                                                                                                                   with                                                              its
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                              princal                                                                                                                                                                                                    place                                                                                                                                                   of                                                         busine                                                                                                                                                                                                                      at                                                                         10                                                                                                       Park                                                                                                                                            Avenu                                                                                                                                                                                                Florham                                                                                                                                                                                    Park,i                                                                                                                                                                                             cw                                                                                Jeirsy                                                                                                                                          07932

                                        Upon                                                                                                  informat                                                                                                                                                                                                                                                                                                                    and                                                                                                      belif,                                                                                                                                                                   BASF                                                                                                                                                                               acquired                                                                                                                                                                                                        Ciba                                                                                                                                                                Geigy                                                                                                                 Corp]i                                                                                                                                             ration                                                                                                                     land/or                                                                                                                                                   Ciba

                                                                                                 Specialty                                                                                                                                       Chemicals                                                                                                                                                                                                                                                                                                                  BASF                                                                                                                                                               is                                                                              registd                                                                                                                                                                                                                                                                       to                                                       do                                                                                     busine                                                                                                                                                                                                              in                                                         I;’lensy1\:ai                                                                                                                                                                                                                                                                                                                                 Upon

                                                                                      informat                                                                                                                                                                                                                   and                                                                                                       belif,                                                                                                                                                                                                Ciba                                                                                                               Geigy                                                                                                                                                          Corpatin                                                                                                                                                                                                                                                                                                                         and/or                                                                                                                                                           Ciba                                                                                                                                   Si                                                       ecialty                                                                                                                                                              Chemicals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  j                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                                                                                        :
123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             !                                                                                                                                                                             .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 34 of 66




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I

                                                                                                        does                                    and/or                                                                                                                                                                               has                                                                                                                                         done                                                                                                                                             busine                                                                                                                                                                                                                         throug                                                                                                                                                                                                                                                            the                                                                                                                                               Un1ted                                                                                                                                                             Staes}                                                                                                                                                                                              includg

                                                               Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I                                                                                                                            '                                                                                                                                                                              i

                  u                                 Defndat                                                                                                                                                                ChemDsign                                                                                                                                                                                                                                                                                            Products,                                                                                                                                                                                                                        Inc                                                                                                             (“ChemDsign”)                                                                                                                                                                                                                                                                                                                                                                                  is                                                                         a Texgas                                                                                                                                corp!atin                                                                                                                                                                                                                                      with

                                                                                                 its           prin01a                                                                                                                                                                                   place                                                                                                                                 of                                                   busme                                                                                                                                                                                            located                                                                                                                                                                                                 at                                                                2                                                      Stano                                                                                                                                                                                                      Stre,                                                                                                                        Mirnet                                                                                                                                                                                                                                            Wisconm

                                                                                                 5413                                                    Upon                                                                                                                                                    informat                                                                                                                                                                                                                                                           and                                                                                      belif,                                                                                                                                                           this                                                                                  Defndat                                                                                                                                                                                                                                       manufctr'ed                                                                                                                                                                                                                                                                                                      Fluoismfactn

                                                    Products                                                                                                                                 for                                                                                                         use                                                                    in                                                                        AF                                                                                                                                                               Upon                                                                                                                  informat                                                                                                                                                                                                                                                                                                           and                                                   belif,                                                                                                                                                                                                               ChemiDsgn                                                                                                                                                                                                                                                                ldoes                                                                                            and/or

                                                               has                                                       done                                   busine                                                                                                                                                                                                                              throug                                                                                                                                                                                                                                                     the                                                        United                                                                                                                                                                                           Staes,                                                                                                                                                           includg                                                                                                                                                                                                                                Pensirlva

                  v                                                                    Defndat                                                                                                                                                              Clarint                                                                                                                                                                                                   Corpatin                                                                                                                                                                                                                                                     (“Clarint”)                                                                                                                                                                                                                                                                                                                 is                                          a New                                                                                                                                                                                     York                                                                                          (ilorpatn                                                                                                                                                                                                                                                                              With                                                                 its
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     |
                                                    princal                                                                                                                          place                                                                                                                                                 of                                              busine                                                                                                                                                                                                                located                                                                                                                                                               at                                         40                                                                                                                              Monre                                                                                                                                                                  Road,                                                                                                                                                                                                 Charl                                                                                             'te,                                                                                                   Noith                                                                                                         Carolin

                                                                                       2805                                                              Upon                                                                                                                                                    informat                                                                                                                                                                                                                                                           and                                                                                      belif,                                                                                                                                                                  this                                                                                     Defndat                                                                                                                                                                                                                                            manufctld                                                                                                                                                                                                                                                                                                                       Fluoirsfactn

                                                               Products                                                                                                  for                                                                                                                 use                                                           in                                                                             AF                                                                                                                                              Clarint                                                                                                                                                                                           is registd                                                                                                                                                                                                                                                                                 to                            do                                                                                      busine                                                                                                                                                                    inPesylva

                  w                                 Defndat                                                                                                                                                                                     Chemicals                                                                                                                                                                                                                                                   Incorpated                                                                                                                                                                                                                                                                                     (“Chem                                                                                                                                                                                                  Inc                                                                                ")                                         is                                                                                                      a Texas                                                                                                                                                      ciorpatn                                                                                                                                                                                                                                                                   With                                                                its

                                                    princal                                                                                                                                        place                                                                                                                                        of                                                                               busine                                                                                                                                                                                                     located                                                                                                                                                                 at                                                                                 123                                                                                                                                                                Hatcherv1l                                                                                                                                                                                                                                                                                  Roai,                                                                                                            Baytiown,                                                                                                                                                                                                                                  Texas
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                       7521                                                              Upon                                                                                                                                                    informat                                                                                                                                                                                                                                                           and                                                                                      belif,                                                                                                                                                                  this                                                                                               Defndat                                                                                                                                                                                                                   manufctr’ied                                                                                                                                                                                                                                                                                                                    Fluoirsfactn

                                                    Products                                                                                                                   for                                                                                                                 use                                                          in                                                                             AF                                                                                                                                                   Upon                                                                                                       informat                                                                                                                                                                                                                                                                                                  and                                                                                belif,                                                                                                                                                                            Chem                                                                                                             line                                                                                                                             doels                                                                                     and/or                                                                                                         has

                                                                                                 done                           busine                                                                                                                                                                                      throug                                                                                                                                                                                                                                 the                                                                                United                                                                                                                                                             Staes,                                                                                                                                                    includg                                                                                                                                                                                                                                  Pensylvai                                                                                                                                                                                                                                                                                                                                                                               !

                      x                 Defndat                                                                                                                                                                                        Nation                                                                                                                                                                             Ford                                                                                                                     Chemical                                                                                                                                                                                                                                      Company                                                                                                                                                                                                                                            (“Nation                                                                                                                                                                                                           Ford”)                                                                                                                                  L‘s                                               a Smith                                                                                                                                                                                                        Carolin

                                                                           corpatin                                                                                                                                                                                                   with                                                                                           its                                                                                                headqurts                                                                                                                                                                                                                                                                            located                                                                                                                                                                                      at                                                                  230                                                                                                     Banks                                                                                                                                                                                                  Strei,                                                                                                             Fort                                                                                                                    :Mil,                                                                                                                             South

                                                                           Carolin                                                                                                                         29715                                                                                                                                                                                             Upon                                                                                                                                                        informat                                                                                                                                                                                                                                                                                                                and                                                                                              belif,                                                                                                                                                                   this                                                                                                                                 Defndat                                                                                                                                                                                                                                                           mianufctred

                          Fluorsfactn                                                                                                                                                                                                                                                                                                                                Products                                                                                                                                                                                                                              for                                                                        use                                                                                                   in                                                              AF                                                                                                                                                                 Upon                                                                                                                           informatjd                                                                                                                                                                                                                                                                                                                                                                                        beilf,                                                                                                                                  Nation

                                        Ford                                                                                             does                                                                                                                                and/or                                                                                                                                                                 has                                                                                     done                                                                                                                                            busine                                                                                                                                                                                                                throug                                                                                                                                                                                                                                                                                              the                                                                                                 UniteI                                                                                                                                 Staesﬁ,                                                                                                                                                                           mcludg

                                        Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                              I

              y           Defndat                                                                                                                                                                                                                                     AGC,                                                                                                                                          Inc                                                                                                  f/ka                                                                                                                                        Asahi                                                                                                                                                             Glas                                                                                                                                                  Co                                                                                             , Ltd                                                                                                                                                           (“AGO”)I                                                                                                                                                                                                       is                                                                                                    a ‘corpatin

                                                                           organized                                                                                                                               under                                                                                                                             the                                                                                                       laws                                                                                           of                                                                           J apn                                                                                                                       and                                                                                                domg                                                                                                                             busme                                                                                                                                                                                                                        throug                                                                                                                                                                                       i the                                                                                                                               Uited                                                                                                                                   Staes


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      !                                                                                                                                                                              l
         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 35 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1
                                                                         AGC                                                                                      has                                                                                              its                                                                      princal                                                                                                                                                                                                                   place                                                                                          of                                                                busine                                                                                                                                                                    at                                                 1 5                                                                   1,                                                   Marunochi,                                                                                                                                                                                                                                                                                                                    Ch1yoda
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1                       ku,                                                                                       Toky

                                                                                                                                           10   8405                                                                                                        Japn                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i                                                                                                                                                                                                              ‘

                  2                                            Defndat                                                                                                                                                                                                                                                 AGC                                                                                                                                Chemicals                                                                                                                                                                                                                                          Americas,                                                                                                                                                                                                                 Inc                                                                                        (“AGC                                                                                                                                                                                          Americ'”)                                                                                                                                                                                                                                                                                    is                                                       1a                                                                  Delawr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                        corpatin                                                                                                                                                                                                                     with                                                                                                      its                                               princal                                                                                                                                                                            busine                                                                                                                                                                                 ofﬁce                                                                                                                            at                                 5                                                                                           E                                                     Uwchlan                                                                                                                                                                                                         lAvenuci,                                                                                                                                                                                                                  Suite                                                                                                  201,

                                                     Exton,                                                                                                                                              Pensylvai                                                                                                                                                                                                                                                                                                                                  1934                                                                                                                                     Upon                                                                                                                       infoat                                                                                                                                                                                                                                                                              and                                                                                                         belif,                                                                                                                                                              AlGC                                                                                                                                            Ainsrca                                                                                                                                                                                                       is                               a

                                                                                                                      subidary                                                                                                                                                                of                                                                               AGC,                                                                                                                                     Inc                                                                            , a Japnes                                                                                                                                                                                                                                          corpatin                                                                                                                                                                                                                                               formely                                                                                                                                                                                                        knOéiN                                                                                                                                                                                  as                                                  Ilksahi                                                                                                                                                  Glas

                                                                                      Company,                                                                                                                                                                                Ltd                                                                                                                                 AGC                                                                                                                 America                                                                                                                                                       is registd                                                                                                                                                                                                                               to                                                  do                                                busme                                                                                                                                                                                                                          1n                                Pen+sy1vai

                      a       Defndat                                                                                                                                                                                                                                                              Depwatr                                                                                                                                                                                                                                                                    Chemicals,                                                                                                                                                                                                              Inc                                                                                (“Depwatr”)                                                                                                                                                                                                                                                                                                                                         is                                               a Délawreicoptn

                                                                                                 with                                                                   1ts                                                    pr1nca                                                                                                                                                                                                                                                    place                                                                                                                               of                                                                     busine                                                                                                                                                                                             located                                                                                                                                                                       at                                                                                      1962                                                                                                                                                                            E}County                                                                                                                                                                                                                                                                               Road                                                                                                             40,

                                        Wodwar,                                                                                                                                                                                                                                                                                                       Oklahom                                                                                                                                                                                                                                                    73801                                                                                                                                                               Upon                                                                                                                             informat                                                                                                                                                                                                                                                                             and                                                                                    belif,                                                                                                                                                                                             this:                                                                                                                        Defndat

                                        manufctred                                                                                                                                                                                                                                                                                                                                    Fluorsfactn                                                                                                                                                                                                                                                                                                                                                    Products                                                                                                                                                                    for                                                                  use                                                                                 1n                                                                                        AF                                                                                                                                                                Upin                                                                                                                             mf01!'ation                                                                                                                                                                                                                                                             and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                                     belif,                                                                                                                            Depwatr                                                                                                                                                                                                                                                                        does                                                                                                                              and/oi                                                                                                                                                  has                                         done                                                                                                                                  busine                                                                                                                                                                                                          througle                                                                                                                                                                                                                                                                                                                                                         UIited                                                                                                                                                                                    Staes,

                                                                                                                                 includg                                                                                                        Pensylvam                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;                                                                                                                                                                                              ‘
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                |
              b                                      Defndat                                                                                                                                                                                                                                                                 Dynax                                                                                                                                            Corpatin                                                                                                                                                                                                                                                                                   (“Dynax”)                                                                                                                                                                                                          is                                                             a                                                                Delawr                                                                                                                                                                                                                                      C(?)rpoati%n                                                                                                                                                                                                                                                                                                    With                                                                                    its

                                                     princal                                                                                                                                                                            place                                                                                                                                                                                  of                                     busme                                                                                                                                                                                               located                                                                                                                                  at                                                              103                                                                                            Fairvew                                                                                                                                                                                                                        Park                                                                                                                     Dr1:\"/e,                                                                                                                                                          Elrisfod,                                                                                                                                                                                                                       New

                                                                                                        York                                                                                     10523                                                                                                                                                                                                                  Upon                                                                                                                                                               informat                                                                                                                                                                                                                                    and                                                                                                                 belif,                                                                                                                                                                              this                                                                                                                   Defncéiat                                                                                                                                                                                                                                                                                 niaufctred

                                                                                                        Fluorsfactn                                                                                                                                                                                                                                                                                                                 Products                                                                                                                                                                                      for                                                                                            use                                                             in                                                   AF                                                                                                                                                    Upon                                                                                                                                      informat§                                                                                                                                                                                                                                                                        and                                                                                                            bélief,                                                                                                                                                 Dynax

                                                                                                                                 does                                         and/or                                                                                                                                                                                                                        has                                                                                            done                                                                                                                                busme                                                                                                                                                                                         throug                                                                                                                                                                                                                                                                                  the                                                                                                          United                                                                                                                                                                                                            Staes;                                                                                                                                                                                          includg

                                        Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i                                                                                                                                                                                          !

                          c   Defndat                                                                                                                                                                                                                                                                        Archoma                                                                                                                                                                                                                                       Mangemt,                                                                                                                                                                                                                                                              LC,                                                                                                                                is                                                        a                                foreign                                                                                                                                                                                     limted!1                                                                                                                                                                                        liab‘y                                                                                                                                                                                                             company
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                              registd                                                                                                                                                                                                                                    in                                                                                     Switzerland,                                                                                                                                                                                                                                                            with                                                                                                                          a princal                                                                                                                                                                                          busine                                                                                                                                                                                                          adres                                                                                                                                                                                         0!                                                    Neuhcifstra                                                                                                                                                                                                                                                                                                                   1,

                                                                               4153                                                                    Reinach,                                                                                                                                                                                                                                     Basel                                                                                                                     Land,                                                                                                                    Switzerland                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '                                                                                                                                                                                              i

                          d   Defndat                                                                                                                                                                                                                                               Archoma                                                                                                                                                                                                                                                     U                                                     S , Inc                                                                                                                                   is                                          a Delawr                                                                                                                                                                                                               corpatin                                                                                                                                                                                                                                                            with                                                                                                        i s princal                                                                                                                                                                                                                                                                                 place                                                                                  of

                              busine                                                                                                                                                                                 located                                                                                                                                                                                                                         at                                                           543                                                                                                    7                                                                                               Centr                                                                                                                                        Dr                                                         , #10,                                                                                                                                  Charlote,                                                                                                                                                                                                                         Nor'th                                                                                                                                                            Caroiln                                                                                                                                                                                                                   2817


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
123405    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                      Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 36 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              lg


                                                                                                                                                                                                            Upon                                                                                                                                   informat                                                                                                                                                                                                                                                                                               and                                                                                                                                     behf,                                                                                                                                          Archoma                                                                                                                                                                                                                                                                  U                                                 S , Inc                                                                                                                                                                   is                                                                       a                                                                   subidary                                                                                                                                                                                                                                                             of I Archoma

                                                                                                                                                                                                                          Mangemt,                                                                                                                                                                                                                                                                                                                                                    LC,                                                                                                                                           and                                                                                                              suplied                                                                                                                                                                                Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                          Products                                                                                                                                                                                                                                                 for                                                                   usl:                                                                                                                       1n                                             AF

                                                                                                                                                                                                                                     Archoma                                                                                                                                                                                                       U                                                                                                     S , Inc                                                                                                                               is registd                                                                                                                                                                                                                                                                     to                                                 do                                                                                                     busine                                                                                                                                                                       in                                                                           Pensylvai                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '

                                                                                                                e                                                                                           Upon                                                                                                                                                              informat                                                                                                                                                                                                                                                                                                                          and                                                                                                                         belif,                                                                                                                                                           Defndats                                                                                                                                                                                                                                                                                         John                                                                                                                                                         Doe                                                                                                                                                                          1 419                                                                                                              wer:                                                                                                                                                de31gnrs,

                                                                                                                                                                                                            manufctres,                                                                                                                                                                                                                                                                                                                                                                                  markets,                                                                                                                                                                                                                                              distrbuo,                                                                                                                                                                                                                                                                                           and/or                                                                                                                  selr                                                                                                                                                                                             of                                          Fluoqmfactn                                                                                                                                                                                                                                                                                                                                                                                                           Products

                                                                                                                                                                                                            tha                                                                                     have                                                                                                       and                                                                                                                                                          contiue                                                                                                                                                                                            to                                           contamie                                                                                                                                                                                                                                                                                                    Munic1pal                                                                                                                                                                                                                    Plaintf’s                                                                                                                                                                                                                                                              ProzlLety                                                                                                                                                                                                                   Ailthoug                                                                                                                                                                             the

                                                                                                                                                                                                                          idents                                                                                                                                                                                                       of                                                                                                          the                                                                           John                                                                                                                      Doe                                                                                                                      Defndats                                                                                                                                                                                                                                                                                are                                                                             curently                                                                                                                                                                                             unkow,’                                                                                                                                                                                                                                                                        it                                        1s                                          eitpcd                                                                                                                                                                                        tha

                                                                                                                                                                                              their                                                                                                              names                                                                                                                                                                            wil                                                                                                               be                                          ascertind                                                                                                                                                                                                                                                               during                                                                                                                                                                        discovery,                                                                                                                                                                                                                        at                                                         whic                                                                                                                                                         time                                                                                                                          Tlamtifh                                                                                                                                                                                                    w1                                                                                                 move

                                                                                                                                                                                                      for                                                                          leav                                                                                                                   of                                                                                                                                this                                                                         Court                                                                                                                                                      to                                                 ad                                                                   those                                                                                                                                         indvuals’                                                                                                                                                                                                                                                                                          actul                                                                                                                                    names                                                                                                                                                                                              to                                                 the                                                                                Glompaint                                                                                                                                                                                                                     as

                                                                                                                                                                                   Defndats                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                                                                                                                                             ‘

                                                                                        18                                                                                         Any                                                                                                                     and                                                                                al                                                                                                                  refncs                                                                                                                                                                                                                                                  to                                               a Defndat                                                                                                                                                                                                                                                                                               or                                                             Defndats                                                                                                                                                                                                                                 in                                                                 this                                                                                                                                                 CoTplaintcude                                                                                                                                                                                                                                                                                                                                                                 any

                                           predcso,                                                                                                                                                                                                       suceor,                                                                                                                                                                                                                                                                parents,                                                                                                                                                      subidare,                                                                                                                                                                                                                                                                           afiltes                                                                                                                                                                                                                                           and                                          divson                                                                                                                                                                                                                                           of                                                                                 the                                                                   Timed                                                                                                                                                          l?cfendats

                                                                                        19                                                                                  When                                                                                                                                                       the                                                                                                  term                                                                                                                                            “Defndats”                                                                                                                                                                                                                                                                                         is                                                               used                                                                                                                          alone,                                                                                                                                                       it refs                                                                                                                                                        to                                                                     al                                                                 Defn’dats                                                                                                                                                                                                                                          named                                                                                                                                                                   in                                         this

                                                               Complat                                                                            Jomtly                                                                                                                                                                                     and                                                                                                                                        sevraly                                                                                                                                                                                                                                                     When                                                                                                                                            refnc                                                                                                                                                                                                                                                                         13                                                                made                                                                                                                                     to                                                 any                                                                                                                                    act                                                                                                          0}                                                            omisLn                                                                                                                                                                                                 of                                                                            the

                       Defndats,                                                                                                                                                                                                               it                     shal                                                                                                               be                                                                                                                                dem                                                                                                                                                                                        to                                                                                       mean                                                                                                 tha                                                                                                               the                                                                                                                                              ofﬁcers,                                                                                                                                                                                  directos,                                                                                                                                                                                                                                                              age‘nts,                                                                                                                                    eirploys,                                                                                                                                                                                                                                                           or

                       repsntaiv                                                                                                                                                                                                                                      of                                                 the                                                                                         Defndats                                                                                                                                                                                                                                                                                                             com1ted                                                                                                                                                                                                                                            or                                                                       authorized                                                                                                                                                                                                                                                         such                                                                                                              act                                                                                                 or                                                                                                                  omisn,                                                                                                                                                                                                                lor                                         failed                                                                                                                  to

                                           adequtly                                                                                                        supervi                                                                                                                                                                                                                                                   or                                                                                                                                  proely                                                                                                                                                                                                  contrl                                                                                                                                                                                    or                                                           direct                                                                                                                                                                               their                                                                                                        employs                                                                                                                                                                                                                                                                                                  whinle                                                                                                                                         engad                                                                                                                                                                                              in                                                                the

                       manget,                                                                                                                                                                                                                            directon,                                                                                                                                                                                               operatin                                                                                                                                                                                                                                 or                                                                            contrl                                                                                                                                    of                                                             the                                                                                                  afirs                                                                                                                                                           of                         Defndats,                                                                                                                                                                                                                                                                                                                 and‘                                                                                                     di                                                        so                                                                                        iNhle                                                                                                                      acting

                                   withn                                                              the                   scope                                                                                                                                                  of                                          their                                                                                                                                         employnt                                                                                                                                                                                                                                                                                                                     or                                                               agency                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             JURISDCTON                                                                                                                                                                                                                                                                                                                                                                                                                            AND                                                                                                                                        VENU                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ‘

                                                                                   20                                                                                Venu                                                                                                                                                                                                is                                                     proe                                                                                                                                                                                                    in                                      Delawr                                                                                                                                                                                                                                    County                                                                                                                                                                                                                    becaus                                                                                                                                                                          it                                                                        is                     the                                                                                                              judic1                                                                                                                                                                              1 distrc                                                                                                                                                                                              in                                                           whic

            Plaintfs                                                                                                res1d                                                                                                                                                    and                                                                                   are                                                                                 citzens,                                                                                                                                                                                                             a subtanil                                                                                                                                                                                                                                                                                 part                                                                                                              of                                                                  the                                                                           proety                                                                                                                                                                              tha                                                                                        is                                                                 the                                                                                            s‘ b] ect                                                                                                                                                                              (if                             this                                                                             actlon

       is                                                                situaed                                                             in                                                                                                     the                                   Judical                                                                                                                                                                                                       distrc,                                                                                                                                                                          and                                                                                                                          a subtanil                                                                                                                                                                                                                                                                               part                                                                                                  of                                                     the                                                                 evnts                                                                                                                                                                or                                                                                       omis‘                                                                                                                                  ions                                                                      givn                                                                                                                                           rise                                                                                 to

this                                                                                         actlon                                 ocured                                                                                                                                                                                                                    in                                   this                                                                                                                                                           judlcia                                                                                                                                                  distrc                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    '

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        12                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           i

                                                      123405                                                1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                   Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 37 : of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FACTUL                                                                                                                                                                                                                                                                                                                                                                                                                ALEGTION                                                                                                                                                                                                                                                                                                                                                                                                                                                                         S

                                                                                                                                                       A                                                                                     THE                                                                                                                                                                                       CONTAMIS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PFOA                                                                                                                                                                                                                                                   &                                                                             PFOS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                           21                                                                                                                                                                                                                                                  PFOA                                                                                                                                                                                                 and                                                                                                               PFOS                                                                                                                                                                                                        are                                                                                                                     man                                                                                                                                                                                                       made                                                                                                                                                                                                      chemials                                                                                                                                                                                                                                                            withn                                                                                                                                                                                                     a clas                                                                                                                                                                           know                                                                                                                                                                                                as                                                  perﬂuoalky

                                                                                                    acid                                                                           (“PFA”)                                                                                                                                                                                                                                                                                                                PFAs                                                                                                                                                                                                                               are                                                                                                     part                                                                                                                                                     of                                                                                    the                                                                                                           large                                                                                                                                                                                                                             chemial                                                                                                                                                                                                                                   family                                                                                                                                                                                                          know                                                                                                                                                                as                                                                                      per                                                                                         ;and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1                                                                                                       pol!yﬂura1k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ‘                                                                                                                                                                                                                            i
                                                                                                                      subtance                                                                                                                                                                                                                                          (“PFAS”)                                                                                                                                                                                                                                                                                                                PFA                                                                                                                                                                                                                                   is                                                      compsed                                                                                                                                                                                                                                                                                                                                                           of                                                                                                       a chain                                                                                                                                                                          of                                                                    carbon                                                                                                                                                                                                               atoms                                                                                                                                                  in                                                                         whic                                                                                                                                                                           al                                                          13th                                                                                                                       one                                                                                   of                                        the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    |
                                                                                                    carbon                                                                                                                                         atoms                                                                                                                                                                                               are                                                                                                      bonde                                                                                                                                                                                                                                     to                                                                  ﬂuorine                                                                                                                                                                                                                                                                                       atoms,                                                                                                                                                                                                                  and                                                                                                                                         the                                                                                 last                                                                                                                                  carbon                                                                                                                                                                                                  atom                                                                                                                           1s                                                                           atfihed                                                                                                                                                                                                       to                                                                                                      Ea ﬁmctional
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1|                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I

                                                                                                    group                                                                                                                                                          The                                                                                                                                                        carbon                                                                                                                                                                                                  ﬂuorine                                                                                                                                                                                                                                                             bond                                                                                                                                                                          1s                                                                                           one                                                                                                                                   of                                                                                               the                                                                                                                             stronge                                                                                                                                                                                                                                                                     cheimal                                                                                                                                                                                                                 bonds                                                                                                                                                                            tha                                                                                                                       0C1_lI‘                                                                                                                                                                                         in                                     nature,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1|                                                                                                                                                                                                                                    .
                                                                                    whic                                                                                                                      is                                                                                                             a reason                                                                                                                                                                                                                     why                                                                                                                          thes                                                                                                                                                                         molecus                                                                                                                                                                                                                                                                                                                                                            are                                                                                                                                   so                                                                                                     persitn                                                                                                                                                                                                                                                                                                       PFOA                                                                                                                                                                      and                                                                          PFOS                                                                                                                                                                           contai                                                                                                                                                                                                                          eight                                                                                                                       carbon
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                          ﬂuorine                                                                                                                                                                                            bonds                                                                                                                                                                                          For                                                                                                                        this                                                                                                      reason,                                                                                                                                                                                                                                      they                                                                                                                                                                   are                                                                                                                                   someti                                                                                                                                                                                                                                                                                                                              refd                                                                                                                                                                                                                                      to                                                          as                                                                  “C8                                                                                  ”                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i                                                                                                                                                                                                                                      i
                                                                                                                                                       2                                                                                                                                                                                                                                                       PFOA                                                                                                                                                                                           and                                                                                                                     PFOS                                                                                                                                                                                                              are                                                                                                                     higly                                                                                                                                                                                                                                           water                                                                                                                                                                                                 solube,                                                                                                                                                                                                                                      whic                                                                                                                                                                            mcreas                                                                                                                                                                                                                                              theﬂ                                                                                        rate                                                                                                                  at                                                                                      whic                                                                                                                           they

                                                                                           spread                                                                                                                                   throug                                                                                                                                                                                                                                                                                                                                                the                                                                              env1romt,                                                                                                                                                                                                                                                                                                                                                                                                                                                                       contamig                                                                                                                                                                                                                                                                                                                                                                                                                                                   soil,                                                                                                                   groundwate,                                                                                                                                                                                                                                                                                                                                                                      and                                                                                            surface                                                                                                                                                                                                                           water                                                                                                                                                                                   Their

                          mobilty                                                                                                                                                                                                                                                                                                                    is                                   made                                                                                                                                                                                     more                                                                                                                                                                        dangerous                                                                                                                                                                                                                                                                                                                                                        by                                                                                                                   their                                                                                                                                                                                                    persitnc                                                                                                                                                                                                                                                                                                                                   in                                                             the                                                                                                                    enViromt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      H                                                                                   and                                                                                                                   1'esitanc
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   to

                          biolgc,                                                                                                                                                                                                                                                                                             enviromtal,                                                                                                                                                                                                                                                                                                                                                                                                          or                                                                         photcemial                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                degration                                                                                                                                                                                                                                                                                                                                    2                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            H                                                                                                                                                                                                                                         i

                                                                                                                                                  23                                                                                                                                                                                                                                                    PFOA                                                                                                                                                                                                                    and                                                                                                                                        PFOS                                                                                                                                                                                                                         are                                                                                                                                readily                                                                                                                                                                                                                                                          absored                                                                                                                                                                                                                                                                      1n                                                                                                                   animl                                                                                                                                                                                             and                                                                                                                  hum                                                                                                                      ‘                                                                                  tisue%                                                                                                                                                                                                            after                                                                                               oral

                                                        exposur                                                                                                                                                                                                                                                                                           and                                                                                                     acumlte                                                                                                                                                                                                                                                                                                                                           in                                                                                           the                                                                                                                serum,                                                                                                                                                                                                                                                        kidney,                                                                                                                                                                                                                                                             and                                                                                                    liver                                                                                                                                                                                            They                                                                                                                                               have                                                                                                                                                                   beta}                                                                                                                           found]                                                                                                                                                                                                globay                                                                                                                                                    in

                 water,                                                                                                                                                                                            soil,                                                                                                                                                           air,                                                                                           as                                                                                    wel                                                                                                                                 as                                                                                                 in                                           human                                                                                                                                                                                                                                                         fod                                                                                                                                                                               suplie,                                                                                                                                                                                                                                                                                   breast                                                                                                                                                                              milk,                                                                                                                                            umbilca                                                                                                                                                                                                                                                              cord                                                                                                      blod},                                                                                                                                                                                                                       and                                                                  human

                                                                  serum                                                                                                                                   3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   H                                                                                                                                                                                                                                 I

                                                                                                                                             24                                                                                                                                                                                                                                                  PFOA                                                                                                                                                                                                                     and                                                                                                                           PFOS                                                                                                                                                                                                                            are                                                                                                                     pers1tn                                                                                                                                                                                                                                                                                                                                                                                  in                                                                 the                                                                                      human                                                                                                                                                                                                                      body                                                                                                                                                 A                                                                                     shortlem                                                                                                                                                                                                                                                                                           eTposur                                                                                                                                                                                                                             can

result                                                                                                                                                                                        in                                                                                             a body                                                                                                                                                                                    burden                                                                                                                                                                                                         tha                                                                                                                                  per51st                                                                                                                                                                                                                                                        for                                                                                                             years                                                                                                                                                                                       and                                                                                                                             can                                                                                       increas                                                                                                                                                                                                                                                with                                                                                                           aditonl‘                                                                                                                                                                                                                                                                exposuir                                                                                                                                                                                                                                                                                    4

                                                                                                                                             25                                                                                                                                                                                                                                                                       Since                                                                                                                                                                     they                                                                                                                            wer                                                                                                                                                                                                        ﬁrst                                                                                                                produce,                                                                                                                                                                                                                                                                                                                                                                                                  informat                                                                                                                                                                                                                                                                                                                                     has                                                                                                     emrgd                                                                                                                                                                                                                   show                                                                                                                                                                                                      g negativ                                                                                                                                                                                                                                                           healt

                 efcts                                                                                                                                                                                                     caused                                                                                                                                                                                                                            by                                                               exposur                                                                                                                                                                                                                                                                                    to                                                                                            PFOA                                                                                                                                                                                                                          and                                                                                                                                   PFOS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                                                                                 l

                          2 Se                                                                                                                                  EPA,                                                                                                                                                                        Drinkg                                                                                                                                                                    Water                                                                                                                                                            Health                                                                                                                                                                                           Advisory                                                                                                                                                                                                                                                                      for                                                                                    Perﬂuoctani                                                                                                                                                                                                                                                                                                                                                                                                                               Acid                                                                                                                                                   (PFOA),                                                                                                                                                                   EPA                                                                                                                  Docurf1ent                                                                                                                                                                                                                            Number                                                                                                                                                                                                    82                                                               R
                                                                                                                      16         05                                                                (May                                                                                                                                                         2016)                                                                                                                                at                                                                            16‘                                                                   and                                                                                                                      Drinkg                                                                                                                                                                                                                                    Water                                                                                                                                                                        Health                                                                                                                                                                          Advisory                                                                                                                                                                                                                             for                                                                             Perﬂuoctan                                                                                                                                                                                                                                                                                                                                                               Sulfonate                                                                                                                                                                                                         (PFOS)!                                                                                                                                                                                                                        EPA
                                             Document                                                                                                                                                                                                                                         Number                                                                                                                                                                                                             82                                                                                                                             R                                      16                                                                                                  04                                                                                                      (May                                                                                                                                      2016)                                                                                                                                                                                at                                                                                  16                                                          both                                                                                                                                       avilbe                                                                                                                                                                                                      at                                                                                 htps                                                                                                      /w                                                                                                                                epa                                                                                                     gov/                                                                                                       I ound                                                                                                                                                       water                                                                                                                                 and
                                    drinkg                                                                                                                                                                                                         water/supoing                                                                                                                                                                                                                                                                                                                                                                                               documents                                                                                                                                                                                                                                                                                                  drinkg                                                                                                                                                                                                                                                             water                                                                                                                                                  healt                                                                                                                                                                                  advisore                                                                                                                                                                                                                                               pfoa                                                                                                       and                                                                              pfos                                                                                                                                                                                                   ﬁT                                                                                                                                                                                                                                             '
          3 eS                                                                                                                                                               EPA                                                                                                                                  Document                                                                                                                                                                                                                       Number                                                                                                                                                                                                                                              82                                                                                                                           R                                                16                                                                     05                                                                                                                                      (May                                                                                                                                                  2016)                                                                                                                                                           at                                                            18                                                   20                                                                              25                                                                                                      27                                                                         and                                                                                         EPA                                                                                      Docume                                                                                                                                                                                                tNumer                                                                                                                                                                                                                                                                      82                                                            R                                    16
           04                                                                                                                         (May                                                                                                                                           2016)                                                                                                                                                        at                                            19                                                                            21                                                                    26                                                                     28                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                H1
         4 Se                                                                                                                                                          EPA                                                                                                                             Document                                                                                                                                                                                                                         Number                                                                                                                                                                                                                                                  82                                                                                                                            R                                      16                                                                              05                                                                                                                                    (May                                                                                                                                                                      2016)                                                                                                                                         at                                                             5                                                                            and                                                                                          EPA                                                                                                                      Document                                                                                                                                                                                                                         Number                                                                                                                                                                                                       82                                                                            R                                                                                                          16                                                  04                                                          (May
         2016)                                                                                                                                                                               at 5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              13                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        |

                                                                                                             123405                                                                                                                                                      1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 38 of 66



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Y

                                                                                                                                                       26                                                                                                                                                                                                                                                 Acording                                                                                                                                                                                                                                                                                                                         to                                                                                      the                                                                                                      United                                                                                                                                                                                                                                                       Staes                                                                                                                                     Envirometal                                                                                                                                                                                                                                                                                                                                                              Protecin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  | Agency                                                                                                                                                                                                                i                                                  (“EPA”),

                                                                             “                                                           studie                                                                                                                                                                                                                1ndcate                                                                                                                                                                                                                                                                 tha                                                                                                                                 exposur                                                                                                                                                                                                                                                                                        of                                                                                                                      PFOA                                                                                                                                                           and                                                                                                                    PFOS                                                                                                                                                                            over                                                                                                                                  certain                                                                                                                                                                            levs                                                                                                                                                                     'may                                                                                                                                              result
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
                                                                             1n                                                                                                                         devlopmnta                                                                                                                                                                                                                                                                                                                                  efcts                                                                                                                                                                                                                                      to                                                                                               fetus                                                                                                                                                                                       during                                                                                                                                                                pregnacy                                                                                                                                                                                                                                        or                                                                   to                                                                                      breastfd                                                                                                                                                                                                       mfaKs                                                                                                                                                                                        (e                                                           g , low                                                                                                                                                                      birth
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                                                                                                                                                                     .
                                          weight,                                                                                                                                                                                                                               acelrtd                                                                                                                                                                                                                                                                                                         puberty,                                                                                                                                                                                                                                                                     skelta                                                                                                                                                                                            varitons),                                                                                                                                                                                                                                                                                                         caner                                                                                                                                 (e                                                         g , tesicular,                                                                                                                                                                                                                                                                                                       ki’                                                                                                                     ey),                                                                                                     hver                                                                                                                         efcts
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :


                                                                                  (e                             g , tisue                                                                                                                                                                                                                                               damge),                                                                                                                                                                                                                                                                             1mune                                                                                                                                                                                                                                           efcts                                                                                                                                                                                   (e                                                                                  g , antlbody                                                                                                                                                                                                                                                            productin                                                                                                                                                                                                                                            and                                                                                               1munity),                                                                                                                                                                                                                                                                              th§roid                                                                                                                                                                        efcts

                                                                                       and                                                                                               other                                                                                                                     efcts                                                                                                                                                                     (6                                               g , cholestr                                                                                                                                                                                                                                                                                                                                                                                                                 changes)                                                                                                                                                                                                                                                                   ”5                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .                                                                                                                                                                                                                  5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      3                                                                                                                                                                                                                  1
                                                                                                                                                                 27                                                                                                                                                                                                                           EPA                                                                                                                                       has                                                                                                                                         also                                                                                                            warned                                                                                                                                                                                                           tha                                                                                                                                             “ther                                                                                                                                                 is                                          sugetiv                                                                                                                                                                                                                                                  evidnc                                                                                                                                                                                                                          of                                    ca1jnogeri                                                                                                                                                                                                                                                                                                                                     potenial
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                 for                                               PFOS                                                                                                                                                                                                    ”6                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1                                                                                                                                                                                                                  I



                                                                                                                                                                      28                                                                                                                                                                                                                            EPA                                                                                                                     has                                                                                                                      noted                                                                                                                                                                   tha                                                                                                  “drinkg                                                                                                                                                                                                                                                                                                     water                                                                                   can                                                                                                                   be                                         an                                                                    aditonl                                                                                                                                                                                                                                                source}                                                                                                                                       [of                                                                                             PFOA/S                                                                                                                                                                                                                                                          in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                 the                                                                                                                                       body]                                                                                                                                                         in                                                                                the                                                                                       smal                                                                                                                                                                                 percntag                                                                                                                                                                                                                                                                                                               of                                                                                comunites                                                                                                                                                                                                                                                                                                                   wher                                                                                                                                         thes                                                                                                                                       chemialskv                                                                                                                                                                                                                                                                                                                                                                                      contamed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1
                                 water                                                                                                                                                                                                    suplie                                                                                                                                                                                                                       ”                                        In                                                                                                         comunites                                                                                                                                                                                                                                                                                                                                                           with                                                                                                                                                                          contamied                                                                                                                                                                                                                                                                                                         water                                                                                                                                     suphe,                                                                                                                                                                                                                                      “suon'                                                                                                                                           contaim                                                                                                                                                                                                                                                                                                          is

                                 typ1ca                                                                                                                                                                                                                                                                 locaized                                                                                                                                                                                                                              and                                                                                                                                                                    asocited                                                                                                                                                                                                                                                                         with                                                                                                                                                                               a speciﬁ                                                                                                                                                                                                                         facilty,                                                                                                                                                                 for                                                                                           exampl                                                                                                                                                                                                                                      ai                                                                             airﬁeld                                                                                                                                                                                                     at                                                                           whic
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                      [PFOA/S]                                                                                                                                                                                                                                                                                                                                                   wer                                                                                                                     used                                                                                                                                                          for                                                                                        ﬁreghtm                                                                                                                                                                                                                                                                                                                                                        7                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‘                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                  29                                                                                                                                                                                                                                                EPA                                                                                                                           has                                                                                                                                       isued                                                                                                                                                                                   Health                                                                                                                                                                         Advisory                                                                                                                                                                                                                                        Levls                                                                                                                                                                           of                                              70                                                                                   parts                                                                                                                           per                                                                                   tr1io                                                                                                                                                                        ( pt                                                                                                                                                                  P for                                                                                                PFOA

                                                                       and                                                                                                                       PFOS                                                                                                                                         found                                                                                                                                               1n                                                                                                       drinkmg                                                                                                                                                                                                                                          water                                                                                                                                                                                             When                                                                                                                                                                                         both                                                                             PFOA                                                                                                                                                            and                                                                                                  PFOS                                                                                                                                                                   are                                                                          foun                                                                                                                                             in                                                                        dri1kng                                                                                                                                                                                                      water

                the                                                                                                           combined                                                                                                                                                                                                                                                                                           conetrals                                                                                                                                                                                                                                                                                                                                                                                               should                                                                                                                                                                            not                                                                                                       excd                                                                                                                                                                             70                                                         pt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1                                                                                                                                                                                                                  I
                                                                                                                          B                                                                                                                                AQUEOS                                                                                                                                                                                                                                                                                                FILM                                                                                                                                                                                                                FORMING                                                                                                                                                                                                                                                                                                                                                        FOAM                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                                                                  I
                                                                                                                                                            30                                                                                                                                                                                                                           AF                                                                                                                                                                 is                                                                                                                             a                                                    type                                                                                                                                                    of                                                 water                                                                                                                                                                            based                                                                                                                                      foam                                                                                                                                                           tha                                                                                          was                                                                                                                                    ﬁrst                                                                                                devlopcif                                                                                                                                                                                                                                                     in                                                                   the                                                                                                         1960s                                                                                           to

                                                    extingulsh                                                                                                                                                                                                                                                                  ﬂamble                                                                                                                                                                                                                                                                                                       liqud                                                                                                                                                                    fuel                                                                                                 ﬁres                                                                                                                                      at                                                                                    auports                                                                                                                                                              and                                                                                                  miltary                                                                                                                                                             base,                                                                                                                                                                  among                                                                                                                                         Oti                                                                                er                                                      places



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‘
5 Se                                                                                                                                                                                                                 Fact                                                                        Shet                                                                                                                                             PFOA                                                                                                                      &                                                                                        PFOS                                                                                                                                    Drinkg                                                                                                                                                                                          Water                                                                                                                                                                       Health                                                                                                            Advisore                                                                                                                                                                                                                          EPA                                                                                                             Document                                                                                                                                                                                                       Numblr                                                                                                                                                                     80                                                                                         Fﬂ'                                                        16                                                         03
                      avilbe                                                                                                                                                                                                                                               at htps                                                                                                                                                           /w                                                                                                                                                                      epa                                                                       gov/rund                                                                                                                                                                                                                                                            water                                                                                                                                                       and                                                                                                   drinkg                                                                                                                                                               water/supoing                                                                                                                                                                                                                                                                                   documents                                                                                                                                                                                                           d                                           Inkig                                                                                                                                          water                                                                                                                                  healt
                      advisore                                                                                                                                                                                                                                                            pfoa                                                                                                                       and                                                              pfos                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E
       6 Se                                                                                                                                                                                                                 Health                                                                                                                    Efects                                                                                                                                           Suport                                                                                                                                                                                                                   Document                                                                                                                                                                                                             for                                                                              Perﬂuoctan                                                                                                                                                                                                                                                                                                                                      Sulfonate                                                                                                                                                                     (PFOS)                                                                                                                                                                          U                                                     S                                           Enviro|                                                                                                                           mental                                                                                                                                                          Pirotecn
       Agency                                                                                                                                                                                                                                      Ofﬁce                                                                                                                           of                                                                    Water                                                                                                                  Health                                                                                                                                                                               and                                                                                                              Ecolgia                                                                                                                                                                                                             Critea                                                                                                                                                             Divson,                                                                                                                                                                                         EPA                                                                         Document                                                                                                                                                                                                      Number                                                                                                                                                           81                                                              2 R                                                                                               16                                                       902,                                                                                                      avilbe
                      at htps                                                                                                                                                                                                        /w                                                                                                                                            epa                                                                                     gov/rund                                                                                                                                                                                                                                                                          water                                                                                                                                                   and                                                              drinkg                                                                                                                                                                                                                         water/supoing                                                                                                                                                                                                                                                                                     documents                                                                                                                                                                                                                              drinkg                                                                                                                                               wa                                                                                   er                                                       healt                                                                                                                                            advisone
pfoa                                                                                                                                                                               and                                                                              pfos                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {                                                                                                                                                                                                                  1
                      7 Se                                                                                                                                                                                           Fact                                                                        Shet                                                                                                                                             PFOA                                                                                                                  &                                                                                            PFOS                                                                                                                                    Drinkg                                                                                                                                                                                          Water                                                                                                                                                                       Health                                                                                                            Advisore                                                                                                                                                                                                                          EPA                                                                                                  Document                                                                                                                                                                                                                  NumbI                                                                                                                            r                                         80                                                                                         F                                                          16                                                         03
                      avilbe                                                                                                                                                                                                                                               at htps                                                                                                                                                           /w                                                                                                                                                                      epa                                                                       gov/rund                                                                                                                                                                                                                                                            water                                                                                                                                                       and                                                                                                   drinkg                                                                                                                                                               water/supoing                                                                                                                                                                                                                                                                                   documents                                                                                                                                                                                                           dri!nkg                                                                                                                                                                                    water                                                                                                                                  healt
                      advisore                                                                                                                                                                                                                                                            pfoa                                                                                                                       and                                                              pfos
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              14

                                                                                             123405                                                                                                                                                                         1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l                                                                                                                                                                                                                  I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 39 of 66


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                         31                                                                                                                                                                                   The                                                                                    AF                                                                                                                                                                                                             design,                                                                                                                                                                                                                                                        manufctred,                                                                                                                                                                                                                                                                                                             marketd,                                                                                                                                                                                                                                           distrbue                                                                                                                                                                                                                                                                                                         and/(:)r                                                                                                                                                                      sold                                                                            by

                                                                                                                  Defndats                                                                                                                                                                     contamed                                                                                                                                                                                                                                                           eithr                                                                                                                                                                    or                                                  both                                                                                            PFOA                                                                                                                                                                         and                                                       PFOS,                                                                                                                                                                                          or                                                                   the                      chemial                                                                                                                                                                                                 pre<!>uso                                                                                                                                                                                                                           :to                                                                                                  PFOA                                                                                                          or

                                                                                           PFOS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '                                                                                                                                                                          |

                                                                                                                                                                    32                                                                                                                                                                                 PFOS                                                                                                                              and/or                                                                                                                                                                                                                   the                                                                chemial                                                                                                                                                                                                             precuso                                                                                                                                                                                                                                to                                                                                                   PFOS                                                                                    contamed                                                                                                                                                                                                                     in!                                                                                                                            3M’s                                                                                               iAF                                                                                                                             wer
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                                                           manufctred                                                                                                                                                                                                                                                                     by                                            3M’s                                                                                                                                                                patend                                                                                                                                                                                                    proces                                                                                                                                                                        of                                    elctrohmia                                                                                                                                                                                                                                                                                                                                                           ﬂuorinat                                                                                                                                                                                                            (“EC‘                                                                                                                                               ”)                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                3                                                                                                                                                                                 Al                                                            other                                                                                                                                                            Defndats                                                                                                                                                                                                                                                           manufctred                                                                                                                                                                                                                                                                                            ﬂuorsfactn                                                                                                                                                                                                                                                                                                                                                               for                                                        use                                                                               in]AF                                                                                                                                                                                                                             Ethroug                                                                                                                                                              the

                                                                   proces                                                                                                                                                     of                              telomriza1n                                                                                                                                                                                                                                                                                                                                                                                                                           Telomrizatn                                                                                                                                                                                                                                                                                                                                   produce                                                                                                                                                                          ﬂuortelms,                                                                                                                                                                                                                                                                                                                             includrg                                                                                                                                                                                                                              PFOIEA                                                                                                                          and/or                                                                                                                           the

                                                                                                        chemial                                                                                                                    precuso                                                                                                                                                                                                                                                        to                                                                      PFOA                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I                                                                                                                                                                              i

                                                                                                                                                           34                                                                                                                                                                                AF                                                                                                                         can                                                                                                                          be                                                                                      made                                                                                                                                     withou                                                                                                                                                     PFOA,                                                                                                                                                                 PFOS,                                                                                                                                                                                                    or                              their                                                                               precuso                                                                                                                                                                                  cTemias                                                                                                                                                                                                                                                                                       Fluorine

                                                                                     fre                                                                                            foams                                                                                   and                                                                                                         short                                                                                                          chams                                                                                                                                                                                                                 foams                                                                                                             do                                                                            not                                                         relas                                                                                                                                                    PFOA,                                                                                                                                                                                                                 PFOS,                                                                           and/or                                                                                                                                      their                                                                                                    1i)recusE                                                                                                                                                                                                                                             chemials

                                                                                     mto                                                                                      the                              enviromt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ‘                                                                                                                                                                            i

                                                                                                                                                      35                                                                                                                                                                              AF                                                                                                                                      15                                                                      used                                                                                                                                                              to                                               extingush                                                                                                                                                                                                                                 ﬁres                                                                                                 tha                                                                                             are                                                                                                               difﬁcult                                                                                                                                             to                                                                 ﬁght,                                                                                       particu1y                                                                                                                                                                                                                                                                                                                               ﬁres                                                     tha
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I                                                                                                                                                                                .
                                                          invole                                                                                                                                    petrolum                                                                                                                                                                                                                                    or                                                                               other                                                                                                                                        ﬂamble                                                                                                                                                                                                                                                             liquds                                                                                                                                                AF                                                                                                                     is                                                                                   typical                                                                                                                                                   aplied                                                                                                                                        to                                                   a !1re,                                                                                                                                                                 wh'er                                                                                                                                                             it works
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                         to                                                                                  blanket                                                                                                                                                                      the                                                                                          ignted                                                                                                                                                                                                                                      fuel                                                                                                        source,                                                                                                                                                                                             prevntig                                                                                                                                                                                                                                 its                                                                                                              conta                                                                                                                                    with                                                                                                           oxyge‘                                                                                                                                                                                                                              and                                                             isupremg

                                              combustin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                                                                                                                       i

                                                                                                                                            36                                                                                                                                                                                 When                                                                                                                              used                                                                                                                                                              as                                                                                                the                                                                              Defndats                                                                                                                                                                                                                                                    inted                                                                                                                                                              and                                                                                                                             d1rect,                                                                                                                                                             Defnda                                                                                                                                                                                                                        ts’                                                         AF                                                                                                                                                                     relas

                                 PFOA,                                                                                                                                                      PFOS,                                                                                                                                                                              and/or                                                                                                                                                    their                                                                                                            precuso                                                                                                                                                                                                chemials                                                                                                                                                                                                                                   into                                                                         the                                                                                                            enviromt                                                                                                                                                                                                                                                                                                                                                                                                         I                                                                                                                                                                          l

                                                                                                                                                 37                                                                                                                                                                                   Once                                                                                                                PFOA                                                                                                                                                                                                                         and                                                                                                                     PFOS                                                                                                                                                           are                                                                                     fre                                                                     1                                                                   the                                                                                                                                       enviromt,                                                                                                                                                                                                                                       thes                                                                                                                                                            chemials                                                                                                                                                                                                                                              do                                 not

hydrolze,                                                                                                                                                                                                                                                                   photlyze,                                                                                                                                                                                                                                                                        or                                                                         biodegra                                                                                                                                                                                                                                       under                                                                                                                                                                typical                                                                                                                            enviromtal                                                                                                                                                                                                                                                                                                                condits                                                                                                                                                                                                                                                             and                                                                        a1‘e                                                                             extrmly

persitn                                                                                                                                                                                                                                      1n                                                                                                                     the                                                              enviromt                                                                                                                                                                                                                                                                                                                                                                                    As                                         a                                                                             result                                                                                                                                  of                          their                                                                                                                                              persitnc,                                                                                                                                                                                                                                                        they                                                                                                 arei                                                                                      widely!                                                                                                                                                                            distr1bue

            throug                                                                                                                                                                                                                                                                      501,                                                                                                    air,                                                                               and                                                                                                                    groundwate                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‘                                                                                                                                                              i

                                                                                                                                       38                                                                                                                                                                                The                                                                                                   use                                                                                                               of                                                                    Defndats’                                                                                                                                                                                                                                                                               Fluorsfactn                                                                                                                                                                                                                                                                                                                                            Products                                                                                                                                                                                   as                                                                      d1rect                                                                                                                                                        and                                                                                                                                inte1d                                                                                                                                                                                       by                                  the

            Defndats                                                                                                                                                                                                                                                                                            alowed                                                                                                                                                                                                   PFOA,                                                                                                                                                                                                                  PFOS,                                                                                                                                                 and/or                                                                                                                                                                              their                                                                                precuso                                                                                                                                                                                                                                  chemials                                                                                                                                                                                                to                                                      e!                                                                                                         ter                                                          intlo                                                                                                         and                                                                 ont

                       Mun10pa                                                                                                                                                                                                                    Plaintf’s                                                                                                                                                                                                                                                    Propety                                                                                                                                                                                                                                  wher                                                                                                                    thes                                                                                                                                                   compunds                                                                                                                                                                                                                                              migrated                                                                                                                                                                                 throug                                                                                                                                         the                                                                                                                   ubsrfzice                                                                                                                                                                                                                                                and                                 into


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                            123405                                                                                                                                        1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                   Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 40 of 66



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i
                                                                          the                                                                              groundwate,                                                                                                                                                                                                                                                                                                                                                                                                                  therby                                                                                                                                                                                                                                                        contamig                                                                                                                                                                                                                                                                                                                                                                                                                                the                                                                                                                                   surface                                                                                                                                                                                                    water,                                                                                                                                                                                                    soil,                                                                                                       sedimnt,                                                                                                                                                                                                                                                                            ard                                                                              groindwate,                                                                                                                                                                                                                                                                                         as

                                                                          wel                                                                                                                            as                                            causing                                                                                                                                                                                                                                     other                                                                                                                                                                    extnsiv                                                                                                                                                                                                                                                                                                                          and                                                                            ongi                                                                                                                                                                                                                                                                                                        damge                                                                                                                                                                                                                      to                                                                       Municpal                                                                                                                                                                                                                                                                   Plamtif’s                                                                                                                                                                                                                                                               [ ropet3l

                                                                                                                                                      39                                                                                                                                                                                                                                          Due                                                                                                                                                                              to                                                                   the                                                                                                                     chemrals’                                                                                                                                                                                                                                                                                                                             persitn                                                                                                                                                                                                                                                                                                                                   nature,                                                                                                                                                                                                 among                                                                                                                                                                                    other                                                                                                                                                         things,                                                                                                                                                                              thl                                                se                                                                                       chemials                                                                                                                                                                                                                                                       have,

                                                                                                      and                                                                       contiue                                                                                                                                                                                                                                    to                                                                                           cause                                                                                                                                                                                                 mjury                                                                                                                                                                      and                                                                                                               damge                                                                                                                                                                                                                                                         to                                                                         Municpal                                                                                                                                                                                                                                                                                                    Plamt1fs                                                                                                                                                                                                                                                            Propety

                                                                                                                                                      C                                                                                      DEFNATS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       KNOWLEDG                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      0F                                                                                                                     PFOA                                                                                                                                                                                                       AND                                                                                                                                                    PFOS                                                                                                                                                                                   HAZRDS

                                                                                                                                        40                                                                                                                                                                                                                                                              On                                                                                                                                                  mforatin                                                                                                                                                                                                                                                                                                                                                                                    and                                                                                                             belif,                                                                                                                                                                                                                                                     by                                                                                         the                                                                                                                              early                                                                                                                                                                            19805,                                                                                                                                       Defndats                                                                                                                                                                                                                                                                                                                                    kTew,                                                                                                                                                         01                                                                     reasonbly

                                                                                                      should                                                                                                                                           have                                                                                                                                                                know,                                                                                                                                                                                                                                                                                      among                                                                                                                                                                                                                     other                                                                                                                                              things,                                                                                                                                                                                                                                                    tha                                                                                                                                                                     (a)                                                                                               PFOA                                                                                                                                                                                          and                                                                                                    PFOS                                                                                                                                                                                                are                                                                                             time;                                                                                                                                           and                                                                                                                         (b)                                                                                        When

                                                                                                      sprayed                                                                                                                                                                in                                                                           the                                                                                                                                                    open                                                                                                                                                                             enviromt                                                                                                                                                                                                                                                                                                                                                                            per                                                                                                                                                         the                                                                                                                          instruco                                                                                                                                                                                                                                                                                                                                                                  given                                                                                                                          by                                                                                                         the                                                                                                1naut:cre,lPFOA                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  and

                                              PFOS                                                                                                                                                                                 readily                                                                                                                                                                                                                                               migrate                                                                                                                                                                                                                                                                       throug                                                                                                                                                                                                                                                      the                                                                                                                                                               subrface,                                                                                                                                                                                                                                                                                                                                                                       mix                                                                                                                                         easily                                                                                                                                          with                                                                                                                                                                           groundvx'Ilate,                                                                                                                                                                                                                                                                                                                             1esit                                                                                                                                                         naturl

                                                                                degration,                                                                                                                                                                                                                                                                                                                   rend                                                                                                                                                                                                                      drinkg                                                                                                                                                                                                                                                                                           water                                                                                                                                                                unsafe                                                                                                                                                                                                                             and/or                                                                                                                                                                                                                 no                                                                                                                        potable,                                                                                                                                                                                               and                                                                                                                                               can                                                                                          be                                                                 re‘movd                                                                                                                                                                                                                       from                                                                                                                              public

                                                           drinkg                                                                                                                                                                                                                 water                                                                                                                                                                                         suplie                                                                                                                                                                                                                                                                          only                                                                                                                                                               at                                                             subtanil                                                                                                                                                                                                                                                                                                                              expns                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                        i

                                                                                                                                   41                                                                                                                                                                                                                                             Defndats                                                                                                                                                                                                                                                                                                                                                                                                          also                                                                                                                                                                   knew                                                                                                                                                                                   or                                                                                                          reasonbl                                                                                                                                                                                                                                                                                                                            should                                                                                                                                                                                               have                                                                                                                                   know                                                                                                                                                                                                                       thaé                                                                                                                     PFOA                                                                                                                                                                    and                                                                                                      PFOS

                                                           could                                                                                                                                                   be                                                                                      absored                                                                                                                                                                                                                                                                                     into                                                                                                                                               the                                                                                                             lungs                                                                                                                                                          and                                                                                                                                            gastroinel                                                                                                                                                                                                                                                                                                                                                                                                                                                      trac,                                                                                                                                              potenialy                                                                                                                                                                                                                                                                                                    causirlg                                                                                                                                                                                           sev1                                                                                                                                                                                      damge                                                                                                                         to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            |

                                                     the                                                                                     liver,                                                                                                                                                                  kidneys,                                                                                                                                                                                                                                                                    and                                                                                                                                            central                                                                                                                                                                                                                           nervous                                                                                                                                                                                                                                                sytem,                                                                                                                                                                                                                                                  in                                                                         aditon                                                                                                                                                                                                          to                                                                           other                                                                                                                                                                    toxic                                                                                                                         eflLs,                                                                                                                                                                                     and’                                                                                    tha                                                                                                             PFOA

                                                                    and                                                                                                  PFOS                                                                                                                                                                are                                                                                                           know                                                                                                                                                                                                                       carinoges                                                                                                                                                                                                                                                                                                                                                     tha                                                                                                                                                                          cause                                                                                                                                                                          gentic                                                                                                                                                                                                     damge                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .

                                                                                                                              42                                                                                                                                                                                                                                             In                                                                                                                                                 1980,                                                                                                                                                                                                 3M                                                                                                  published                                                                                                                                                                                                                                                                                                         dat                                                                                                                                                  1                                                                        per                                                                                                                                                         rev1wd                                                                                                                                                                                                                                     literau                                                                                                                                                                                                                                                                          showing                                                                                                                                                                                                    tha                                                                                       hu'mans                                                                                                                                                                                                                 retain

             PFOS                                                                                                                                                                                                             in                                                          their                                                                                                                                                                   bodies                                                                                                                                                                                              for                                                                                                                   years                                                                                                                                                                                                                  Based                                                                                                                                                                                                    on                                                                      tha                                                                                                                                                  dat,                                                                                                                                     3M                                                                                                                   estimad                                                                                                                                                                                                                                It could                                                                                                                                                                                                                          tak!                                                                                                                     a persbn                                                                                                                                                                                                                 up                                                      to                                 1 5

             years                                                                                                                                                                                            to                                                 clear                                                                                                                                                             just                                                                                                                                     half                                                                                                                                                           of                                               the                                                                                                                acumlted                                                                                                                                                                                                                                                                                                                                                                                                     PFOS                                                                                                                                                                                               from                                                                                                                             their                                                                                                                body                                                                                                                                            after                                                                                                                                                  al                                                              exp(%)‘sur                                                                                                                                                                                                                                              h:ad                                                                                                           ceasd                                                                                                                     8

                                                                                                                     43                                                                                                                                                                                                                                                 By                                                                                                                                                                    the                                                                                                             early                                                                                                                                                                                              19805,                                                                                                                                                                                   the                                                                                                                                                    Industry                                                                                                                                                                                                                                                              supectd                                                                                                                                                                                                                                                                                  a corelatin                                                                                                                                                                                                                                                                                                                                        betwan                                                                                                                                                                                                               PFO:S                                                                                                                                                                                          exposur

                                                     and                                                                                                                                         human                                                                                                                                                          healt                                                                                                                                                                                                                                                  efcts                                                                                                                                                                                                                                                      Speciﬁaly,                                                                                                                                                                                                                                                                                                                                                                                                        manufctres                                                                                                                                                                                                                                                                                                                                                                                                                                                   observd                                                                                                                                                                                                                                          bioacumltn                                                                                                                                                                                                                                                                                                                                                                                                   %f                                                                                                          PFOS                                                                                                    in

                     workes’                                                                                                                                                                                                                                                                      bodies                                                                                                                                                                                                                                and                                                                                                     birth                                                                                                                                                                      defcts                                                                                                                                                                                                              1n                                                                                          children                                                                                                                                                                                                                                                                      of                                                                           workes                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       i                                                                                                                                                                                i

                                                                                                                          4                                                                                                                                                                                                                                                                  In                                                                                                            198                                                                                                                                                                                               DuPont                                                                                                                                                                                                                                           tesd                                                                                                                                                                                    for                                                                                                               and                                                                                                                     found                                                                                                                                                                                      PFOA                                                                                                                                                                            1n                                                               the                                                               blod                                                                                                                                                                               of                                                                      fem:                                                                                                                      1e                             plant                                                                                                                                                         workes                                                                                                                                                  in

Parkesbug,                                                                                                                                                                                                                                                                                                                                                                                                          West                                                                                                                                                                                      Virgna                                                                                                                                                                                                                                                                                                      DuPont                                                                                                                                                                                                                                       observd                                                                                                                                                                                                                                                                                            and                                                                                                                          document                                                                                                                                                                                                                                                                                                      pregnacy                                                                                                                                                                                                                                                                                                       0‘                                      tcomesl                                                                                                                                                                                      in                                                                                      exposd

                               8 Se                                                                                                                                                       Letr                                                                                                                                        from                                                                                                                                 3M                                                                                          to                                                      Ofﬁce                                                                                                                                                                                  of                                                                       Polutin                                                                                                                                                                                                                          Prevntio                                                                                                                                                                                                                                                                                                      and                                                                                           Toxics,                                                                                                                                                                                       EPA                                                                                 tiled                                                                                                                                             TSCA                                                                                                                                                        8e                                                               Sup:                                                                                       lemntaf                                                                                                                                                                                          Submison,
                               Docket                                                                                                                                                                                   Nos                                                                                                                        8EHQ                                                                                                                                                                                             037/4                                                                                                                                                                                                                                                                           New                                                                                                                              Dat                                                                                                         on                                                                                              Half                                                                                                                                Life                                                                                                                           of                                                         Perﬂuochmials                                                                                                                                                                                                                                                                                                                                                                                                    in                                                                       Serum,                                                                                                                                                                                        avi                                                                            able                                                                                        at
                                        htp                                                                     /w                                                                                                                                                                                                              ewg                                                                                                       org/esachdupnt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    hid                                                                 teﬂon                                                                                                                                                                                   polutind6ecas

                                                                                             123405                                                                                                                                                                      1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                               Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 41 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1 1I                                                                                                                                                                                                            1

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                   workes,                                                                                                                                ﬁndig                                                                                                                                                                                                      two                                                                                        of                                                                                          sevn                                                                                                                       children                                                                                                                                                                                                             born                                                                                                                              to                                        femal                                                                                                                                                                                    plant                                                                                        workes                                                                                                                                                                                          bctwn197                                                                                                                                                                                                                                                                               a!nd                                                                                                            198                                                                 had

                                                                                                                  birth                                                                                                 defcts—on                                                                                                                                                                                                                                                                                      an                                                                       “uncofmed”                                                                                                                                                                                                                                                                                                                                            ey                                                                                                                         and                                                                                   tear                                                                                                  duct                                                                                                                        defct,                                                                                                                         and                                                                               one                                                                                      a nos                                                                                 ! 1 and                                                                                                                                                                            eiy                                                                                              defct                                                                                                                           9

                                                                                                                                                                                    45                                                                                                                                                                                            Begin                                                                                                                                                                                                                                                                                            in                                                              1983,                                                                                                                        3M                                                                                                          document                                                                                                                                                                                                                                                                                                                      a trend                                                                                                                                                        of                                                        increasg                                                                                                                                                                                                                          165                                                                                                                                   of                                                                     I;FOS                                                                                                                                                 in                                                  the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                          bodies                                                                                                               of                                       3M                                                                                                                                   workes                                                                                                                                                                                                                         In                                                                      an                                   interal                                                                                                                                                                                                                       meo,                                                                                                                                                                           3M’s                                                                                                                                                         medical                                                                                                                                                         ofﬁcer                                                                                                                                                            warned                                                                                                                       1“we                                                                                                                 muEst                                                                                                                                          View                                                                        thls

                                                                                       presnt                                                                                                                                                           trend                                                                                                                                                         with                                                                                                   seriou                                                                                                                                                                                                                              coner                                                                                                                                                                           It                                                                                                     is                                                          certainly                                                                                                                                                                                                  posible                                                                                                                                                                       tha                                                                                                                                                                                         exposuh                                                                                                                                                                                      opﬁunites                                                                                                                                                                                                                                                                                                   are

                                                                                                providmg                                                                                                                                                                                                      a                                                                           potenial                                                                                                                                                                                                                                         uptake                                                                                                                                                                                                          of                                                         ﬂuorchemials                                                                                                                                                                                                                                                                                                                                                                                                                           tha                                                                                     excds                                                                                                                                                                              excrtion                                                                                                                                                                                              Icapbiltes                                                                                                                                                                                                                                                                         of                                                                   the

                                                                                                           body                                                                                                                     ”10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                               46                                                                                                                                                                                         Based                                                                                                                                                              on                                                                                                                  informat                                                                                                                                                                                                                                                                  and                                                                                                                                                    belif,                                                                                                                                                        in                                                                                                 20,                                                                                                           under                                                                                                                                          presu                                                                                                                                                                                               Tom                                                                                                              thie                                                                                                      EPA,                                                                                                            3M

                                                                             anouced                                                                                                                                                                                                                              tha                                                                                                                                 it was                                                                                                                                                           phasmg                                                                                                                                                                                     out                                                                                PFOS                                                                                                                                                                  and                                                                                     U                                                                                        S                       productin                                                                                                                                                                                                                                      of                                              PFOS;                                                                                                                                                    3M’s                                                                                                           PFOS                                                                                                                                           hased                                                                                                                            AF

                                        productin                                                                                                                                                                                                                                                                       di                                                                                                            not                                                                       fuly                                                                                                                                phase                                                                                                                                        out                                                                                 until                                                                                                                                         20                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i

                                                                                                                                                                          47                                                                                                                                                                  From                                                                                                                                                                                    195,                                                                                                                                                                                               DuPont,                                                                                                                                                                                                           and                                                                                                                                                                           on                                                                     informat                                                                                                                                                                                                                                                                               and                                                                                                       belif,                                                                                                                                                                         C                        Semours,                                                                                                                                                                                                                                           design,

                                        manufctred,                                                                                                                                                                                                                                                                                                                                                                                                   marketd,                                                                                                                                                                                                                                                                                             and                                                                                                           sold                                                                                                                                 Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                Products,                                                                                                                                                                                                                   mcludin?                                                                                                                                                                                                                                     Teﬂc;n                                                                                                                                                                                   nostick

                                                                  cokware,                                                                                                                                                                                                                                        and                                                                                                                                 more                                                                                                                                                   recntly                                                                                                                                                                                                                     PFAS                                                                                                                          fedstock,                                                                                                                                                                                                                                                                                                                such                                                                                                                       as                                           Forafc                                                                                                                                                                                 157                                                                                                                         NJ                                                                             for                                                                  the                                                                                                       use                                                                          1n                                                        the

                                                      manufctre                                                                                                                                                                                                                                                                                      of                                                                                     AF                                                                                                                                       products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                                                                                               i

                                                                                                                                                                     48                                                                                                                                                               Based                                                                                                                                                                                                       on                                                                                                                                    mfornatl                                                                                                                                                                                                                                                                 and                                                                                                                                                            belif,                                                                                                                                                                 in                                                                          201                                                                                                                 or                                                                                  earli,                                                                                                                                                                         DuIi’ont                                                                                                                                                                          mzinufactred,

            produce,                                                                                                                                                                                                                                                                         marketd,                                                                                                                                                                                                                                                  and                                                                                                                                                    sold                                                                 Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                             Products                                                                                                                                                                                             and/or                                                                                                                                      PFAS                                                                                                                                    fedstlmk                                                                                                                                                                                                                                                tolsme                                                                                                                                                                           or                                                         al

                                                      of                                                                                     the                                                                                          AF                                                                                                              product                                                                                                                                                                                                  manufctres                                                                                                                                                                                                                                                                                                                                                        for                                                                                                          use                                                                                         in                              their                                                                                                                                       AF                                                                                                                                 products                                                                                                                                                                              tha                                                                                             werHdischaEg                                                                                                                                                                                                                                                                                                                                                      into                                                                 the

                       enviromt                                                                                                                                                                                                                                                                                                                                     and                                                                                                  contamied                                                                                                                                                                                                                                                                                                                                            Municpal                                                                                                                                                                                                                                                 Plaintfs                                                                                                                                                                                                                                          Propety                                                                                                                                                                                                                                                                                                                                                                                                                                                             1‘                                                                                                                                                                                                              E

                                                                                                                                                                49                                                                                                                                                           DuPont                                                                                                                                                                                                                          had                                                                                                                                                     ben                                                                                                                        studying                                                                                                                                                                                                             the                                                                           potenial                                                                                                                                                                                                              tox1ciy                                                                                                                                                              of                                                          PFOA                                                                                                                                                    sine?                                                                                                         at                                              halt                                                                                                                                  the                                                                       19605

                                  and                                                                                                                                                                knew                                                                                               tha                                                                                                                                      1t                                                       was                                                                                                                   contamig                                                                                                                                                                                                                                                                                                                                           drinkg                                                                                                                                                                                                                                                           water                                                                                                                                drawn                                                                                                                              from                                                                                                                         the                                                                        Ohio!                                                                                                                         River                                                                                                                                           #and                                                                                                      di                                                      not



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
            9 Se                                                                                                                                                                         Memorandu                                                                                                                                                                                                                                                                                         C                                8 Blod                                                                                                                                                                                         Sa1npg                                                                                                                                                                           Result,                                                                                                                                                                                        Births                                                                                                                     and                                                                   Pregnacis,’                                                                                                                                                                                                                                            avilbe                                                                                                                                                      at                                                                                                                                                                                                                                                                                                !
      htp                                                                                                                                                  /w                                                                                                                     ewg                                                                                                                org/esachdupnt                                                                                                                                                                                                                                                                                                                                                                                                     h1d                                                                  teﬂon                                                                                                                                      polutin                                                                                                                                                                                             decas                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                       10 Se                                                                                                                                                                                Memorandu                                                                                                                                                                                                                                                                          ‘Organic                                                                                                                                                                                            Fluorine                                                                                                                                                     Levls,                                                                                                                                                                                       Augst                                                                                                                           31,                                                                     1984,                                                                                                                                        avilbe                                                                                                                                      at                                    htp                                                                         /w                                                                                                                  ew                                                                               org/esachdupnt
hid                                                                                                                                                teﬂon                                                                                                        polutin                                                                                                                                                                                          decas                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   17

                                                      123405                                                                                                                                                                                        1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [                                                                                                                                                                                  i
                                                                                                                                                                                                             Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 42 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  l                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                                                                                    1

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                                                                                                               I




                                          discloe                                                                                                                                                                                                         to                                                                                            the                                                                                                                                 public                                                                                                                                                                                  or                                                                            to                                                               governmt                                                                                                                                                                                                                                                                                                                                                                                     regulatos                                                                                                                                                                                                                                                            what                                                                                                 they                                                                                                                                                     knew                                                                                                                          about                                                                                           the                                                                               s: bstanc~e’                                                                                                                                                                                                                                                                                                                                                                    potenial

                             efcts                                                                                                                                                                                   on                                                                                                       humans,                                                                                                                                                                                                                                                                                                            animls,                                                                                                                                                                                               or                                                                            the                                                                                  env1romt                                                                                                                                                                                                                                                                                                                                                                                           ”                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ‘                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                     50                                                                                                                                                                                                                                                 By                                                                                                                                            Decmbr                                                                                                                                                                                                                                                                                                           205,                                                                                                                                                                the                                                                                                                                                                                    EPA                                                                                                              uncoverd                                                                                                                                                                                                                                                                                                                                   ev1dnc                                                                                                                                                                                                                  tha                                                                                            Dul‘ont                                                                                                                                                                                                                                                   coneald                                                                                                                                                                                                                                                            the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1                                                                                                                                                                                                                                    1
                             enviromtal                                                                                                                                                                                                                                                                                                                                                                                                                                                              and                                                                                                                                 healt                                                                                                                                                                  efcts                                                                                                                                                                 of                                                                                                       PFOA,                                                                                                                                                                                                                            and                                                                                                          the                                                                                                           EPA                                                                                                                          anouced                                                                                                                                                                                                                                                              the                                       “Lapgest                                                                                                                                                                                                                                                   Envirometal

                             Admistrave                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Penalty                                                                                                                                                                                                                                      in                                                                     Agency                                                                                                                                                                                                                        History”12                                                                                                                                                                                                                                                                                                                                       The                                                                                                                                        EPA                                                                                                                                                       ﬁned                                                                                                DuPont                                                                                                                                                                             for                                                                              j‘v10atnig
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1                                                                                                                                                                                                                                      I                                                                           the                                                                                  Tox1c
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i                                                                                                                                                                                                                                                        |



                                                                                                                     Substance                                                                                                                                                                                                                                                           Contrl                                                                                                                                                                                                                                                                               Act                                                                                                                                       “Section                                                                                                                                                                                                                                                                       8(e)—th                                                                                                                                                                                                                                                                              requimnt                                                                                                                                                                                                                                                                                                                                                         tha                                                                                    companies                                                                                                                                                                                                                                                               'repot                                                                                                                                                                                                                                 :to                                                                                       the                                                                                 EPA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1’                                                                                                                                                                                                                                                I
                                                                     subtanil                                                                                                                                                                                                                                                                                                     risk                                                                                                                                                                                         informat                                                                                                                                                                                                                                                                                                                                                    about                                                                                                                                                                                                                                        chemlas                                                                                                                                                                                                                                                                                                             they                                                                                                                manufctre,                                                                                                                                                                                                                                                                                                                                              proces                                                                                                                                                                                                                  or                                                                                                          éistrbue                                                                                                                                                                                                                                                           in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :

                                                                                comer                                                                                                                                                                                                                                                                   ’ 13                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1                                                                                                                                                                                                                         J
                                                                                                                                                                               51                                                                                                                                                                                                                                            By                                                                                                                                July                                                                                                                               201,                                                                                                                                                                                                      DuPont                                                                                                                                                                                                                                                              could                                                                                                                                                 no                                                                                                                    longer                                                                                                                                                                                  credibly                                                                                                                                                                                                    dispute                                                                                                                                                                                        thei                                                                                              human                                                                                                                                                                                                                                                        toxicy                                                                                                                                                      of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I

                PFOA,                                                                                                                                                                                                                              whic                                                                                                                                                                                                                                                    it                                                                                         contiued                                                                                                                                                                                                                                                                                         to                                                      manufctre                                                                                                                                                                                                                                                                                                                                                                                                      The                                                                                                                                                           “C8                                                                                                                         Scien                                                                                                                                                                                             Panel”                                                                                                                                                                     crealtd                                                                                                                                                                                                                              as                                                                                                                     part                                                                                                          of                                             the

                                                                                setlmn                                                                                                                                                                                                                                                                               of                                                                                                               a                                                                 clas                                                                                                                                                         action                                                                                                                                                                                                   over                                                                                                                               DuPont’s                                                                                                                                                                                                                                                                                                     relas                                                                                                                                                                                                                                      from                                                                                                                                                              the                                                                                     Washingto‘m                                                                                                                                                                                                                                                                                                   Works                                                                                                                                                                                                                                               plant                                                                                                  had

reviwd                                                                                                                                                                                                                                                                                              the                                                                                                                                        av1be                                                                                                                                                                                                                                                                                                    scientﬁ                                                                                                                                                                                                                                          evidnc                                                                                                                                                                                                                                                                                                           and                                                                                                      notlﬁed                                                                                                                                                                                                                     DuPont                                                                                                                                                                          of                                                                                           a “p1obahle                                                                                                                                                                                                                                                                                      link”14                                                                                                                                                                                                                          betwn
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
         PFOA                                                                                                                                                                                                                            exposur                                                                                                                                                                                                                                                                                                                                                                 and                                                                                                                              the                                                                                                                  seriou                                                                                                                                                                                                                                                         (and                                                                                                                                                       potenialy                                                                                                                                                                                                                                                                                                       fatl)                                                                                                                                                                                  condit1s                                                                                                                                                                                                                                                      of                                                                 [pregnacy                                                                                                                                                                                                                                                                                                                                           induce

                hypertnsio                                                                                                                                                                                                                                                                                                                                                                                                        and                                                                                                                                                     preclamsi                                                                                                                                                                                                                                                                                                                                                       15                                                                                  By                                                                                                                                                                      October                                                                                                                                                                                    201,                                                                                                                                                         the                                                                                                                 C8                                                                               Scien                                                                                                                                                                                        Panel                                                                                              had                                                                                                                                             notiﬁed                                                                                                                                                                                                                                                            DuPont

                                                                                         of                                                                a probale                                                                                                                                                                                                                                                                                                                  lmk                                                                                                                                                                  betwn                                                                                                                                                                                                                PFOA                                                                                                                                                                                                     and                                                                                                                                                            ﬁve                                                                                other                                                                                                                                                                                  condlts                                                                                                                                                                                                                                                                                       h1g                                                                                                                                cholest’r,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         H                                                                                                                                      klciney                                                                                                                                                                                                                               caner,

                                                    thyroid                                                                                                                                                                     disea,                                                                                                                                                                                                                                                                                              tesicular                                                                                                                                                                                                                                                          caner,                                                                                                                                                                                      and                                                                                                                                                       ulcerativ                                                                                                                                                                                                                                                                             colits                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    j




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1

                                                                                                                                               ” Se,                                                       e g                                                                        Fred                                                                                                                                                             Bidle,                                                                                                                                                                                                                            DuPont                                                                                                                                                             confrted                                                                                                                                                                                                                                                                                                     over                                                                                                   chemial                                                                                                                                                                                                                                    5 safety,                                                                                                                                                                                                     WImgton                                                                                                                                                                                             News                                                                                              Jam                                                                                                                       10]                                               (Apr!                                                                                                                                                                                        13,                                                           203)
                                          The                                                                                                                                       Wzlmgton                                                                                                                                                                                                                                            News                                                                                                                                                                           Joumal                                                                                                                                                                          is published                                                                                                                                                                                                                                                                                              in                                                                               Wilmngto,                                                                                                                                                                                                                                                                       Ohio                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           i
                                                                                                                                               1” $16                                                     5 milon                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    l
                                                                                                                                               ‘3 U                                 S Envtl                                                                                                                                                                   Prot                                                                                                                                              Agency,                                                                                                                                                                                     Refrnc                                                                                                                                                                                                                                 News                                                                                                                                                                                      Relas,                                                                                                                                                                                                EPA                                                                                                                                                             Setls                                                                                                                     PFOA                                                                                                                                                Case                                                                                                    Against                                                                                                               DuP                                                                                                                                             nt                                    for                                                                                          Largest
                                                                                                                                 Envirometal                                                                                                                                                                                                                                                              Adminstrave                                                                                                                                                                                                                                                                                                                                                                        Penalty                                                                                                                                                                       in                                                        Agency                                                                                                                                                                                                                   History                                                                                                                                                                                                      (Dec                                                                                                     14,                                                                                         205),                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‘                                                                                                                                                                                                                                       {
                                                              htps                                                                                                                             /w                                                                                                                                                 epa                                                                                                           gov/enfrcmt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           news                                                                                                              relas                                                                                                                                                                                        epa                                                                                         setl                                                                                                                                  pfoa                                                                                                        case                                                                                            aginst                                                                                         dupo                                                                                                                                                              t larges
                                                                                         enviromtal                                                                                                                                                                                                                                                                                               (last                                                                                                                                         viewd                                                                                                                                                                                        on                                     Janury                                                                                                                                                                                      30,                                                                2018)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‘                                                                                                                                                                                                                                                                                                       1
                                                                                                                                               14 Under                                                                   the                                                                                                           setlmn,                                                                                                                                                                                                                                                                                                                     probale                                                                                                                                                                                                                   link,’                                                                                                              means                                                                                                                                                                                                                     tha                                                                   given                                                                                                                                              the                                                                          avilbe                                                                                                                                                                                           scientﬁ                                                                                                                                                                  evidnc,                                                                                                                                                it si                                                                                                                 more                                                                                                                                                                    likey                                                                                                                         than                                                                 not
                                                                                                      tha                                                    among                                                                                                                           clas                                                                                                                                                                             mebrs                                                                                                                                                                                                                      a coneti                                                                                                                                                                                                                                                                          exist                                                                                                                                                                                                              betwn                                                                                                                                      PFOA/C8                                                                                                                                                                                                                                exposur                                                                                                                                                                                                                   and                                                                                      a articulp                                                                                                                                                            hluman                                                                                                                                                                                                          dis:ea
                                                                                                                                               ‘5 Se                                                The                                                                          C8                                                                                       Scien                                                                                                                                                                                                                                                 Panel,                                                                                                                                      Staus                                                                                                                                    Report                                                                                                                                                                                                    PFOA                                                                                                                                                       (C8)                                                                                                         exposur                                                                                                                                                                            and                                                                                                                          pregnacy                                                                                                                                                                                      outcme                                                                                                                                                among                                                                                                                                                                       particns                                                                                                                                                                                                                                                                             in                          the
                                                                                                                                               C8 Health                                                                                                           PrOJect(u1y                                                                                                                                                                                                                                                                                                                                                                                     15 201)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H                                                                                                                                                                                                                                                       !
                                                                                                      htp                                                                 /w                                                                                                                              c85ienpa1                                                                                                                                                                                                                                                                                                                                                                                                           org/pdfsStau                                                                                                                                                                                                                                                                                                                                                                            Report                                                                                                                                                                                 C8                                                                       and                                                                                                _pregnacy                                                                                                                                                                                                                                                                        outcme                                                                                                                                                                    15uy20                                                                                                                                                                                                                            pdf(last                                                                                                                                                                                                                                         viewd                                                                                                           on
                                                                                                            Janury                                                                                              28                                                                                                    2018)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ‘
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        18

                                                                                                                                               123405                                                                                                          1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                               Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 43 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                      52                                                                                                                                                                                                    In                                      July                                                              2015,                                                                                                                                                                                                            DuPont                                                                                                                                                                                                              spun                                                                                           of                                                                                                              its                                                               chemials                                                                                                                                                                                                                                     divson                                                                                                                                                                                                        by                                                                                                             crang                                                                                                                                                             Chlemours                                                                                                                                                                                                                                                                                     as                                          a

                                                                                        new                                                       publicy                                                                                                                                                                                                             trade                                                                                                                  company,                                                                                                                                                                                                                                                                                     once                                                                                                                                  wholy                                                                                                                                                                                          owned                                                                                                                                                                                     by                                                                       DuPont                                                                                                                                                                                                        By                                                                                                                                            midH2015                                                                                                                                                                                                                            :DuPont                                                                                                                                                                                                                        had

                                                                                                  dumpe                                                                                        its                                                                    perﬂuomatd                                                                                                                                                                                                                                                                                                                               chemial                                                                                                                                                                                                                                                          habiltes                                                                                                                                                                                                           into                                                                                                                            the                                                   lap                                                                            of                                               the                                                                                                              new                                                                               Chemouﬂs                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I                                                                                                                                                                                      l
                                                                                                                                      53                                                                                                                                                                                      Notwihsandg                                                                                                                                                                                                                                                                                                                                                                                                            this                                                                                                                                         knowledg,                                                                                                                                                                                                                                                                                                             Defndats                                                                                                                                                                                                                                                                                           neglity                                                                                                                                                                                                                                                                                                     Arm                                                                                                carelsy                                                                                                                                                                                                                                                                                            (1)

                                                                                                  design,                                                                                                  manufctred,                                                                                                                                                                                                                                                                                                                                                          marketd,                                                                                                                                                                                                                                                                            distrbue,                                                                                                                                                                                                                                                               and/or                                                                                                                                                                sold                                                                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                       :Products;                                                                                                                                                                                                                                                   (2)                                                                                          isued

                                                                                                  instruco                                                                                                                                                                                                        on                                                                                     how                                                                   Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                                                   Products                                                                                                                                                                                                                                              should                                                                                                                                                be                                                                                                used                                                                                                  and                                                                                                                                                  dispol‘e                                                                                                                                                                             of                                                                                                   :(namely,                                                                                                                                                                                                                          by

                                                                                        washing                                                                                                      the                                                                                                          foam                                                                                                                    mto                                                                                                     the                                                                                            soil                                                                                                       or                                                                            waster                                                                                                                                                                                                                                                                sytem),                                                                                                                                                                                                       thus                                                                                                       improely                                                                                                                                                                                                                                                                                         per1n+tig                                                                                                                                                                                                                                       PIFOA                                                                                                                                                                                       and/or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                         PFOS                                                                                                                  to                          contamie                                                                                                                                                                                                                                                                                                                         the                                                                                                              surface                                                                                                                                                                                       water,                                                                                                                                                                                soil,                                                                                                     and                                                                                          groundwate                                                                                                                                                                                                                                                                                                                in                                                        and                                                                                                                                                    around                                                                                                                                                  the                                                                                                                           Municpal

                                                         Plaintf’s                                                                                                                                                                             Propety;                                                                                                                                                                                                       (3)                                                                                                                          failed                                                                                                                                                                                    to                                                            recal                                                                                                                                            and/or                                                                                                                                                                                                       warn                                                                                                                              the                                                                            user                                                                                                                                       of                                                                                Fluors‘factin                                                                                                                                                                                                                                                                                                                                                                                                                                           Products,

                                                         neglity                                                                                                                                                                                                                   design                                                                                                                                                                           products                                                                                                                                                                                                                                                          contamig                                                                                                                                                                                                                                                 or                                                                                        degrain                                                                                                                                                                                                                                            into                                                                                                    PFOA                                                                                                                                  and/or                                                                                                                                                                                                                        PFIOS,                                                                                                                                   of'                                                                                        the                                                                                     dangers

                                                                                        of                   surface                                                                                                            water,                                                                                                                                                                                      soil,                                                                                   and                                                                                                             groundwate                                                                                                                                                                                                                                                                                                          contami                                                                                                                                                                                                                                                                                                                                              as                                                              a result                                                                                                                                                                  of                                                       standrLJe                                                                                                                                                                                                                                                                                                           and                                                                                                                                        dispoal                                                                                                                                                                  of

                                                  thes                                                                                                             products;                                                                                                                                                                                                  and                                                               (4)                                                                                                     furthe                                                                                                                                                    failed                                                                                                                                                                                            and                                                          refusd                                                                                                                                                                                                                     to                           isue                                                                                                                                the                                                                                                  aproite                                                                                                                                                                                                                                                                                           wargmns                                                                                                                                                                                      and/or                                                                                                                                                                               recals

                               to                                                                                      the                                                     user                                                                                                                                                                   of                                   Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                       Products,                                                                                                                                                                                                                                            notwihsadg                                                                                                                                                                                                                                                                                                                                                                                                the                                                                 fact                                                                                                                                   tha                                                                                                                  Difendats                                                                                                                                                                                                                                                                                           knew                                                                                                                   the

                                                         identy                                                                                                                       of                                                 the                                                                                                               purchase                                                                                                                                                                                                                                       of                                                                    the                                                                              Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                     Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I

                                                                                                                                 54                                                                                                                                                                                      As                                                                                    a direct                                                                                                                                          result                                                                                                                                      of                                                                                  Defndats’                                                                                                                                                                                                                                                                                                      actions                                                                                                                                                                        and/or                                                                                                                                                             inactos                                                                                                                                                                                                                                     alegh                                                                                                                                                              in                             this:                                                                                                                                             Complaint,

                                       Municpal                                                                                                                                                                                                           Plaintf’s                                                                                                                                                                                                                                                               Propety                                                                                                                                                                                                                                      has                                                                                                                            ben                                                                                                                                and                                                                                                 wil                                                                                                             contiue                                                                                                                                                                                                                                          to                                    be                                                                                    contam%1ed                                                                                                                                                                                                                                                                                                                                                                |with                                                                                                                             PFAS,

                                                                     includg                                                                                                                                             PFOA                                                                                                                                                                                                       and                                                                                   PFOS,                                                                                                                                                                   creating                                                                                                                                                                                                                              an                                                                                          enviromtal                                                                                                                                                                                                                                                                                                                                           hazrd,                                                                                                                                                                                   unles                                                                                                                                                                                                       WT                                                                                      contima                                                                                                                                                                                                                                                                                                                                                                is

                     remdiat                                                                                                                                                                                                                                                                                                                     As                                                            a direct                                                                                                                                                   and                                                                                                         proximate                                                                                                                                                                                                                                                                         result                                                                                                                                            of                                                           Defndats’                                                                                                                                                                                                                                                                                                            actions                                                                                                                                                                          and/or1ictmls,                                                                                                                                                                                                                                                                                                                                                                                                                        Plamtifs

              must                                                                                                                                          ase,                                                                                                                             evalut,                                                                                                                                                                                                    mvestiga,                                                                                                                                                                                                                                                                                                               monitr,                                                                                                                                                                                                                  remov,                                                                                                                                                                                 clean                                                                                                                              up,                                                                                                      coret,                                                                                                                                                                             trea,                                                                                                                                             aid                                                            remLdiat                                                                                                                                                                                                                                                                       PFOA

                               and                                                                                                         PFOS                                                                                                                                    contami                                                                                                                                                                                                                                                                                                                                                              on                                                                 Municpal                                                                                                                                                                                                                                                                          Plaintf’s                                                                                                                                                                                                                                                         Propety                                                                                                                                                                                                                                               at                          signﬁcat!                                                                                                                                                                                                                                                                                             expns!,                                                                                                                                                                                                                                                                los                                                                          and

                               damge                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                                                                                                                                                 E

                                                                                                                             5                                                                                                                                                                         Defndats                                                                                                                                                                                                                                                                                     had                                                                                                                                          a                                                                       duty                                                                                                                                     and                                                                                                          breachd                                                                                                                                                                                                                                               then                                                                                                                                                            duty                                                                                                  to                                                                                                                    evalut                                                                                                                                                                                                             ancl                                                                                                                                            tes                                                                                                        such

Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                      Products                                                                                                                                                                                                adequtly                                                                                                                                                                                                                                                                                         and                                                                                            thorugly                                                                                                                                                                                                                                                                       to                                                    detrmin                                                                                                                                                                                                                              their                                                                                                                                                                 potﬂnial                                                                                                                                                                                      hIEJman                                                                                                                                                                                                                 healt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       19                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I

                                                                               123405                                                                                                      1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              11
                                                                                                                    Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 44 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l                                                                                                                                                                                     l         |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            l
                                       and                                    env1rotal                                                                                                                                                                                                                                                                                          impacts                                                                                                                                                                 befor                                                                                                                                             they                                                                                                  sold                                                                                                                        such                                                                                                                                    products                                                                                                                                                                                                    They                                                                                                                               also                                                     had                                                                                                                                                                                          duty                                                                                        Jnd                                                                                                                                    breachd

                    then                                                                  duty                                                                                                 to                                                 minze                                                                                                                                                                                       the                                                                      enviromtal                                                                                                                                                                                                                                                                                                        harm                                                                                                                              caused                                                                                                                                                                                            by                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                          Pr{                                                                                           ducts                                                                                                                            |

                                                                     D                                                    THE                                                                                                                                                              INPACT                                                                                                                                                                                                                                                   OF                                                                                                                     PFOA                                                                                                                                                                                AND                                                                                                                                                                                       PFOS                                                                                                                                                                               ON                                                                                                                                            MUNICP                                                                                                                                                                                                                              I                                                                                                         PLIANTF                                                                                                                                                                                                                                                             S
                                                                                                                          PROETY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          l                                                                                                                                                                                               E
                                                                         56                                                                                                                                                                                                 PFOA                                                                                                                 and                                                                     PFOS                                                                                                                       have                                                                                                                     ben                                                                                                                detc                                                                                                                                                                                                                            1n                                              varying                                                                                                                                                                 amounts                                                                                                                                                                   in                               $01;                                                                                                                           and                                                                                             water                                                                                                                                                            extracd

                           from                                                                  Municpal                                                                                                                                                                                                    Plaintf’s                                                                                                                                                                                                                    Propety                                                                                                                                                                                                      PFOA                                                                                                                                                       and                                                                                                                        PFOS                                                                                                                                                       have                                                                                                      ben                                                                                                                      detc                                                                                                                                                   aLd/or                                                                                                                                                                        are                                                                                                                presnt                                                                                    in

                                                      certain                                                                                of                                                                        ares                                                                                                              of                                                                   Municpal                                                                                                                                                                                                                         Plamtifs                                                                                                                                                                                                                                     Propety                                                                                                                                                                                                                                                                   PFOA                                                                                                                                              and                                                                                          PFOS                                                                                                           hay‘e                                                                                                                                                                    ben!                                                                                                                                            detc                                                                                                                                      at

         Municpal                                                                                                                                                                                   Plaintf’s                                                                                                                                                                                                                       Propety                                                                                                                                                                                at                                                           levs                                                                                                               tha                                                                                                          are                                                                                                      subtanily                                                                                                                                                                                                                                                                                                                   great                                                                                             than                                                                                                                  ﬁle                                                                                                           curelnt                                                                                                                                                                                                  Stae                                                             and

         Fedral                                                                                                                                   Advisory                                                                                                                                                                                             Levls                                                                                                                                                                        The                                                                          detcion                                                                                                                                                                                                        and/or                                                                                                                                                                      presnc                                                                                                                                                                                                                     of                                                 PFOA                                                                                                                                                           and                                               PFOL,                                                                                                                                                                                                             and                                                                                the                                                                                                                                   threa                             of

                           furthe                                                                                                  detcion                                                                                                                                                                                                    and/or                                                                                                                                                          presnc                                                                                                                                                                                                    of                                                           PFOA                                                                                                                                                                     and                                                                                                                               PFOS,                                                                                                                                            in                                                                                               Municpal                                                                                                                                                                                                  Pla’intf‘s                                                                                                                                                                                                                                                                        Propety                                                                                                                                             in

                           varying                                                                                                                               amounts                                                                                                                                                 has                                                                                             resultd,                                                                                                                                                                          and                                                                                                    wil                                                                            contiue                                                                                                                                                                                                                                            to                                                  result,                                                                                                                                       in                                                                               signﬁcat                                                                                                                                                                                             inju‘res                                                                                                                                                                                                      and                                                                                                       damge                                                                                                          to

         Plaintfs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             l

                                                                         57                                                                                                                                                                                          Upon                                                                                             informat                                                                                                                                                                                                                                                           and                                                                                       belif,                                                                                                                                                                   the                                                                                    invaso                                                                                                                                                                                                                         of                                           Municpal                                                                                                                                                                                                            Plain                                                                                                                                                        if’s                                                                                            Propety                                                                                                                                                                                               with

         PFOA                                                                                                       and                                                                                         PFOS                                                                                                                     is recuing,                                                                                                                                                                                                                                    resulting                                                                                                                                                                                           in                                                                       new                                                                                            harm                                                                                                                                                   to                                                     Plamtifs                                                                                                                                                                                                                     on                                 each                                                                    Decison

                                                                         58                                                                                                                                                                                                 The                                                injures                                                                                                                                                                   to                                                      Plaintfs                                                                                                                                                                                     caused                                                                                                                                                                    by                                                                           Defndats’                                                                                                                                                                                                                                                                                                condut                                                                                                                                  COHStlU‘e                                                                                                                                                                                                                                                    an                                                       unreasobl

                           interfc                                                                                                                                                                                                                                                 with,                                                                                                   and                                                                                        damge                                                                                                                                                                                       to,                                                       Plamtifs                                                                                                                                                                                                                                                        and                                                                                                                           Municpal                                                                                                                                                                                                                                                 Plaintf’s                                                                                                                                                                                               Aropetyi                                                                                                                                                                                                                                                         Plaintfs’

         inters                                                                                                                                                            in                                                 protecing                                                                                                                                                                                                             Municpal                                                                                                                                                                                                                                   Plaintf’s                                                                                                                                                                                                                      Propety                                                                                                                                                                                                                                                        constiue                                                                                                                                                                                                               a reason                                                                                                                                                               felr                                                                                                                     seking                                                                                                                                                                                                                   damges

                           sufﬁcient                                                                                                                                                      to                                              resto                                                                                                                                                        such                                                                                   Propetis                                                                                                                                                                                                                       to                                        their                                                                                                                          pre                                                                                contami                                                                                                                                                                                                                                                                                                                                                                               conditl,                                                                                                                                                                1n                                                                                               diton                                                                                                                                                                                           to                                                                             the                    other

         damges,                                                                                                                                                                stauory                                                                                                                                                                        ﬁnes                                                                                                             and                                                                                         penaltis,                                                                                                                                                                                          and                                                                                               injuctve                                                                                                                                                                                                                                                            relif                                                                                                 sought                                                                                                                                                           herin                                                                                                                                                                                                         ‘                                                                                                                                                                                       i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIRST                                                                                                                                                CAUSE                                                                                                                                                                                                                                              OF                                                                                ACTION                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !                                                                                                                                                                                               l

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            g M unicpal                                                                                                                                                                                                                                                                                                         Plaintfﬂ                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E                                                                                                                                                                                               :

                                                                                                            STRIC                                                                                                                                                                                   LIABTY                                                                                                                                                                                                                                                                                                                      DESIGN                                                                                                                                                                                                                 DEFCT                                                                                                                                                                                                                                                      AND/OR                                                                                                                                                                                                                                             DEFCTIV                                                                                                                                                                                                                                                                                                   PRODIUCT

                                                                59                                                                                                                                                                                        Municpal                                                                                                                                                                                             Plaintf                                                                                                                                                                                    realgs                                                                                                                                                                                                           and                                                                      reafﬁms                                                                                                                                                                                                                                                    al                                                   alegtons                                                                                                                                                                                                           set                                                                                     f0H                                                                                                               h in                                                                     ﬁle                                                                                                           precding

parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        9

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    20                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }                                                                                                                                                                                                       l

                                             123405                                                                                                          1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                l                                                                                                                                                                                           l
                                                                                                                                                                                       Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 45 of 66




                                                                                                                                           60                                                                                                                                        Defndats,                                                                                                                                                                                                                                                   at                                                                                               al                                                           tunes                                                                                             relvant                                                                                                                                                                           herin,                                                                                                                                                                 wer                                                                             designr,                                                                                                                                                                                                        manuctrs,                                                                                                                                                                                                                                                                                                        markets,

                                                                                         selr                                                                                          and/or                                                                                                                                                   distrbuo                                                                                                                                                                                                            of                                                                                 Fluorsfactn                                                                                                                                                                                                                                                                                   Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        [I                                                                                                                                        l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                           61                                                                                                                                        As                                                                                                                                            designr,                                                                                                                                                                                                                                                      manufctres,                                                                                                                                                                                                                                                                                                                             markets,                                                                                                                                                                                                                                                         selr                                                                                                                                                                                   and/o|r                                                                                                                                                                 distrbuo                                                                                                                                                                                                      of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   |
                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                Products,                                                                                                                                                                                                                                            Defndats                                                                                                                                                                                                                  owed                                                                                                                                                               a                                                                 duty                                                                                               to                                                                                              al                                                                      person                                                                                                                                                                     +hom                                                                                                                                     :LDefndats’

                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                          Products                                                                                                                                                                                                          might                                                                                                                     foresably                                                                                                                                                                                                                 harm,                                                                                                                          includg                                                                                                                                                                                                           Municpal                                                                                                                                                                                                      Plaintf,                                                                                                                                                                        niot                                                                                              to                                   market

                                                                                                any                                                            product                                                                                            whic                                                                                                                                                                                     is unreasobly                                                                                                                                                                                                                                                                                                   dangerous                                                                                                                                                                                               for                                                                      its                                                      inted                                                                                                                                                                 and                                                                                     foresablu                                                                                                                                                                                                                                                                                                                                                     i

                                                                                                                                                62                                                                                                                                               Defndats’                                                                                                                                                                                                                                            Fluorsfactn                                                                                                                                                                                                                                                                                                                                     Products                                                                                                                                                                                           wer                                                                                                          distrbue,                                                                                                                                                                                                                        sold,                                                                                                                   and                                                             usedin                                                                                                                                                                           a maner

                                                                                                      inted                                                                                          and                                                                                                                            reasonbly                                                                                                                                                                             foresn                                                                                                                                                                                                                          by                                         Defndats,                                                                                                                                                                                                                                                        and                                                                                        reachd                                                                                                                                                     consumer                                                                                                                                                                                                      ant+                                                                             the                                                           enyiromt                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                              a condit                                                                                                                                subtanily                                                                                                                                                                                                                                                unchaged                                                                                                                                                                                                                                                                       from                                                                             tha                                                                                                       in                                       whic                                                                                                                                                      they                                                                     left                                                                            Defndats’                                                                                                                                                                                                                                                contrl                                                                                                                                         l

                                                                                                                                                          63                                                                                                                                                            Municpal                                                                                                                                                            Plaintf                                                                                                                                                                                                                             wer                                                                                               baned                                                                                                                                                                                 by                                                  Fluorsfactn                                                                                                                                                                                                                                                                                                                                 Products                                                                                                                                                                 I‘ltha                                                                                             wer                                                                                                               design,

                                                                           manufctred,                                                                                                                                                                                                                                                                           marketd,                                                                                                                                                                                                                            sold                                                                                                              and/or                                                                                                                         distrbue                                                                                                                                                                                                                            by                                                                                    Defndats,                                                                                                                                                                                                                                          and                                                                     wh1ci>I                                                                                                                                      wer                                                                                                                    defctivly

                                                                                                              design,                                                                                                         di                                                                                                                           not                                                                                                include                                                                                                                                                                  suficent                                                                                                                                                                                           instruco,                                                                                                                                                                                                                                                            and                                                                                 di                                                                                not                                                                                                             include                                                                                                                                              sulﬁident                                                                                                                                                                                                   warnmg                                                                                                      of

                                                        potenial                                                                                                                                           safety                                                                                                                                                           hazrds                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1

                                                                                                                                                          64                                                                                                                                                            Defndats’                                                                                                                                                                                                                                                      Fluorsfactn                                                                                                                                                                                                                                                                                                                                        Products                                                                                                                                                                                                          di                                                  not                                                                              perfom                                                                                                                                                                                     as                                                   saiely                                                                                                                                                   as                                                 ian                                                                   ordinay

                                                                           consumer                                                                                                                                                would                                                                                                                                                                                    have                                                                      expctd                                                                                                                                                                                                                                                        them                                                                                                  to                                                     perfom                                                                                                                                                                                                    when                                                                                                    used                                                                                                                       or                                                              misued                                                                                                                                                                             m                                                  an                                                                       :inted                                                                                                          or

                         reasonbly                                                                                                                                                                                                         foresabl                                                                                                                                                                                                                                   way                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                !

                                                                                                                                                     65                                                                                                                                                      Defndats                                                                                                                                                                                                                                                                                               repsntd,                                                                                                                                                                                                                                                         aseitd,                                                                                                                                                                                                                                                      claimed                                                                                                                                                                                   and/or                                                                                                                                                                   warnted                                                                                                                                                                                                                             : tha                                                                                                 their
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I                                                                                                                                          I
           Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                               Products                                                                                                                                                                                                                  could                                                                                                                           be                                                          used                                                                                             in                                                                              confrmity                                                                                                                                                                                                                       with                                                                                                                 acompnyilg                                                                                                                                                                                                                                                                                   instruco                                                                                                                                                                                                 and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I
                                                                   labes                                                                                                          in                a maner                                                                                                                                                                                                                                   tha                             would                                                                                                                                                                                             not                                                               cause                                                                                                          injury                                                                                                                       or                                                    damge                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                                                                                                             i

                                                                                                                                       6                                                                                                                                 Defndats’                                                                                                                                                                                                                                                                                       Fluorsfactn                                                                                                                                                                                                                                                                                                                             Products                                                                                                                                                                                                    used                                                                                                 on                                        and/or                                                                                                                                                       in                                           the                                                                             vicnty                                                                                                                                          of                                                                              Municpal

Plaintfs                                                                                                                                                                                                            Propety                                                                                                                                                                                                                                             wer                                                        used                                                                                                                                                     in                                  a reasonbly                                                                                                                                                                                                                             foresabl                                                                                                                                                                                                                        maner                                                                                                                                                                                  and                                                             withouHc                                                                                                                                                              subtaln                                                                                                                                                                                                 change

                                                   in                                                                            the                                     condit                                                                                                                                                                                                      in                                                             whic                                                                                  they                                                                                                                                        wer                                                                                              sold                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             21

                                                                                                                        123405                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                               Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 46 of 66




                                                                                                        67                                                                                                                                                           Defndats                                                                                                                                                                                                                                                                                        knew,                                                                                                                                                                                               or                                                       should                                                                                                                                                     have                                                                                                                 know,                                                                                                                                                                                                              tha                                                         use                                                                                                                             of                                               Defnda                                                                                                                                                                is’                           Fluci1rosfatn

                                            Products                                                                                                                                     in                                          their                                                                                                                                            mtend                                                                                                                                                                                                                     maner                                                                                                                                                                                                                      would                                                                                                                            result                                                                                                                                                          in                                                                  the                                                                                                       spilage,                                                                                                                                                              discharge,                                                                                                                                                                                                   dﬂposal,                                                                                                                                                                         ]or                                                              relas                                                      of

                                 PFOA                                                                                                        and/or                                                                                                                                                                 PFOS                                                                                                                                         into                                                                      the                                                                                                                                 surface                                                                                                                                                                         water,                                                                                                                                    soil,                                                                                                            and                                                                                                                  groundwate                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I                                                                                                                                                            I

                                                                                                             68                                                                                                                                                                 Furthemo,                                                                                                                                                                                                                                                                                                                                    Defndats                                                                                                                                                                                                                                                                            knew,                                                                                                                                                      or                                                                                               should                                                                                                                                                              have                                                                                 know,                                                                                                                                                                                                       tha                                                                   their                                                         Fluorsfactn

                                            Products                                                                                                                                                 are                                                                                                                    toxic,                                                                                                                                      could                                                                                                                                                                not                                                                                                       be                                                                                          contaied,                                                                                                                                                                                                                     are                                                                                                                  persitn                                                                                                                                                                                                                   and                                                                                                                        do                                                                               not                                           realiy                                                                                                                         deigra                                                                                                                                                                  1n                 the

                                                       enViromt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i

                                                                                                        69                                                                                                                                                                                  Defndats,                                                                                                                                                                                                                                                                             with                                                                                                                                                      knowledg                                                                                                                                                                                                                                                of                                                   the                                                                                                   risk,                                                                                                                                             failed                                                                                                    to                                                  use                                                                                                                                     reasonb                                                                                                                                    e care                                                                                                      in                                                                         the                            desrgn

                                                       of                   their                                                                            Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                         Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i

                                                                                                        70                                                                                                                                                                                  Municpal                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                                                                                                   was,                                                                                                                              is                                                              and                                                                                                                                       wil                                                                                                                             contiue                                                                                                                                                                                                        to                                                                                          be                                          harmed                                                                                                                                                by                                                                                  lDefndats’

                                                       defctivly                                                                                                                                                            desrgn                                                                                                                                                                                                                                              Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                 Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ;J                                                                                                                                                   :

                                                                                                        71                                                                                                                                                                                  Defndats’                                                                                                                                                                                                                                                                                    Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                             Products’                                                                                                                                                                                                                                                                   failure                                                                                                                  to                                              perfom                                                                                                                                                                                                      safe:                                                                           y was                                                                                                                                              ia subtanil

                                            factor                                                                             in                                              causing                                                                                                                                                                               Muni01pa                                                                                                                                                                                                                                                                      Plaintf                                                                                                                                                                                                                    harm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                                          l

                                                                                                                  72                                                                                                                                                                                          The                                                                             g1avty                                                                                                                                                                         of                                                                              the                                                                                            enviromtal                                                                                                                                                                                                                                                                                                                 harm                                                                                                                                                                        resulting                                                                                                                                                                  from                                                                                                                                                   DCandlgtS’                                                                                                                                                                                       Fluorsfactn

                      Products                                                                                                                                                                was,                                                                                                                                                 is,                                                           and                                                                                      wil                                                                                                           be                                                                                           enormus                                                                                                                                                                                                                        becaus                                                                                                                                                                                                                            PFOA                                                                                                                                                 and                                                         PFOS                                                                                                                                                                                contami                                                                                                                                                                                                                                                  is;                                                                      widespra,

                      per31stn                                                                                                                                                                             and                                                                                                                       toxic                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }                                                                                                                                                          I

                                                                                                   73                                                                                                                                                                                                   The                                                                                            likehod                                                                                                                                                                                                                                                                           tha                                                                                                            this                                                                         harm                                                                                                                                          would                                                                                                                                                                              ocur                                                                                                                                   was,                                                                                    is,                                                                                             and                                                                                                wil                                                                     bie                                      very                                                                                  ligh                                                                                                    becaus

           Defndats                                                                                                                                                                                                                          knew                                                                                                                                                                                 and/or                                                                                                                                                               should                                                                                                                                                                                                  have                                                                                                               know                                                                                                                                                        tha                                                                                                                                  Defndats’                                                                                                                                                                                                                                                                                          Fluorsfa!itn                                                                                                                                                                                                                                                                                       Pioducts                                                                                                                                                       wer

toxic,                                                                                                                 could                                                                                                                        not                                                                                                  be                                                                                          contaied,                                                                                                                                                                                                                                                 and                                                                                                    do                                                not                                                                                       readily                                                                                                                                                                        degra                                                                                                                                                                                                  in                                 the                                                             enviromt                                                                                                                                                                                                                                                                            I                                                                                                                                                        !

                                                                                         74                                                                                                                                                                          At                                                                                        the                                                                                                                            time                                                                                                                                      of                                                                                     manufctre,                                                                                                                                                                                                                                                                                                         ther                                                                                                                                                                       wer                                                                                                                                    safer                                                                                                            alterniv                                                                                                                                                                                                                                         design                                                                                                                                                            iavlbe                                                                                                            to

Defndats                                                                                                                                                                                                                                                  tha                                                                                                                   wer                                                                                                                             feasibl,                                                                                                                                                                                                                                                               cost                                                                                                            efctlv,                                                                                                                                                                                                                                           and                                                                                                                   advntgeous,                                                                                                                                                                                                                                                                                                                                       includrg                                                                                                                                       not                                                                                   limng                                                                                                     PFOS,

PFOA                                                                                                                                and/or                                                                                                                                                                          their                                                                                                                  precuso                                                                                                                                                                                                                                             chemials                                                                                                                                                                                                                                  in                                          their                                                                                                          Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                       Products                                                                                                                                                                                                                                                                                                                                                                      '

                                                                                              75                                                                                                                                                                As                                                                                            a direct                                                                                                                                                     and                                                                                                                                     proximate                                                                                                                                                                                                                                             result                                                                                                                                of                                                               Defndats’                                                                                                                                                                                                                                                                     above                                                                                                                                                     describ                                                                                                                                                                                   acts                                                            amid                                                                                                         om1s5n,

                                            al                                      of                                                                whic                                                                                                                                                                                   are                                                                       violatns                                                                                                                                                                                                                                                                           of                                                                                  aplicbe                                                                                                                                                                                                                                      stae                                                                                                                                              and/or                                                                                                                                                                         fedral                                                                                                                                                                              laws,                                                                                                  Murilcpa                                                                                                                                                                                                    IPlaintf                                                                                                                   has

                                 incured,                                                                                                                                                                        contiues                                                                                                                                                                                                                                                                            to                                                     incur,                                                                                                                                                                                                            and/or                                                                                                                                                          wil                                                                                                                   incur                                                                                                                                                                                   cost                                                                                                                     and                                                                                                                     damges                                                                                                                                                                                rel'atd                                                                                                                                                Hi                                                                             the                                                     PFAS


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '

                                                                   123405                                                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       i                                                                                                                                                    l



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   l
i                                                                                                                                                         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 47i of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
                                 contami                                                                                                                                                                                                                                                                                                                            of                                                                                     its                                                            Propety,                                                                                                                                                                                                                         includg                                                                                                                                                                                                                       but                                                                                                              not                                                                         limted                                                                                                                                                          to                                                                                                      the                                                                                               mvcstifaon,                                                                                                                                                                                                                                                                                monitrg,

    treamn,                                                                                                                                                                                                                        tesing,                                                                                                                                                                                                    remdiaton,                                                                                                                                                                                                                                     removal,                                                                                                                                                                                                            and/or                                                                                                                                                                         dispoal                                                                                                                                                                   of                                            the                                                                                  PFAS                                                                                                                                                             conta’mif,                                                                                                                                                                                                                                                                                                                           operating,

              maintec                                                                                                                                                                                                                                                                                                                       and                                              consultig                                                                                                                                                                                                                                      cost,                                                                                                                                  lega                                                                                                      fes,                                                                                                         and                                                                                                       dimlshe                                                                                                                                                                                                                  proety                                                                                                                                                                                                     value                                                                                       I                                                                                                                                                             i

                                                                                                                                 76                                                                                                                                                Aditonaly,                                                                                                                                                                                                                                                                                                                      becaus                                                                                                                                                                                      Defndats                                                                                                                                                                                                                                             acted                                                                                                      with                                                                                            malice                                                                                                                                                                               in                                                               their                                                                           co                                                     scioul                                                                                                                                                                                    wilfu,                                                                                              and

                                 wanto                                                                                                                                                       disrega                                                                                                                                                                                                                         of                                                             the                                                                                        probale                                                                                                                                                                                            dangerous                                                                                                                                                                                                                               consequ                                                                                                                                                                                                                                                                                     of                                                               their                                                                                                                                         conduq'a                                                                                                                                                                                                                    its                                                                                                   foresabl

                                                                                                     impact                                                          upon                                                                                               Municpal                                                                                                                                                                                                                                                     Plaintf,                                                                                                                                                                                 Municpal                                                                                                                                                                                                                                         Plaintf                                                                                                                                                                               is                                                entild                                                                                                                                                  to                                                                   punitve                                                                                                                                                               deli                                                                              ages                                                                                              ;

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SECOND                                                                                                                                                                                                                                                      CAUSE                                                                                                                                                                                              OF                                                                                        ACTION                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                                                                                                                                 ?

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        gmlunicpa                                                                                                                                                                                                                                                                  Plaintfﬂ                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       STRIC                                                                                                                                                                                              LIABTY                                                                                                                                                                                                                                                                                                                          FAILURE                                                                                                                                                                                                                  TO                                                                                                        WARN                                                                                                                                                                                               !

                                                                                                                                      7                                                                                                                                                         Municpal                                                                                                                                                                                                                                                     Plaintf                                                                                                                                                 realgs                                                                                                                                                                                                                        and                                                                                               reafﬁms                                                                                                                                                                                                         al                               alegtions                                                                                                                                                                                                                                                                            set                                   f4)                                                                        h in                                                                                    the                                                                                                                         precding

                        parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              l                                                                                                                                                                 1

                                                                                                                                      78                                                                                                                                                        As                                                                       manufctres,                                                                                                                                                                                                                                                                                                                    distlbuor,                                                                                                                                                                                                                                                                             suplier,                                                                                                                                                                                                                         selr,                                                                                                                                    and                                                                                             markets‘                                                                                                                                                                                           of                                           Flubrosfactn

                                           Products,                                                                                                                                                            Defndats                                                                                                                                                                                                                                                                                            had                                                                                           a duty                                                                                                                              to                                                                          isue                                                                                    warnmgs                                                                                                                                                                                                                  t0                                                      Plaintfs,                                                                                                                                                                                                                   the                                                                                 public,                                                                                                     Lvater                                                                                                                                  pi‘ovders,                                                                                                                                                                                       and

                                           public                                                                                                         ofﬁcials                                                                                                                                                                                             of                                                the                                                                              risk                                                                                                                      posed                                                                                                                                    by                                                                          PFOA                                                                                                                    and                                                                                                        PFOS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                L                                                                                                                                         ;

                                                                                                                                           79                                                                                                                                                                         Defndats                                                                                                                                                                                                                                                                             knew                                                                                                                                 tha                                                                                                                                  their                                                                                                                Fluorsfactn                                                                                                                                                                                                                                                                                                                                                               Products                                                                                                                                                                                                                  WC!)                                                                                     Id                                              be!                                                                                                                                            purchased,

                                                       transpoed,                                                                                                                                                                                     stored,                                                                                                                                                                                                          handle,                                                                                                                                                                                  and                                                                      used                                                                                                                       withou                                                                                                                                                                  notice                                                                                                                        of                                                                     the                                         hazrds                                                                                                                                                                                                     tha                                                                                      PFOL                                                                                                              and                                                                      PIFOS                                                                                                                                                           pose                                  to

                                                       human                                                                                                                healt                                                                                                                                                                 and                                                                  the                                                                               enviromt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                             I

                                                                                                                                                80                                                                                                                                                         Defndats                                                                                                                                                                                                                                                            knew,                                                                                                    or                                                                                                            should                                                                                                                        have                                                                                                                                    know,                                                                                                                                                                      tha                                                        use                                                                                                    of                                                                DefndarTs’                                                                                                                                                                                                                                   Flubrosfactn

                                                                    Products                                                                                                                               in                                                   their                                                                                                                                    mtend                                                                                                                                                                                                                      maner                                                                                                                                                                                 would                                                                                                                                 result                                                                                                                                                        in                               the                                                                                           relas                                                                                                                                                  of                                                              PFOA                                                                                                                                         a ‘ d/or                                                                                                                         FEDS                                                                                                                                                                     into                                             the

                                                                                                              surface                                                               water,                                                                                                                                                              501,                                                                                                     and                                                                            groundwate                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ‘                                                                                                                                                     ;

                                                                                                                                                     81                                                                                                                                                                          Defndats                                                                                                                                                                                                                                                        breachd                                                                                                                                                                                                                                 their                                                                                                           duty                                                                                                                              to                                                           warn                                                                                                                            by                                                                 unreasobly‘                                                                                                                                                                                                                                                                                                                        failng                                                                                                                                                                                      to                                                      provide

                                                                                         Plaintfs,                                                                                                                                           public                                                                                                                                                                               ofﬁcials,                                                                                                                                                                                                         purchase,                                                                                                                                                                                                                                       downstream                                                                                                                                                                                                                                                                                 handlers,                                                                                                                                                                                                                      and/or                                                                                                                                                                    the                                                                          enral‘                                                                                                                                                       public                                                                                                           with

                                                                               warnigs                                                                                                                                     about                                                                                                                                                       the                                                                                       potenial                                                                                                                                                                             and/or                                                                                                                                                                                                 actul                                                                                                                                      contami                                                                                                                                                                                                                                                                                                         of                                                             the                                                                                                    enviro‘’lt                                                                                                                                                                                                                                     by                                                                                                                                PFOA                                                                                   and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               23                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i

                                                                                                                        123405                                                                         1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        l                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                             Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 48 of 66


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !
                                                 PFOS,                                                                                                                                                                                      despit                                                                                                                                                                                     Defndats                                                                                                                                                                                                                                                                                 knowledg                                                                                                                                                                                                                     tha                                                                                                       PFOA                                                                                                                                                                        and                                                                                PFOS                                                                                                                                                wer                                                                                                     real                                                                                                                         an                                                                                                    potenial                                                                                                                                                                                                                                                                                   threas                                                                      to

                                                         human                                                                                                                                                                      healt                                                                                                                                                        and                                                                                           the                                                                   enviromt                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                                                                                  l

                                                                                                                                                                                    82                                                                                                                                                                           Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                           Products                                                                                                                                                           purchased                                                                                                                                                                                                                                                                              or                                                                         otherwis                                                                                                                                                                                                             acquired                                                                                                                                                                                                    from                                                                                                                     Defndats                                                                                                                                                                                                                                                                                        wer

                                                                 used,                                                                                                                                          discharge,                                                                                                                                                                                                                                                            and/or                                                                                                                                        relasd                                                                                                                                                                                                   at                                      and/or                                                                                                                                       in                                                                                                the                                                  vic1nty                                                                                                                                                        of                                                     Municpal                                                                                                                                                                                                                                          Plainb‘f’s                                                                                                                                                                                                                            Pr4pety

                                                                                                                                                                                         83                                                                                                                                                                                    Defndats’                                                                                                                                                                                                                                                                                                        Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                   Products                                                                                                                                                                                                                                          wer                                                                                                                        used                                                                                                              in                                                                              a                                                    reaﬂonblyé                                                                                                                                                                                                                                                                                                                                       foresabl

                                                                         maner                                                                                                                                                                                and                                                        withou                                                                                                                                                                                                    subtanil                                                                                                                                                                                                                                                changes                                                                                                                                                                 in                                                                  the                                                                                                     condit                                                                                                                                                                                        in                                                          Wth                                                                                                                                      the                                                          ProducUs                                                                                                                                                                                                                                         wer                                                                                                                                                Lold

                                                                                                                                                                                              84                                                                                                                                  Defndats’                                                                                                                                                                                                                                                                                                                  Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                     Products                                                                                                                                                                                                           used                                                                                                            on                                                                                          and/or                                                                                                           in                                                                                            the                                                                              vFlcmity                                                                                                                                                                                      c!)f                                                                                                                    Municpal

                                                                                 Plaintf’s                                                                                                                                                                                                  Propety                                                                                                                                                                                                                                           wer                                                                                                                          defctiv                                                                                                                                                                                                                    in                         design                                                                                                                                                                                                                      and                                                                      unreasobly                                                                                                                                                                                                                                                                                                                dangerous;                                                                                                                                                                                                                                              for                                                                                      the!                                                                                                                                     reason                                                                                                                                      set

                                                                                                                                         forth                                                          above                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ;                                                                                                                                                                                                     E

                                                                                                                                                                                                   85                                                                                                                                         Despit                                                                                                                                                                                                           the                                                                                    know                                                                                                                                                                                                  and/or                                                                                                      foresabl                                                                                                                                                                                                                                                                                                               enviromtal                                                                                                                                                                                                                                                                                                and                                                                                                                        hulman                                                                                                                                                                                     heialt                                                                                                                                                                                                    hazrds

                                                                                                                                                 asocited                                                                                                                                                         with                                                                                                                                  the                                                                                              use                                                                                 and/or                                                                                                                                                                      dispoal                                                                                                                                                                     of                                                                                         Defndats’                                                                                                                                                                                                                                                                            Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                       lﬂroducts:                                                                                                                                                                                                                                                                             on                                                                  or                               near

                                                                                                    Municpal                                                                                                                                                                                          Plaintf’s                                                                                                                                                                                                                                                                 Propety,                                                                                                                                                                                                                        mcludg                                                                                                                                                                                                  contami                                                                                                                                                                                                                                                                                                                                   of                                                            Mun1cpa                                                                                                                                                                                                                                                          Pla                                                                                                    1tf’s                                                                                                                                        Propety                                                                                                                                                                                                                with

                                                                                             PFOA                                                                                                                                                    and/or                                                                                                                                                           PFOS,                                                                                                                                                                Defndats                                                                                                                                                                                                                                                                         failed                                                                                                                        to                                                                                                              prov1de                                                                                                                                                                                      adequt                                                                                                                                                                                   warnigs                                                                                                                                                                                                                                               0:]                                                                       or                                                                      take                                                                                                                                                                                              any                                 other

                        p1 ecautionry                                                                                                                                                                                                                                                                                                                                                                  measur                                                                                                                                                                                                    to                                                                  m1tigae,                                                                                                                                                                                                 those                                                                                         hazrds                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  |
                                                                                                                                                                          86                                                                                                                                                                           In                                                                                                     particul,                                                                                                                                                                                                                                                                                Defndats                                                                                                                                                                                                                                                failed                                                                                                                                                                                              to                                                       describ                                                                                                                                                                                                                      such                                                                                                                     hazrcis                                                                                                                                                                                                                                        or                                                                            1:)rovde                                                                                                                                                                                                                   any

                        precautiony                                                                                                                                                                                                                                                                                                                                                                                           staemn                                                                                                                                                                                                                                                                          regadin                                                                                                                                                                                      such                                                                                                                                         hazrds                                                                                                                                                                                                         in                                                                         the                                                                                                             labeing                                                                                                                                                                                                     of                                                                              thﬂir                                                                                                                   F1u(!)rosfactn

                                      Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {

                                                                                                                                                                               87                                                                                                                                                                           As                                                                                         a direct                                                                                                                                                               and                                                                                                          proximate                                                                                                                                                              result                                                                                                                                                                                                                  of                       Defndats’                                                                                                                                                                                                                                                              above                                                                                                                                   describ}                                                                                                                                                                                                                                    acts                                                                                                      an:d                                                                                                                                             omisn,

                                                                                                               al                                                    of                                                      whic                                                                                                                                                                               are                                                                                  violatns                                                                                                                                                                                                                                                     of                                                               aplicbe                                                                                                                                                                                                                                               stae                                                                                                                           and/or                                                                                                                                         fedral                                                                                                                                                                           laws,                                                                                                                                          Muhicpal                                                                                                                                                                                                                                                                  lPaintf                                                                                                                                                                                                        has

                                                                                                                    incured,                                                                                                                                            contiue                                                                                                                                                                                                                                                                     to                                                                mcur,                                                                                                                                                       and/or                                                                                                                                   wil                                                                                                                                                                              incur                                                                                                                                        cost                                                                                                                                      and                                                                                          damges                                                                                                                                                                                                                                              rel‘Ltd                                                                                                                                                                                    to'                                                                                                                                 the                                                                 PFAS

                                                                                                                               contami                                                                                                                                                                                                                                                                                                            of                                                                         its                                                                      Propety,                                                                                                                                                                                                                                    includg                                                                                                                                                                                                        but                                                                                                                               not                                                                                limted                                                                                                                                                                                         to                                                     the                                                                                             investgao,'mr1

    treamn,                                                                                                                                                                                                                                                                       tesing,                                                                                                                                                                                                                       remdiaton,                                                                                                                                                                                                                                                                           removal,                                                                                                                                                                      and/or                                                                                                                                                                                      dispoal                                                                                                                                                                       of                                                           the                                                                                             PFAS                                                                                                                                                     coma”                                                                                                                                                             inat0f1,                                                                                                                                                                                                                                                operating,

              maintec                                                                                                                                                                                                                                                                                                                                                                      and                                                                            consultig                                                                                                                                                                                                                                     cost,                                                                                                                                        lega                                                                             fes,                                                                                                                                                          and                                                                                  dimnshe                                                                                                                                                                                                                                  proety                                                                                                                                                                  value                                                                                                                                                                                                                                                                                                                                                                            I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        24                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                            123405                                                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 k
                                                                                                                                                                              Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 49 of 66




                                                                                                                                            8                                                                                                                                                                                      Aditonaly,                                                                                                                                                                                                                                                  becaus                                                                                                                                                                                        Defndats                                                                                                                                                                                                                                  acted                                                                                                  with                                                                                                                       malice                                                                                                       in                                          their                                                                                                          co                                                                  serou,                                                                                                                  wilfu,                                                                                                                       and

                                                                                             wanto                                                                                                        disrega                                                                                                                                                                                                  of                                      the                                                                       probale                                                                                                                                                                                                                      dangerous                                                                                                                                                                                                                    consequ                                                                                                                                                                                                                                                                                               of                                              their                                                                                condul]y                                                                                                                                                                            and                                           its!                                                                                  foresabl

                                                                                                     impact                                                                                    upon                                                                  Municpal                                                                                                                                                                                         Plaintf,                                                                                                                                                                                                                           Municpal                                                                                                                                                                                                                     Plamtf                                                                                                                                                                            1s                                                                   entild                                                                                                                            to                                 punitve                                                                                                                                                                                      dag                                                                           ages                                                        l

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        THIRD                                                                                                                                                                                               CAUSE                                                                                                                                                                                       OF                                                                     ACTION                                                                                                                                                                                                                                                                                                                                                                                                                        :                                                                                                                       I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             gMunicpal                                                                                                                                                                                                                                       Plaintfﬂ                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;                                                                                                                       :

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    NUISACE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                                                                                           !

                                                                                                                                       89                                                                                                                                                                       Municpal                                                                                                                                                         Plaintf                                                                                                                                                                                                        realgs                                                                                                                                                                                                        and                                                                                                 reafﬁms                                                                                                                                                                                                                   al                                           alegtions                                                                                                                                                                                 set                                                                                    fq                                                                 h in                                                  the                                                                                   precding

                                                                      parghs

                                                                                                                                  90                                                                                                                                                     Defndats                                                                                                                                                                                                                                                                    design,                                                                                                                                                                                                                                   manufctred,                                                                                                                                                                                                                                                                                                   distrbue,                                                                                                                                                                                                                                                          marketd,:                                                                                                                                                                                                                           and/or                                                                                                                                   sold                                                                           their

                                           Fluorsfactn                                                                                                                                                                                                                                                                                                                              Products                                                                                                                                                                                                            1                                        a maner                                                                                                                                                                                                                              tha                                                               creatd,                                                                                                                                                                          or                                                                                      particed                                                                                                                                                                                                            in                                  creatmg,                                                                                                                                                                      a rilusance                                                                                                                                                                                  tha

                                                         unreasobly                                                                                                                                                                                                                                                                                      endagrs                                                                                                                                           or                                                                                               injures                                                                                                                                         the                                                                                                   proety,                                                                                                                                                                           healt,                                                                                                                                                  safety,                                                                                                                 and                                                                     comfrt                                                                                                                                                             otf                                                                  the                            genral                                                                                                                                                  public

                                                                               and                                                              Municpal                                                                                                                                                                                                                 Plaintf,                                                                                                          causmg                                                                                                                                                                              incove                                                                                                                                                                                                                                                                                                                                            and                                                                         anoyce                                                                                                                                                                                                                                                                                                                                                                                                                                                                              J                                                                                                                           |

                                                                                                                             91                                                                                                                                                                     Defndats,                                                                                                                                                                                                                                                   by                                                            their                                                                                                                                           neglit,                                                                                                                                                                                                 reckls                                                                                                                                                                                                          and                                                                         Wlfu                                                                                                                               acts                                                                           andvomis                                                                                                                                                                                                                                                                                        set                                             forth

                                                                                     above                                                                                    have,                                                                                                                                        among                                                                                                       other                                                                                                                                   things,                                                                                                                                           knowigly                                                                                                                                                                                                                                  unleashd                                                                                                                                                                                                                                                              long                                                     lastmg                                                                                                                                               and                                                                       onLig                                                                                                                                              PFOA                                                                                                                                  and/or

                                  PFOS                                                                                                                              contami                                                                                                                                                                                                                                                                          and                                                                                       threa                                                                                                             of                                                                         contami                                                                                                                                                                                                                                                                                                                     to                                   Municpal                                                                                                                                                                                              Plaintf‘s                                                                                                                                                                                   ProwLety                                                                                                                                                                                                  .

                                                                                                                        92                                                                                                                                                      Actual                                                                                                                                  and                                                                                     threand                                                                                                                                                                                                                                                                                 PFOA                                                                                                                                   and/or                                                                                                                                                 PFOS                                                                                                                                                     contami                                                                                                                                                                                                                                                    caused                                                                                                                          by                                                                     Defndats’

                                  condut                                                                                                                                                                            has                        caused,                                                                                                                                                                                         and                                                                        contiues                                                                                                                                                                                                                                                      to                                               cause,                                                                                                                   injury                                                                                                                                     to                                                         Munic1pal                                                                                                                                                                                           Plaintf                                                                                                                                                                                  in                              the                                                       for1l                                                                                                                of                    presnt

                       and                                                                                                                                 seriou                                                                    interfc                                                                                                                                                                                                                                                        with                                                                                                                                   the                                                                      use,                                                                                                                          benﬁt,                                                                                                                                                 and/or                                                                                                                                      enjoymt                                                                                                                                                                                                 of                                                             its                                            Prope                                                                                                                                                             y in                                           a way                                                                                                                  tha                                                          an

                       ord1nay,                                                                                                                                                                                           reasonbl                                                                                                                                                                                            person                                                                                                                                                                                  would                                                                                                                           ﬁnd                                                                                                                   is a subtanil                                                                                                                                                                                                                                                                                           incove                                                                                                                                                                                                                                                                           and                                                           an;                                                                     oyance;

                                                                                                                   93                                                                                                                                                           The                                                                                                            nu1sace                                                                                                                                                                                   tha                                                          Defndats                                                                                                                                                                                                                                                      have                                                                                                                                     inﬂlcted                                                                                                                                                                                   upon                                                                              Municpal                                                                                                                                                                                                    Plintf                                                                                                                                is                                                        subtanil,

unreasobl,                                                                                                                                                                                                                                                                                                                                                         and                                   inteoal                                                                                                                                                                                                                      or                              neglit                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             l                                                                                                                                   E

                                                                                                              94                                                                                                                                         Defndats’                                                                                                                                                                                                                                                                                     condut                                                                                                                                                              has                                                                                                                             also                                                            injured,                                                                                                                                                                          and                                                                                                      contiues                                                                                                                                                             to                                                        injure,                                                                                                                         l e proﬁety,                                                                                                                                                                                                                        healt,

             safety,                                                                                                                                                                  and/or                                                                                                                                                    comfrt                                                                                                           of                                                       a considerabl                                                                                                                                                                                                                                                                                                                                      number                                                                                                                                                            of                                            person                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            25

                                                         123405                                                                                                                                       1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                   l
                                                                                                                                         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 50 of 66




                                                                                           95                                                                                                                                  Defndats                                                                                                                                                                                                                                                                               knew                                                                                                                                  or,                                                                                                           in                                                            the                                                                      exrc1s                                                                                                                                                                                                                                       of                                                             reasonbl                                                                                                                                                                                                                                                            care,                                                                                                                                               should                                                                                                                                                       have                                                             kniow                                                                                                                                                                                                    tha                                            the

use                                                                                                                 and                                              introduc                                                                                                                                                                                                                                                                       of                                                                                          their                                                                                                             Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                                            Products                                                                                                                                                                                                                                into                                                                                                              the                                                                                                                           enviroﬂt                                                                                                                                                                                                                                                  would                                                                                                                                                                                                      and                                      has

                  contiusly,                                                                                                                                                                                                                                                                                         unreasobly                                                                                                                                                                                                                                                                                      and                                                                                                                        seriouly                                                                                                                                                                                                                               endagr                                                                                                                                                                                                                                                                                                                         and                                                                                       interfd                                                                                                                                                                                                                                                                           with                                                                                                            ":the                                          ordinay                                                                                                                                                                                                                          safety,

use,                                                                                                                      benﬁt,                                                                                         and                                                                                                                                 enjoymt                                                                                                                                                                                                               of                                                            Municpal                                                                                                                                                                                                                                                                           Plaintf’s                                                                                                                                                                                                                                                                      Propety                                                                                                                                                                                                                   by                                                                   Municpal                                                                                                                                                                                                                                                           Palintf                                                                                                                                                         i

                                                                                                96                                                                                                                                                   As                                                                                                    a direct                                                                                                                                             and                                                                             proximate                                                                                                                                                                                                                                                        result                                                                                                                                                             of                                                                       Defndats”                                                                                                                                                                                                                                                                                                               above                                                                                                                                              describt                                                                                                                                                                                                                              acts                                                                            amid                                                                                                            omisn,

                               al                                                               of                                       whic                                                                                                                                                                                     are                                                            Violatns                                                                                                                                                                                                                           of                                                                                                aplicbe                                                                                                                                                                                                                                                                   stae                                                                                                                                                          and/or                                                                                                                                                             fedral                                                                                                                                                                                                          laws,                                                                                                                                                   Muicpal                                                                                                                                                                                                                         gPlaintf                                                                                                                                                                    has

                                         incured,                                                                                                                                            contiues                                                                                                                                                                                                                                          to                                                                            incur,                                                                                                                                                                      and/or                                                                                                                                                                            wil                                                                                                                                           1ncur                                                                                                                                                                                          cost                                                                                                                                           and                                                                                                               damges                                                                                                                                                                                                                                    reilatd                                                                                                                                                                  K!)                                                                                         the                                                                                 PFAS

                               contami                                                                                                                                                                                                                                                                                                                of                                                                 its                             Propety,                                                                                                                                                                                                                                                                                               includg                                                                                                                                                                                                                                   but                                                                                                                                 not                                                                                                                       limted                                                                                                                                                                                     to                                                                                      the                                                                                                        investgao,                                                                                                                                                                                                                                                                                                monitrg,

                               treamn,                                                                                                                                                                  tesing,                                                                                                                                                                                             remdiaton,                                                                                                                                                                                                                                                                   removal,                                                                                                                                                                                                                                               and/or                                                                                                                                                                              dispoal                                                                                                                                                                                                 of                                                                            the                                                                                                PFAS                                                                                                                                                                        contai,                                                                                                                                                                                                                                                                                                                       operating,

                                         maintec                                                                                                                                                                                                                                             and                                                                                consultig                                                                                                                                                                                               cost,                                                                                                                                                                                  lega                                                                                                 fes,                                                                                                                                      and                                                                                                                   dimnshe                                                                                                                                                                                                                                                                                       proety                                                                                                                                                                                                      value                                                                                                                                                       1

                                                                                                     97                                                                                                                                                   Aditonaly,                                                                                                                                                                                                                                                                                             becaus                                                                                                                                                                                                                                    Defndats                                                                                                                                                                                                                                                                acted                                                                                                                                                                 w1th                                                                                                           malice                                                                                                                                                                                           in                                                 their                                                                                                       coimswu,                                                                                                                                                                                                                                           wilfu,                                                                                                                  and

                               wanto                                                                                                                   disrega                                                                                                                                                                                                                              of                                           the                                                                                          probale                                                                                                                                                                                                                                         dangerous                                                                                                                                                                                                                                                  consequ                                                                                                                                                                                                                                                                                                                                                                        of                                                       their                                                                                                                                              condui                                                                                                                                                                                        and                                                                        its;                                                                           foresabl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1
                                                                  impact                                                                        upon                                                                                      Municpal                                                                                                                                                                                                                        Plaintf,                                                                                                                                                                                                                                         Municpal                                                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                                                             is                                   entild                                                                                                                                                                               to                                                                 punitve                                                                                                                                                                                                     dainges
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FOURTH                                                                                                                                                                                                                                                                                  CAUSE                                                                                                                                                                                                                                 OF                                                                                             ACTION                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       l                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3 Municpal                                                                                                                                                                                                                                                                                                           Plaintfﬂ                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ;                                                                                                                          i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         TRESPA                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i                                                                                                                                  I

                                                                                                          98                                                                                                                                                                      Municpal                                                                                                                                                                                           Plaintf                                                                                                                                                                                                                      realgs                                                                                                                                                                                                                                          and                                                                                               reafﬁms                                                                                                                                                                                                                                                            al                                                    alegtions                                                                                                                                                                                                                                                                                                             set                                                      f()rth                                                                          in                                                                    tlhe                                                                                                                          precding

                  parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '1

                                                                                                          9                                                                                                                                                                       Municpal                                                                                                                                                                                                     Plaintf                                                                                                                                                                                                                                                     is                                                         the                                                                        owner                                                                                                                                                                                     and/or                                                                                                                                                                                actul                                                                                                                                                                     poser                                                                                                                                                                                                                                                                   of                                                          l}/unicpa                                                                                                                                                                                                                                            Plaintf’s

                               Propety                                                                                                                                          and                                                                                                                          other                                                                                                             relvant                                                                                                                                                                                     struce                                                                                                                                                                                                                                         located                                                                                                                                                                                                                   theron                                                                                                                                                                                                                  Defndats                                                                                                                                                                                                                                                                                                knew,                                                                                                                                                                  (lir                                 in                                                    thel:                                                                                                    exrcis                                                                                                                            of

       reasonbl                                                                                                                                                                                                   care                                                                                                                                                 should                                                                                                                            have                                                                                                                            know,                                                                                                                                                                                                             tha                                                                                                                  PFOA                                                                                                                                                                                                        and/or                                                                                                                                                        PFOS                                                                                                                                                                      contamleis                                                                                                                                                                                                                                                                                                       soil                                                                                Isurface,                                                                                                                                                                       and

                                                    groundwate,                                                                                                                                                                                                                                    includg                                                                                                                                                          the                                                                                                   proety                                                                                                                                                                                                                                                  and                                                                    other                                                                                                                                             rights                                                                                                                                                                              of                                                 Municpal                                                                                                                                                                                                                                                                    Plaintf                                                                                                                                                                                                                             H                                                                                                                      i

                                                                                                               10                                                                                                                                                      Defndats                                                                                                                                                                                                                                                                         failed                                                                                                                                      to                                                                                            proely                                                                                                                                                                                                               warn                                                                                                                                                                          aginst                                                                                                                                                                      the                                                                                    use                                                                                                                                 of                                                                     Fluorsfactin                                                                                                                                                                                                                                                                                                                                                                            Products

                                                                           such                                                    tha                                                they                                                                                                                                              proximately                                                                                                                                                                                                                                                         caused                                                                                                                                                                                                          and                                                                                           contiue                                                                                                                                                                                                                                                      to                                                                       cause                                                                                                                                    PFOA                                                                                                                                                                                      and/or                                                                                                                                                              PH                                                            OS                                                    toicname


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              26

                                                                                  123405                                                                         1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                  Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 51 of 66




                                                           Municpal                                                                                                                                              Plaintfs                                                                                                                                                                                              Propety,                                                                                                                                                          includmg                                                                                                                                                                                                          but                                                                                   not                                                                                          limted                                                                                                              to                                                         their                                                                                         soil,                                                                                                                         scd1ment,                                                                                                                                                    surface                                                                                                                                                water,

                                                                                groundwate,                                                                                                                                                                                                        and                                                           other                                                                       struce                                                                                                                                                                                                    located                                                                                                                          theron                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                [                                                                                                           I

                                                                                                                                       10                                                                                                                                              The                                                             contami                                                                                                                                                                                                                                               of                                                                                                   Municpal                                                                                                                                                                             Plaintf’s                                                                                                                                                                   Propety                                                                                                                                                                                         has                                                                                                          varied                                                                                                               over                                                       time                                                                                                                           and                                       has

                           not                                                                                                              yet                               ceasd                                                                                                                                                  PFOA                                                                                                             and/or                                                                                                           PFOS                                                                                                                                                        contiue                                                                                                                                                                                                to                                                           migrate                                                                                                                        ont                                                                                         and                                                                                            entr                                                                                                                      lU/Iunicpga                                                                                                                                                                                                           Plaints

                                                 Propety                                                                                                                              The                                                                                                                contami                                                                                                                                                                                                                                is reasonbly                                                                                                                                                                                                                                                     abtle                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l                                                                                                                    i

                                                                                                                                 102                                                                                                                                      Mun1cipa                                                                                                                                                                             Plaintf                                                                                                                                                                 has                                                                                   not                                                                 consetd                                                                                                                                                                                                                     to,                                             and                                                                                        do                                                  not                                                                                           com;                                                                                                                                                                           to,                     thiEs                                                                                                                  trespa                                                                                                 or

                                                                      contami                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         E                                                                                                                               i

                                                                                                                           103                                                                                                                                 Defndats                                                                                                                                                                                                                           knew                                                            or                                                                                             reasonbly                                                                                                                                                                                             should                                                                                                                                                      have                                                                    know                                                                                                                                              tha                                                                                             Municpal                                                                                                                                                                    PIEaint1f                                                                                                                                                                   would

                 not                                                                                        conset                                                                                                          to                                                                                           this                                                            trespa                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  il                                                                                                                                             i

                                                                                                                                 104                                                                                                                                      Mun1cpal                                                                                                                                                                                             Plaintf                                                                                                                                                                                       was,                                                                                  is,                                                   and                                                                                                                               wil                                                                                            contiue                                                                                                                                      to                                                                                be                                                                             harmjed                                                                                                                                             by                                                                 Ethe                                                                                                    entry                                                   of

                                     Defndats’                                                                                                                                                                                   Fluorsfactn                                                                                                                                                                                                                                                                                                      Products                                                                                                                                                                                   ont                                                                                         its                                                                       Propety                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                !                                                                                                                           i

                                                                                                                           105                                                                                                                                 As                                                                    a direct                                                                                                                            and                                                        prox1mate                                                                                                                                                                                                      result                                                                                                         of                                                                           Defndats”                                                                                                                                                                                               above                                                                                                                                  describ                                                                                                                                                                                             acts                                               arid                                                                                                              omis1n,

                                                                      al                               of                                         whic                                                                                                                                                             a1e                                                        Violatns                                                                                                                                                                       of                                                              aplicbe                                                                                                                                                                                                                 stae                                                                                                                            and/or                                                                                                       fedral                                                                                                                                                           laws,                                                                                                                                             Mulricpa                                                                                                                                                                                         iPlantf                                                                                                                      has

                                                                      mcured,                                                                                                               contiues                                                                                                                                                                                                              to                                                                     incur,                                                                                                     and/or                                                                                                                                                               wil                                                                                                    mcur                                                                                                                             cost                                                                                                           and                                                                         damges                                                                                                                                                                                                                       negatd                                                                                                                 Ki)                                                                                              the                                                                  PFAS

                                     contami                                                                                                                                                                                                                                                                                    of                                                                    its                         Propety,                                                                                                                                                                                                   includg                                                                                                                                                                                           but                                                                                                                   not                                                                         limted                                                                                                                              to                                                           the                                                                                           invest’gao                                                                                                                                                                                                                                            i monitrg,

                 treamn,                                                                                                                                                                               tesing,                                                                                                                                                                           remdiaton,                                                                                                                                                                           removal,                                                                                                                                                                                         and/or                                                                                                                                                                      dispoal                                                                                                                           of                                                  the                                                                 PFAS                                                                                                                                                         cont%lmia!,                                                                                                                                                                                                                                                                                              operatmg,

                           maintec                                                                                                                                                                                                                                                           and                                            consultg                                                                                                                                                                        cost,                                                                                                                                                   lega                                                                    fes,                                                                                            and                                                                                                            dimnshe                                                                                                                                                                             proety                                                                                                                                                                   value                                                                                                                                    t                                                                                                                                              E

                                                                                                                     106                                                                                                                                                  Aditonaly,                                                                                                                                                                                                                               becaus                                                                                                                                                                              Defndats                                                                                                                                                                                                                   acted                                                                                                   with                                                                         malice                                                                                                                           1n                                              their                                                                                                                   coinsu                                                                                                                                                                                              wilfu,                                                                                                   and

         wanto                                                                                                                                                  disrega                                                                                                                                                                                                  of                                 the                                                                                          probale                                                                                                                                                                           dangerous                                                                                                                                                                                   consequ                                                                                                                                                                                                                                              of                                                 their                                                                                                            conduIt                                                                                                                                                                                        and                                          i                                                                                foresabl

impact                                                                                                                                                   upon                                                                                  Mun1cpalPitf,                                                                                                                                                                                                                                                                                                                                                      Municpal                                                                                                                                                                                                     Plaintf                                                                                                                                                                                  is                                          entild                                                                                                                to                                            punitve                                                                                                                                                                                                   dalegs                                                                                                                                   I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             II i1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             27                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              l                                                                                                                                    i
                                                                                              123405                                                                      1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                       Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 52 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            * 1                                                                                                                                                                                                             |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           II

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     FITH                                                                                                                                                               CAUSE                                                                                                                                                                                                                          OF                                                                          ACTION

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   W                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NEGLIC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                                                                               |
                                                                                                                                     107                                                                                                                                                Municpal                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                        realgs                                                                                                                                                                                                                         and                                                                     reafﬁms                                                                                                                                                                                                                     al                                                                                    alegtions                                                                                                                                                                                                              set                                                    f(?rth                                                                                                                                               in                                                                the                                                                                                 precdmg

palgrhs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I                                                                                                                                                                                                           I

                                                                                                                                           108                                                                                                                                          As                                                                       manufctres,                                                                                                                                                                                                                                                                                                                                                reﬁns,                                                                                                                                                                                                            formulats,                                                                                                                                                                                                                                                                         distrbuo,                                                                                                                                                                                                                                                                                                suplier                                                                                                                                                                                                  selr‘,                                                                                                                                                                                         markets,

                                                                                    shiper,                                                                                                        and/or                                                                                                                                                                                handlers                                                                                                                                                                                     of                                                                           Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                               Products,                                                                                                                                                                                                                         Defndats                                                                                                                                                                                                                                                                owed                                                                                                                     EL duty                                                                                                                                                                         Io                                                                           Municpal

          Plaintf,                                                                                                                                                                                          as                                                                                                                    wel                                                                                                    as                                                                             to                                                                          al                                                                                                       person                                                                                                                                                                              Whom                                                                                                                                                                                                   Defndats’                                                                                                                                                                                                                                                                                       FluorsfactIm                                                                                                                                                                                                                                                                                                                                                                                                     PloIducts                                                                                                                                                                                                                               might

                               foresably                                                                                                                                                                                                                   harm,                                                                                                                                                                    to                                    exrcis                                                                                                                                                                                                                  due                                                                  care                                                                                      in                                                                                                  the                                                               instrucg,                                                                                                                                                                                                                                                                       labemg,                                                                                                                                                                                 and                                                                                warIEmg                                                                                                                                                                                                                                    of                                 Ithe                                                                                                              handlig,

                                                                                    contrl,                                                                             use,                                                                                                      and                                                                                          dispoal                                                                                                                                                                    of                                                          Defndats’                                                                                                                                                                                                                                                                                 Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                      Products                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                                                                               I

                                                                                                                                                 109                                                                                                                                               Despit                                                                                                                                                                                 the                                                                                  fact                                                                                                                                   tha                                                               Defndats                                                                                                                                                                                                                                                                                                                                knew                                                                                                                          tha                                                                                                                PFOA                                                                                                                                                                            and                                                                        P708                                                                                                                                                                                                                   arIe                                                             toxic,                                                                                                                                              can

                                                                        contamie                                                                                                                                                                                                                                soil                                                                                              and                                                                                water                                                                                                                                     resouc,                                                                                                                                                                                                                               and                                                                                                                             presnt                                                                                                                                                             signﬁcat                                                                                                                                                                                                                                            r1sk                                                                                                                                       to                                          huIman                                                                                                                                                                                                                  healt                                                                                                                                                                         and                                                  the

                                                                        env1rot,                                                                                                                                                                                                                                       Defndats                                                                                                                                                                                                                                neglity                                                                                                                                                                                                                                                                       (a)                                                                                                           design,                                                                                                                                                                                                 manufct1ed,                                                                                                                                                                                                                                                                                                                   formulatid,                                                                                                                                                                                                                                                handle,                                                                                                                                                                                                                                                             labed,

                                                                        mstruced,                                                                                                                                                contrled,                                                                                                                                                                                                                                                                   marketd,                                                                                                                                                                                                                                       promted,                                                                                                                                                                                                                                                          and/or                                                                                                                                             sold                                                                                                                                                                  Fluorsfactn                                                                                                                                                                                                                                                                                                             I’roducth;                                                                                                                                                                                                                                                                               (b)                                                                              isued

                                                             instruco                                                                                                                                                                                                        on                                                                 how                                                                                                         Fluorsfactn                                                                                                                                                                                                                                                                                                                                                 Products                                                                                                                                                                                                                                                               should                                                                                                                       be                                                                                  used                                                                                                                  and                                                                                    dispoec:1I                                                                                                                                                                                of,                                                                                                           thuIs                                                                               improely

                     permltg                                                                                                                                                                                     PFOA                                                                                                                                                                                    and/or                                                                                                                        PFOS                                                                                                                                                             to                                           entr                                                                                                             and                                                                                                        contamie                                                                                                                                                                                                                                                                           Municpal                                                                                                                                                                                                       Plaint1f‘Is                                                                                                                                                                                                                                         PropeIty;                                                                                                                                                                                                                                                             (0)                                                         failed

                     to                                                                                                       warn                                             the                                                           user                                                                                                                                                   of                                        Fluorsfactn                                                                                                                                                                                                                                                                                                                                                    Products                                                                                                                                                                                                                                                    of                                                                 the                                                          dangers                                                                                                                                                                                   of                                              $01                                                                                                     and                                                     WEIter                                                                                                                                                     contIami                                                                                                                                                                                                                                                                                                                    as

                                                                                                           a result                                                                  of                                 standr                                                                                                                                                                                                                use                                                                                             and                                                                                                        dispoal                                                                                                                                                                        of                                                                                    thes                                                                                                                                                 products,                                                                                                                                                                                                              and                                                                           (d)                                                                    failed                                                                                                                                       andI                                                                                        refusd                                                                                                                                                                                                      to                                                                                             isue                                                                             the

                                                                                                           aproite                                                                                                                                                 warnigs                                                                                                                                                                                                                      to                                                  the                                                                                                                          user                                                                                              of                                                              Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                                                                      Products                                                                                                                                                                            regadinI                                                                                                                                                                                                                                 the                                                                                                                              prcI)e                                                                                                                                                                  use                                                     and

                                                                                                           dispoal                                                                            of                                                    thes                                                                                                                                                                products,                                                                                                                                                                        notwihsadg                                                                                                                                                                                                                                                                                                                                                                                            the                                                                                                       fact                                                                      tha                                                                                                                                      Defndats                                                                                                                                                                                                                          knewI,                                                                                                                                         or                                                                              could                                                                                                                                                                      detrmin

                                           with                                                                                                             reasonbl                                                                                                                                                                                  certamy,                                                                                                                                                                                                           the                                                                                                            idently                                                                                                                                    of                                                      the                                                                                                      purchase                                                                                                                                                                                                                                             of                                                                                 their                                                                      FluorsfacInt                                                                                                                                                                                                                                                                                                                                                                          Prolducts

                                                                                                                                                       10                                                                                                                                                   A                                         reasonbl                                                                                                                                                                                                                                                                    manufctre,                                                                                                                                                                                                                                                                                                                                                selr,                                                                                                                                                 or                                                                                         distrbuo,                                                                                                                                                                                                                                                               under                                                                                                                                  tlIe                                                                                                      samIe                                                                                                                                                                  0r                                                                                                s1milar

                                                                                              cirumstane                                                                                                                                                                                                                                would                                                                                                                                      have                                                                                                    warned                                                                                                                                                                             of                       the                                                                                                                           danger                                                                                                                                                                         or                                 instruced                                                                                                                                                                                                                              on                                                         the                                                                                        safe                                                                    usIe                                                                                                  of                                                     Flqurosfactn

                                                  Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I                                                                                                                                                                                                               I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              28                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                                                                            I

                                                                                                                     123405                                                               1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I                                                                                                                                                                                                                                I
                                                                                                                                                  Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 53 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i


                                                                                                                                   1                                                                                                                                     Municpal                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                was,                                                                                                                             is,                                                                                                  and                                                                                                                       wil                                                                                                     contiue                                                                                                                                                      to                                                                   be                                                                                  baned                                                                                                                                                                  by                                                                                                     I Defndats’

                                                       Fluorsfactn                                                                                                                                                                                                                                                                                 Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i

                                                                                                                                   12                                                                                                                                                                Defndats’                                                                                                                                                                                                                             failure                                                                                                     to                                                                                     warn                                                                                                  or                                                     instruc                                                                                                                                                                                           was                                                                              a subtanil                                                                                                                                                                                                                              factor                                                                                                                                                         in                                               causihg                                                                                                                                                                                Municpal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                       Plaintf”                                                                                                                       harm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "                                                                                                                                           ‘5
                                                                                                                                             13                                                                                                                                          Defndats’                                                                                                                                                                                                                                                   condut                                                                                                                                                                          lacked                                                                                                                             any                                                                                                                                 care                                                                                                   and                                                                        was                                                                              an                                                              extrm                                                                                                                                                                           de!partu                                                                                                                                                                                                                                  ifrom                                                                                                        what                                     a

                reasonbly                                                                                                                                                                                         careful                                                                                                                                                                                                       company                                                                                                                                                              would                                                                                                                                                                      do                                in                                                          the                                                                                                                    same                                                                                                                       situaon                                                                                                                                             to                                                                 prevnt                                                                                                                                                          hai’m                                                                                                                                    to                         others                                                                                                                                                                               and                                      the

                                                                                                   enviromt,                                                                                                                                                                                                           and                                                thus                                                                               Defndats                                                                                                                                                                                                                                              wer                                                                                                 grosly                                                                                                                                                                                                   neglit                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '                                                                                                                           i

                                                                                                                                        14                                                                                                                                          As                                                        a direct                                                                                                                                                  and                                                                              proximate                                                                                                                                                                                                result                                                                                                                                                            of                                                                   Defndats’                                                                                                                                                                                                           above                                                                                                                                 describfl                                                                                                                                                                                                                       acts                                        ald                                                                                                                                                  omisn,

                                                                               al                              of                                         whic                                                                                                                                                               are                                                      Violatns                                                                                                                                                                                                               of                                                                  aplicbe                                                                                                                                                                                                                                                               stae                                                                                                                                         and/or                                                                                                    fedral                                                                                                                                                                       laws,                                                                                                           Mui‘ﬂcpal                                                                                                                                                                                                                         iPlamtf                                                                                                                                                               has

                                                                               incured,                                                                                                      contiues                                                                                                                                                                                                                                                   to                                                              incur,                                                                                               and/or                                                                                                                                                                                             wil                                                                                                                                      incur                                                                                                                                           cost                                                                                                   and                                                                             damges                                                                                                                                                                                                                               relatd                                                                                                                                         tlo                                                                                                                       the                                                                     PFAS

                                                                     contami                                                                                                                                                                                                                                                             of                                                                               its                                           Propety,                                                                                                                                                                                                           includg                                                                                                                                                                                                                                               but                                                                                                           not                                                                                         limted                                                                                                                        to                                                                                     the                                                                               investgao;                                                                                                                                                                                                                                                                                                                   monitrg,

                                             treamn,                                                                                                                                                    tesing,                                                                                                                                                                                  1emdiaton,                                                                                                                                                                                                       icnoval,                                                                                                                                                                                                                               and/or                                                                                                                                                                                      dispoal                                                                                                                                             of                                            the                                                                         PFAS                                                                                                                                        contégi‘ma,                                                                                                                                                                                                                                                                                                                                                              operating,

                                             maintec                                                                                                                                                                                                                                                             and                                          consultig                                                                                                                                                                                                          cost,                                                                                                                      lega                                                                                           fes,                                                                                                                                               and                                                                                                          dimnshe                                                                                                                                                                                   proeity                                                                                                                                                                              value                                                                                                                                           ‘I                                                                                                                                           I

                                                                                                                              15                                                                                                                            Aditonaly,                                                                                                                                                                                                                                                                                                  becaus                                                                                                                                                                       Defndats                                                                                                                                                                                                                                                           acted                                                                                                             with                                                                         malice                                                                                                                                                         in                            their                                                                                                                 clmsiou,                                                                                                                                                                                                                                                        wilfu,                                                                                             and

                                     wanto                                                                                                                              disrega                                                                                                                                                                                                  of                                                               the                                                                            probale                                                                                                                                                                                 dangerous                                                                                                                                                                                                                                               consequ                                                                                                                                                                                                                                                          of                                                    their                                                                                                               conduit                                                                                                                                                                                                       and                                        its                                                                                                                           foresabl

                            impact                                                                                                                               upon                                                            Municpal                                                                                                                                                                                                                                          Plaintf,                                                                                                                                                                           Municpal                                                                                                                                                                                                                                       Plaintf                                                                                                                                                                                                    is entild                                                                                                                                                          to                                                                 punitve                                                                                                                                                                                 dicmageslf

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      SIXTH                                                                                                                                                                                                 CAUSE                                                                                                                                                                                                                                              OF                                                                   ACTION                                                                                                                                                                                                                                                                                                                                                                                                                                                 I                                                                                                             E

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1 Municpal                                                                                                                                                                                                                                                                                      Plaintf                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :                                                                                                                                   I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CIVL                                                                                                                                                  CONSPIRAY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i                                                                                                                  i

                                                                                                                    16                                                                                                                           Municpal                                                                                                                                                                                                                                     Plaintf                                                                                                                                         realgs                                                                                                                                                                                                              and                                                                                                                      reafﬁms                                                                                                                                                                                                  al                                alegtions                                                                                                                                                                                                                                              set                                                                           f‘lorth                                                                                   in                                                                                             he                                                                                               precding

       parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                 i

                                                                                                                         17                                                                                                                 At                                                                                                al                                                                                          times                                                                                                               relvant                                                                                                                                                                                           herin,                                                                                                                          Defndats                                                                                                                                                                                                                                                                               knew                                                                                                   of                                                                the                                                                            hazrc!ls                                                                                                                                                                                         tha                                                       FOA                                                                                                                                                                                and/or

PFOS                                                                                                                                              posed                                                                     to                                                                                                     the                                                                        enviromt,                                                                                                                                                                                                                                     includg                                                                                                                                                                                                                 Munic1pal                                                                                                                                                                                                                                                    Plaints                                                                                                                                                                 Propety                                                                                                                                                                                                                                                                                                                                                                                        5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            |I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   29                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    l                                                                                                                              f
                                                                                          123405                                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                              l



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l
                                                                                                                           I   54i of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                                        I
                                                                          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l+ l1
                                                                     18                                                                                  Begin                                                                                                                                                                                     in                                                     the                                                                                                  19603                                                                                                                                                                            and                                                               contiug                                                                                                                                                                                                                                                                    throug                                                                                                                                                                                               the                                                              date                                                                                                            (if                                                                                                                     the                                                                ﬁling                                                                                                                             of                     this

                                                   Complaint,                                              Defndats                                                                                                                                                                                                             agred                                                                                                                         to                                                                                                                enga                                                                                                                                                 in                                                              unlawf                                                                                                                                                                                                         and                                                                                          wrongful                                                                                                                                                          acts                                                                                                            thi                                                                                                                                           causeéd                                                                                                                                                           damge                                                                            to

                               Municpal                                                          Plaintf                                                                                                                                                                                             Each                                                                                       Defndat                                                                                                                                                                                                                                                              perfomd                                                                                                                                                                                                                         at                                                              least                                                                                                                                 one                                                                                             overt                                                                                                                     act                                                                 ir                                                                                             furtheianc                                                                                                                                                                                                                                                   of                this

                                                   conspiray                                                          Speciﬁaly,                                                                                                                                                                                                                                Defndats                                                                                                                                                                                                                                                         colude                                                                                                                                                                                     for                                                                           the                                                                                   avowed                                                                                                                                                                          purose                                                                                                                                                            of                                                          piovdng                                                                                                                                                                                                                                                        informat

                       about                                              Fluorsfactn                                                                                                                                                                                                                                                   Products                                                                                                                                                                                                                           to                                              the                                                                                              public                                                                                                                                                 and                                                                                       the                                                                                                    governmt,                                                                                                                                                                                                                                                          with                                                                                                                                                                  the                                                                                      true,                                                                                                            unlawf

              purose                                                                        of                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {                                                                                                                                                                    :

                                                                                                                                                                     a                                                                     inteoaly                                                                                                                                                                                         misrepntg                                                                                                                                                                                                                                                                                                                                                                             to                                                           the                                                                                 EPA                                                                                                                                               and                                                                           the                                  public                                                                                                                                                                           tha                                                                                                                                 Fluhrosfactn
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                          Products                                                                                                                                              wer                                                                                                                                                                                 safe                                                                                                              and                                                                                         di                                                                                                     not                                                                                             pose                                                                                                                                                   a                                        risk                                                                    to                                                                                           hunia                                                                                                                                                                                                                         healt                                                                                                                                               and                                           the

                                                                                                                                                                                                                                                      enviromt,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‘

                                                                                                                                                    b                                                                                      conealig                                                                                                                                                                         the                                                                                        dangers                                                                                                                                                                             of                                                                          Fluorsfactn                                                                                                                                                                                                                                                                                                                                                           Products,                                                                                                                                                                                                            includg                                                                                                                                                                                                                                             the                                                                                  Products’

                                                                                                                                                                                                                                           charteis                                                                                                                                                                                                                        and                                                                                                               their                                                                                                              proensity                                                                                                                                                                                                                to                                                                               contamie                                                                                                                                                                                                                                          soil                                                                                                            anti                                                                                                                                   groundwate,                                                                                                                                                                                                                            from

                                                                                                                                                                                                                                     the                                         governmt                                                                                                                                                                                                                                              and                                                                        public                                                                                                                                                    by,                                                                                     among                                                                                                                                                            other                                                                                                          means,                                                                                                                                            repati3dly                                                                                                                                                                                                                                                                                    misrepntg

                                                                                                                                                                                                                    how                                                                                     Fluorsfactn                                                                                                                                                                                                                                                                                                                                   Products                                                                                                                                                                                       wer                                                                                                 being                                                                                                                                                          dispoe                                                                                                                                    of;

                                                                                                                                                                 c                                                        conealig                                                                                                                                                                              the                                                                    dangers                                                                                                                                                                                                        of                                  PFOA                                                                                                                                                                  and/or                                                                                                                                            PFOS                                                                                                                                                   from                                                                                             consumer                                                                                                                                                                                                                                                                              and                                                                                          the                                      public;

                                                                                                                                                                                                                          and                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i

                                                                                                                                                    (1                           using                                                                                                                                                                  their                                                                                                                                    considerabl                                                                                                                                                                                                                                                                                                                                    resouc                                                                                                                                                                                                                                                                                     to                                                                                   ﬁght                                                                                                                                  legisaton                                                                                                                                                                                                                                                                                                                    conerig

                                                                                                                                                                                         Fluorsfactn                                                                                                                                                                                                                                                                                                                                                     Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ‘                                                                                                                                                                           i

                                                                19                                                                     As                                                                                                                                    a              direct                                                                                                                    and                                                                                                                    prox1mate                                                                                                                                                                                                                                                        result                                                                                                                                    of                                                                                            Defndats’                                                                                                                                                                                                                                                                            cons                                                                                                                                                1racy,                                                                                                                                                          . Defndats’

Fluorsfactn                                                                                                                                                                                                                                                       Products                                                                                                 at                                                     al                               times                                                                                                                                                                  relvant                                                                                                                                                                      to                                                   this                                                              litgaon                                                                                                                                                                                                                    have                                                                                                                                                                                                                                                                      I                                                                                                                                                                                        l

                                                                                                                                                a                        posed                                                                                                                                            and                                                         contiue                                                                                                                                                                                                        to                                                                        pose                                                                              a threa                                                                                                                                                            to                                                                   Municpal                                                                                                                                                                                                                      Plaintfs                                                                                                                                                                                                                Propetiy;

                                                                                                                                   b                                                     contamied                                                                                                                                                                                                                                                      and                                                                                                                            wil                                                                                            contiue                                                                                                                                                                  to                                                        contamie                                                                                                                                                                                                                                                               Municpal                                                                                                                                                                                                                Piantf's                                                                                                                                                                                                                                                        Propety;

                                                                                                                                            0                                                          contamied                                                                                                                                                                                                                                                                 and                                                                                                                                                                wil                                                                                          contiue                                                                                                                                                                                                                                 to                                                                              contamie                                                                                                                                                                                                                                                                                     the”                                                                                                                                           soil,                                                                                                                      Esurface                                                                                                                         and

                                                                                                                                                                                                       groundwate                                                                                                                                                                                                                      on                                                                                        and                                                                      withn                                                                                                                                            the                                                                         vicnty                                                                                                                                                                             of                                                                    Municpal                                                                                                                                                                                  Plamtif’s                                                                                                                                                                                                                                                              Pro'pety;




                                          123405                                        1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  30                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                                                                        i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E
                                                                               Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 55 of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     j                                                                                                                                                          4

                                                                                                                                               (1                                          requid                                                                                                                                                                                                                                          and                                                                                                             wil                                                                                                                                contiue                                                                                                                                                                                                                                  to                                                            requi                                                                                                                                       tesing                                                                                                                                                                 and                                                                                                         monitrg                                                                                                                                                                                                                                     (if                                                                                                              Municpal

                                                                                                                                                                                                    Plaintf’s                                                                                                                                                                                                                                             Propety                                                                                                                                                                                                                       for                                                        PFOA                                                                                                                                                                                     and                                                                                       PFOS                                                                                        contami                                                                                                                                                                                                                                                                                                                                                                                                                        H                                                                                                                                                      i

                                                                                                                                                    e                                               requid                                                                                                                                                                                                                      or                                                                                      wil                                                                                                                requi                                                                                                                                                                                          remdiaton                                                                                                                                                                                                                                                                          of                                                  PFOA                                                                                                                                                       and                                                                                                           PFO§                                                                                                                                                                  conta!mi                                                                                                                                                                                                                                   or,

                                                                                                                                                                                                                          wher                                                                                                                                              remdiaton                                                                                                                                                                                                                                                                                                                           IS                                                                           impractble                                                                                                                                                                                                                                                                                                                 or                                                              insufﬁmet                                                                                                                                                                                                                                                                      for                                                                                           i‘ unichal                                                                                                                                                                                                                                                     Plaintf,

                                                                                                                                                                                                                removal                                                                                                                                                                                                   and                                                                                                 dispoal                                                                                                                                                                                                of                                                                              the                                                                contami;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             F                                                                                                                                              i

                                                                                                                                               f                                                                                                               dlIshe                                                                                                                                                                                                                                        Municpal                                                                                                                                                                                                                                     Plaintf                                                                                                                                                                                                                                                   conﬁde                                                                                                                                                                                                            in,                                                         and                                                                                     the                                                                                            use                                                                                                                     and                                    enjoymt                                                                                                                                                                                                                  of,

                                                                                                                                                                                                                                 Municpal                                                                                                                                                                                                                           Plaints                                                                                                                                                                                                                                          Propety;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {                                                                                                                          I

                                                                                                                                                         g                                                                                                              dimnshe                                                                                                                                                                                                            the                                                                                   value                                                                                                                                          of                                                                        Municpal                                                                                                                                                                                                                           Plaintfs                                                                                                                                                                                       Propety                                                                                                                                                                                                              due                                                                                    to                                                             actui,                                                                                                                               impendg,

                                                                                                                                                                                                                                                                        and/or                                                                         threand                                                                                                                                                                                                                                                                                            PFOA                                                                                                                                                                      and                                                                               PFOS                                                                                                                                     contami,                                                                                                                                                                                                                                                                                           and                                                                                                                                                                                                                t

                                                                                                                                           h                                                                                                                            caused                                                                                                                and/or                                                                                                                                                             W1                                                                                                                                     cause                                                                                                                                         Municpal                                                                                                                                                                                                                                 Plaintf                                                                                                                                                          to                                                                 sutain                                                                                                                                                      subtanily                                                                                                                                                                                                                                                                                                                 increasd

                                                                                                                                                                                                                                                      damges                                                                                                                                                                         and                                                                                                           expns                                                                                                                                                                                                                         resulting                                                                                                                                                                                                                   from                                                                                                 the                                                                               los                                                                      of                                                                   the                                                                    safety},                                                                                                                                                                         use,                                                    benﬁt                                                                                                                                                                        and/or

                                                                                                                                                                                                                                            enjoymt                                                                                                                                                                                                                           of                                                             its                                                                       Propety                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {                                                                                                                              i

                                                                    120                                                                             As                                     a direct                                                                                                                                                                                     and                                                                                                      proximate                                                                                                                                                                                                                                result                                                                                                                                                         of                                                    Defndats’                                                                                                                                                                                                                                             above                                                                                                                              describ                                                                                                                                                                                                                              acts                                          and                                                                                                                                          omisn,

                        al                                     of              wh1c                                                                                             are                                                                                                                violatns                                                                                                                                                                                                                             of                                                        aplicbe                                                                                                                                                                                                                                                                        stae                                                                                                                                        and/or                                                                                                                       fedral                                                                                                                                                                   laws,                                                                                                                                     MuTLicpal                                                                                                                                                                                                                iPlantf                                                                                                                                                        has

                                           incured,                                                        contiues                                                                                                                                                                                                                    to                                                              incur,                                                                                                                                                                            and/or                                                                                                                                                                            wil                                                                                                                                incur                                                                                                                                     cost                                                                                                               and                                                                                                    damges                                                                                                                                                                                                                               relatd                                                                                                                                             tlo                                                                                                     the                                                                   PFAS

                        contami                                                                                                                                                       of                                                                                                                                   its              Propety,                                                                                                                                                                                                                                                                             includg                                                                                                                                                                                                                                   but                                                                                                       not                                                                                              limted                                                                                                                                                          to                                                          the                                                                                   mves’i‘gaton,l                                                                                                                                                                                                                                                                                                                  monitrg,

    treamn,                                                                                                           tesing,                                                                                                                                                                                 remdiaton,                                                                                                                                                                                                                                              removal,                                                                                                                                                                                                                                             and/or                                                                                                                                          dispoal                                                                                                                                                          of                                                            the                                                                              PFAS                                                                                                                                               contéima,                                                                                                                                                                                                                                                                                                                                                     operating,

              maintec                                                                                                                                                     and                                                                                                     consultig                                                                                                                                                                                        cost,                                                                                                                                                           lega                                                                                                             fes,                                                                                                                           and                                                                                     dimnshe                                                                                                                                                                                                                           proety                                                                                                                                                             value                                                                                                                                                                    ]

                                                                          12                                                                                 Aditonaly,                                                                                                                                                                                                                                                                          becaus                                                                                                                                                                                                                      Defndats                                                                                                                                                                                                                                                                  acted                                                                                                                   with                                                                                mahce                                                                                                                                                      in                                        their                                                                                                                              cgrsioué,                                                                                                                                                                                                                               wilfu,                                                                                                      and

              wanto                                                                          disrega                                                                                                                                                                                          of                                 the                                                                            probale                                                                                                                                                                                                                                          dangerous                                                                                                                                                                                                                                                   consequ                                                                                                                                                                                                                                                                            of                                                   their                                                                                                      conduet                                                                                                                                                                                                             and                                          itls                                                                                                                  foresabl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ?                                                                                                                                \
                                  impact                                              upon                                      Municpal                                                                                                                                                                                                                         Plaintf,                                                                                                                                                                                                                                   Municpal                                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                  is                             entild                                                                                                                                            to                                           punitve                                                                                                                                                                                                                 diemags.%

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    v

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  31

                                                      123405                                           1


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
-                                                                                                                                                                                                            Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 56 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‘ 1                                                                                                                                                                                                                                     I1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SEVNTH                                                                                                                                                                                                                                                                                                               CAUSE                                                                                                                                                                                                    OF                                                   ACTION                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3 Municpal                                                                                                                                                                                                                           Plaintfﬂ                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I                                                                                                                                                                                                                                       I

                                                                                                                                                                                                                                                                                                                                                                                                            FRAUDLENT                                                                                                                                                                                                                                                                                                                                                                                                             TRANSFE                                                                                                                                                                                                                                                                             (DUPONT                                                                                                                                                                                                                                                               AND                                                                                                                                   CHEMOIRS)                                                                                                                                                                                                                                                                                                                                                                                                                                                    I

                                                                                                                                                                                12                                                                                                                                                           Municpal                                                                                                                                                                                                                                                   Plaintf                                                                                                                                                              realgs                                                                                                                                                                                                       and                                                                                                    reafﬁms                                                                                                                                                                                                     al                                                                                              alegtions                                                                                                                                                                                                  set                                                                          fIcnPth                                                                                                                                                             in                                             the                                                                                                             precding

                        parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I                                                                                                                                                                                                    I

                                                                                                                                                                                     123                                                                                                                                                                Municpal                                                                                                                                                                                                                                                                   Plaintf                                                                                                                                                                                                         sek                                                                                                           equitabl                                                                                                                                                                                                                                                      and                                                                                        other                                                                                                                                              relif                                                                                                                     pursant                                                                                                                                                                                                                    to                                                                                                                                        Ithe                                                                                     Uniform

                                 Fraudlent                                                                                                                                                                                                                       Transfe                                                                                                                                                                                                                                                                        Act                                                                        agmst                                                                                                                  DuPont                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                                                                                                   1

                                                                                                                                                                                           124                                                                                                                                                                     Upon                                                                                                                                       informatl                                                                                                                                                                                                                                          and                                                                                                                               belif,                                                                                                                                                in                                                                     Februay                                                                                                                                                                                                         2014,                                                                                                                                          DuPont                                                                                                                                                                   formed                                                                                                                                                                                                                The                                                                                                                            Chemours

                                                                                                        Company                                                                                                                                             as                                                                                                                                          a                                                        wholy                                                                                                                                                                                   owned                                                                                                                               sub51diary,                                                                                                                                                                                                                                                                 and                                                                                                  used                                                                                                                 it                                                                          to                                                              spin                                                                                                                           of                                                               Dulont’s                                                                                                                                                                                                                                                                                                    lPerfomanc

                                                                                                                  Chemicals”                                                                                                                                                                      busine                                                                                                                                                                                                                                                                        line                                                                             1n   July                                                                                                            2015                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I

                                                                                                                                                                                                 125                                                                                                                                                                      Upon                                                                                                                                            informat                                                                                                                                                                                                                                     and                                                                                                                                           belif,                                                                                                                                   at                                                the                                                                                                     time                                                                                                      of                                                                                          the                                                                                spinof,                                                                                                                                                         DuPont’s                                                                                                                                                                                                                                                                                                               Perfomanc

                                                                                                                               Chemicals                                                                                                                                        divson                                                                                                                                                                                                                                                                               contaied                                                                                                                                                         the                                                                                                                          AF                                                                                                                           and/or                                                                                                                                                                               PFAS                                                                                                                                              busine                                                                                                                                                                                                      segmnt$I                                                                                                                                                                                                                                 In                                                                                       aditon                                                                                                                                                                                          to                                 the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
                                             transfe                                                                                                                                                                                        of                                                             the                                                                                                                Perfomanc                                                                                                                                                                                                                                                                         Chemicals                                                                                                                                                                                                                                                                                         divson,                                                                                                                                                                                                                 Chemours                                                                                                                                                                                                                                                      aceptd                                                                                                                                                                              bIroad                                                                                                                                                                                                  a§sumption                                                                                                                                                                                                                     of

                                                                                                                                           liabtes                                                                                               for                                                                                                                             DuPont’s                                                                                                                                                                                                   historcal                                                                                                                                                                                                      use,                                                                                                                  manufctre,                                                                                                                                                                                                                                                             and                                                                   discharge                                                                                                                                                                                                                                                       of                                   PFAS                                                                                                                                                        I                                                                                                                                                                                          I

                                                                                                                                                                                                       126                                                                                                                     Upon                                                                                                                                                                                                  mforatin                                                                                                                                                                                                                                                                               and                                                                                                               belif,                                                                                                                                 at                                                                the                                                                                           tune                                                                                                                                         of                                                  the                                                                                                           transfe                                                                                                                                                                                                 of                                                         its                                                                                                    IPerfomanc

                                                       Chemicals                                                                                                                                                                                                                         busine                                                                                                                                                                                                                                                                                        to                                                    Chemours,                                                                                                                                                                                                                           DuPont                                                                                                                                                                                        had                                                                                                          ben                                                                                                                   sued,                                                                                                                                     threand                                                                                                                                                                                                                                                                                                              ith                                                                                          suit                                                                                                                                  and/or                                                                      had

                                                                   knowledg                                                                                                                                                                                                of                                                                                                                     the                                                                         likehod                                                                                                                                                                                        of                                             litgaon                                                                                                                                                                                                                         to                                                                      be                                                    ﬁled                                                                                                                regadin                                                                                                                                                                                                               DuPont’s                                                                                                                                                                                  liabIty                                                                                                                                                                                                                       forIdamges                                                                                                                                                                                                                                      and

                                                                              injurles                                                                                                                                from                                                                                                                                                                  the                                           manufctre                                                                                                                                                                                                                                        and                                                                                                                                              sale                                                                                                       of                   Fluorsfactn                                                                                                                                                                                                                                                                                                                                                                             Products                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                              I

                                                                                                                                                                          127                                                                                                                                                         Upon                                                                                                                                                         informat                                                                                                                                                                                                                                                and                                                                                                                            belif,                                                                                                                                                    as                                                                                    a result                                                                                                                                                      of                                                                                             the                                                                           transfe                                                                                                                                                                       of                                                              Ifset                                                                                                                                                                         31nd                                                                                                                                      liabtes

                                                                                         describ                                                                                                                                                       in                                                        this                                                                                                                                 Complat,                                                                                                                                                                                                                    DuPont                                                                                                                                                                                                                    limted                                                                                                                                                 the                                                                       avilbty                                                                                                                                                                                                                                                                     of                                           aset                                                                                                                        to                                                      covIer                                                                                                                                 JudgtIemns                                                                                                                                                                                                                                                                               for                                 al

                                                                                                   of                                                         the                                            liabty                                                                                                                                                                                                     for                                                                                                                           damges                                                                                                                                     and                                                                                                                                                     injures                                                                                                                                                                         from                                                                                                                the                                                                                            manufctre                                                                                                                                                                                                                                                                                         and                                                                       sach                                                                                                                                           of                                                    FltIorsufacn
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
    Products                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                                                                              I

                                                                                                                                                                    128                                                                                                                                                 Upon                                                                                                                                                            informat                                                                                                                                                                                                                                            and                                                                                                                         belif,                                                                                                                           DuPont                                                                                                                                                                                   has                                                                   (a)                                                                                                         acted                                                                                                                                  with                                                                                  inte                                                                                                                                                  to                                               hinder,                                                                                                                                                                                                                    delay                                              and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1
               defrau                                                                                                                                                                                                            parties,                                                                                                                                                                                                                                or                                                                                    (b)                                                withou                                                                                                                                                                                          recivng                                                                                                                                                                                                                       a reasonbly                                                                                                                                                                                                                                                                                             equivalnt                                                                                                                                                                                                                         value                                                                                                                                                                                                               exchang                                                                                                                                                                                                                                                          for                                the


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           32

                                                                                                                                                     123405                                                                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                 Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 57 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1                                                                                                                                                                1
         transfe                                                                                                                                                                            or                                             obligatn,                                                                                                                                                                                                                                                                                                        and                                                                                            (i)                                                  was                                                                                                                          engad                                                                                                                                                                                                                                               or                                     was                                                                                            about                                                                                                                   to                                                                                                                 enga                                                                                                        in                                                                            a blisme                                                                                                                                                                                                                           ibr                                                                                                whic                                                                 the

                   remaing                                                                                                                                                                                                          aset                                                                                                                                                                    of                                                                                   Chemours                                                                                                                                                                                                                                                                                      wer                                                                                                                     unreasobly                                                                                                                                                                                                                                                                                                                                smal                                                                                                                                                                          in                                                                                 relation                                                                                                                                          to                                                                        pile                                                               busfine;                                                                                                                                                                                                                     or                             (i)

                                       inted                                                                                                                                                                to                                                                             incur,                                                                                                                                                    or                                                                    belivd                                                                                                                                                                                                                                   or                                                                       reasonbly                                                                                                                                                                                                                                                                         should                                                                                                                                                 have                                                                                                                                                          belivd                                                                                                                                                                   tha                                                                                          i                                                                                  would                                                                                                                                              mcur,                                                                                              debts

                   beyond                                                                                                                                                         its                                      abilty                                                                                                                                                              to                                                                               pay                                                                                                                             as                                  they                                                                                                    becam                                                                                                                                                                                                                      due                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l                                                                                                                                                                    i

                                                                                                                                          129                                                                                                                                                                    Upon                                                                                                                     informat                                                                                                                                                                                                                                                                                               and                                                                                                                 belif,                                                                                                                                                                  DuPont                                                                                                                                                     engad                                                                                                                                                                                                                    in                                                                                        acts                                         in                                                         furtheanc                                                                                                                                                                                                                          of                                                                                                a schem                                                                                                                                        to

                                       transfe                                                                                                                                                   its                                                                               aset                                                                                                                          out                                                                                                                                              of                                                                          the                                                       reach                                                                                                                                                                      of                                               parties,                                                                                                                                                                                                              such                                                                                              as                                                                                      the                                                                                                      Municpal                                                                                                                                                                                           PlaiILtf,                                                                                                                                                                                       tha                                                                                                                                  have                                                                  ben

                                                                                                   damge                                                                                                         as                                                                       a result                                                                                                                                                                         of                                                               DuPont’s                                                                                                                                                                                                                           actions                                                                                                                                                                                                       as                                                                describ                                                                                                                                                                                 in                                                  this                                                                                                      Complaint                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            |

                                                                                                                                          130                                                                                                                                                                    Upon                                                                                                                                           informat                                                                                                                                                                                                                                                                                                 and                                                                                                                belif,                                                                                                                                                                                                    DuPont                                                                                                                                                            and                                                                                         Chemours                                                                                                                                                                                                                                         acted                                                                                                                                                                 withou                                                                                                                                                                                          recivng                                                                                                                          a

                                                 reasonbly                                                                                                                                                                                             equivalnt                                                                                                                                                                                                                                                                    value                                                                                                                                               in                                     exchang                                                                                                                                                                                                                                                                         for                                                                                             the                                                                transfe                                                                                                                                                                 of                                       obligatns,                                                                                                                                                                                                                                                                 and                                                                                                                   DuPont                                                                                                                                                              belivd,                                                                                                                              or

                                                 reasonbly                                                                                                                                                                                                                should                                                                                                                                       have                                                                                                                                                                           belivd,                                                                                                                                                                                                              tha                                                                                         it would                                                                                                                                                                                                                                  mcur                                                                                                         debts                                                                                                                                                   beyond                                                                                                                                 Chemouis’                                                                                                                                                                                                                                                           abilty                                                                                                                                                                             to         pay                                                      as

                                                 they                                                                                                           becam                                                                                                                                                                         due                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                                    .

                                                                                                                                                13                                                                                                                                                                      Municpal                                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                     sek                                                                                                                      to                                                                                                 avoid                                                                                                                    the                                                                    transfe                                                                                                                                                                                    of                                                                                              DuPont’s                                                                                                                                                                 liabtes                                                                                                                                                                                                 %or                                                                                                        the                                      claims

                                                             brought                                                                                                                                   in                                                          this                                                                                                 Complaint                                                                                                                                                                                                                                                                                and                                                                                   to                                                                        hold                                                                                                                                    DuPont                                                                                                                                                                                         Jointly                                                                                                                                            and                                                                                                                                          sevraly                                                                                                                                                                liabefor                                                                                                                                                                                                   any                                                                                                                     damges                                                                                                                          or

                                                                       other                                                                                            remdis                                                                                                                                                                                    tha                                                                                     may                                                                                                                                    be                                                                    awrde                                                                                                                                                                                                  by                                                               this                                                                                                                      Court                                                                                                              or                                                       a jury                                                                                                                                under                                                                                                                                             this                                                        Comp1aint                                                                                                                                                                                                                                                                                                                ‘

                                                                                                                                    132                                                                                                                                                                                            Municpal                                                                                                                                                                                                                                            Plaintf                                                                                                                                                                                                            furthe                                                                                                                                                                                        resv                                                                                                                                                                                     such                                                                                                                                       other                                                                                                                                                      rights                                                                                      and                                                                                             re‘mdis                                                                                                                                                                                                                                                tha                                                                            may                                                       be

                                                                       avilbe                                                                                                                                         to                                                                  it as                                                                                     may                                                                                                                               be                                                                                                    necsary                                                                                                                                                                                                                             to                                         fuly                                                                                                                                                                  compensat                                                                                                                                                                                                                                       Municpal                                                                                                                                                                                                                    Plaintf;                                                                                                                                                                                                                for                             theEdamgs                                                                                                                                                                                                                                                   and

                                                                                injures                                                                                                 it has                                                                                                                                                      suferd                                                                                                                                                                                             as                                                                             alegd                                                                                                                                                          in                                                  this                                                                                                Complaint                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EIGHT                                                                                                                                                                                                                                                                               CAUSE                                                                                                                                                                              OF                                                                           ACTION                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ‘1

                                                                                                           §Comnwealth                                                                                                                                                                                                                                                                                                                                                                of                                                                               PA,                                                                                                     acting                                                                                                                                                   by                                                           and                                                                                                                                              throug                                                                                                                                                                                   the                                                                Delawr                                                                                                                                                                                                                            County                                                                                                                                                                    histrcgAoneyl

                             VIOLATN                                                                                                                                                                                                                                                                                                                         OF                                                               PENSYLVAI                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     S UNFAIR                                                                                                                                                                                                                                                           TRADE                                                                                                                                                                                                                                                     PRACTIESHND                                                                                                                                                                                                                                                                                                                                                                       (:30NSU1VIER
                                                                                                                                                     PROTECIN                                                                                                                                                                                                                                                                                                                              LAW                                                                                                                                                                                               73                                                        P S                                                                                                                              §                                                             201                                                                                                                                    1                                                      201                                                                                              9 3 (AGINST                                                                                                                                                                                                                                                                                                                         AL                                                                                                                   DEFNaATS)

                                                                                                                         13                                                                                                                                                                         The                                                                                   DA                                                                                                                Plaintf                                                                                                                                                                                                   realgs                                                                                                                                                                                                                                                                      and                                                                                                                reafﬁms                                                                                                                                                                          al                                                                       alegtions                                                                                                                                                                                                                                                                  set                                                f Hrth                                                                                                                         in                                            ?the                                                                                                                           precding

parghs                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            J                                                                                                                                                                  g

                                                                                                                              134                                                                                                                                                                         This                                                                                      Count                                                                                                                                                                                                            does                                                                         not                                                                                                              sound                                                                                                                                                          in                                                 fraud                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i                                                                                                                                                i



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      !

                                                                                          123405                                                                                        1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     g                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I                                                                                                                                                                          I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I 1
                                                                                                                                    Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 58 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ll                                                                                                                                                    I


                                                                                          135                                                                                                                                                                      The                                                                                                   UTPCL                                                                                                                                                                                                   prohibts                                                                                                                                                                                                                             person                                                                                                                                                           from                                                                                                employg                                                                                                                                                                                                                       “[u]nfa1r                                                                                                                       methods                                                                                                                                                                                                             of                                                              Icompetin”

                            and                                                                                   “unfair                                                                             or                                                                                                                                decptiv                                                                                                                                                  acts                                                                                                                                           or                            practies,”                                                                                                                                                                                                                                           whic                                                                                                                                    are                                                                       deﬁn                                                                                                                                                  to                                  mclude,                                                                                                                                                        mtg)                                                                                                             ah,                                                                                         Ihe                                                                                        folwing

                            condut                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                                                                    I

                                                                                                                                                                           a                                                                                                                           “Causing                                                                                                                                                                                         likehod                                                                                                                                                                                                                                                                                      of                                                                                         confusi                                                                                                                                                                                                                  or                                                   of                                                            misundertag                                                                                                                                                                                                                                                                                                                                                                   as                                                      toI                                                                                          the                                                                                             source,

                                     sponrhi,                                                                                                                                                                                                                                 aprovl                                                                                                                                                                          or                                                  certiﬁalon                                                                                                                                                                                                                                                                                                   of                                                                               gods                                                                                  or                                                          servic                                                                                                                                                         ” 73                                                                                                         P S                                                        § 201                                                                                                                 26L)(i;                                                                                                                                                                                           I

                                                                                                                                                                       b                                                                                                                                          “Reprsntig                                                                                                                                                                                                                                                                                                                         tha                                                           gods                                                                                                                                                                                                or                              servic                                                                                                                                                                                have                                                                                sponrhi,                                                                                                                                                                                                                          aprIc>vl,                                                                                                                                                                                                            c1Iarteis,

                                                ingredts,                                                                                                                                                        use,                                                                                                                                                            benﬁts                                                                                                                                                                            or                                                           quanties                                                                                                                                                                                                                                     tha                                                          they                                                                                                do                                                           not                                                                     have                                                                                                                                                                  ”                                 73                                              P S                                                                                                      §I 201                                                                                                                        2 I(4)V,                                                                                                                                                                                               or

                                                                                                                                                                               c                                                                                                                                               “Engai                                                                                                                                                                                                                         in                                                 any                                                                                  other                                                                                                                                 fraudlent                                                                                                                                                                                                        or                                                               decptiv                                                                                                                                                                           condut                                                                                                                     whic                                                                                                                                                                 creatIs                                                                                                                                                        a likehod

                                                            of            conﬁlsi                                                                                                                                                                                                      or                                                         of                                           misundertag                                                                                                                                                                                                                                                                                                                                                                                                        ”                                                     73                                                  P S                                                                       § 201                                                                                                                                         2 (4)xi

                                                                                                            136                                                                                                                                                    Defndats                                                                                                                                                                                                                             are                                                                                                            person                                                                                                                                                                             under                                                                                                              the                                                              UTPCL

                                                                                                            137                                                                                                                                                    Defndats                                                                                                                                                                                                                                                    violated                                                                                                                                                                                   the                                                                                                       UTPCL                                                                                                                                                                                                in                                                tha                                                                                                             their                                                                                  condut                                                                                                              as                                                                              alegd                                                                                                                                                          herin                                                                                                                                                      caused                                                                                                 a

                                     likehod                                                                                                                      of                                                                                                                        confus10                                                                                                                                                                                        or                                                                                                      of                                                     misundertag                                                                                                                                                                                                                                                                                                                                                                                  as                                                                              to                  the                                                                                           safety                                                                                                                and                                             natureIs                                                                                                                                                                   of                                                 theI                                                                                                  chemials                                                                                                                                                      at

                                     isue

                                                                                                      138                                                                                                                                               Defndats                                                                                                                                                                                                                                                                          violated                                                                                                                                                                                        the                                                                                                           UTPCL                                                                                                                                                                                      in                                                tha                                                                                                           by                                                     their                                                                              condut                                                                                                                                                                      as                                                       alegIi                                                                                                                                                                                            herin                                                                                             they

                  repsntd                                                                                                                                                                                                     tha                                                                                                                                  the                                                                        chemials                                                                                                                                                                                                                   at                                                                     isue                                                                                                                                                      had                                                           aprovl,                                                                                                                                                                                   charteis,                                                                                                                                                                                                                                                                       use,                                                                                                                                  benﬁtIs                                                                                                                                                                                                             or                                 qualites

                  tha                                                                                                       they                        do                                                              not                                                                                                                            have                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                     I

                                                                                                139                                                                                                                                             Under                                                                                                                                                                  Pensylvai                                                                                                                                                                                                                                                                                                                       law,                                                                                                                                an                                                    act                                                                  or                                                         practie                                                                                                                                                                                                     is                                      unfair                                                                                or                                                                                        decptiv                                                                                                                                                                                         Iif                                                                                         it                                               had                                        the

                                     cap01ty                                                                                                       to                              deciv,                                                                                                                                                                                                                                          or                              was                                                                                                                      likey                                                                                                             to                                                                            deciv,                                                                                                                                                                                a subtanil                                                                                                                                                                                                                            portin                                                                                                                                                        of                   the                                                                 putIlic,                                                                                                                                                         andI                                                                                                          was                                                                                         likey                                                         to

           make                                                                                                                    a difernc                                                                                                                                                                                                                                              in                                            the                                    purchasing                                                                                                                                                                                                                                                                                decison                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                     I

                                                                                    140                                                                                                                                             Defndats’                                                                                                                                                                                                                                                                                                                           condut                                                                                                                                                                                      as                                                                                                             alegd                                                                                                                                   herin                                                                                                                                                                constiue                                                                                                                                                                                        unfair                                                                                                                                        (Ir                                                                                    decIativ                                                                                                                                                                                                                           acts                                       or

practies                                                                                                                                                     in                             violatn                                                                                                                                                                                                                                                      of              the                                                                                                                             above                                                                                                                  provisn                                                                                                                                                                                                                                           of                                               the                                                                           UTPCL                                                                                                                                                                                                                                                                                                                                                                                                                                          I                                                                                                                                        I

                                                                                    14                                                                                                                                              As                                                                                                                             a direct                                                                                                                                                                          result                                                                                                                                of                                                                 the                                                                                               acts,                                                                                           omisn                                                                                                                                                                                                                     and                                                                                     practies                                                                                                                       of                                                                       DeIfndats                                                                                                                                                                                                                                                                                  as                                                  set                                                  forth

herin                                                                                                                                    tha                                                               are                                                                                                                                                in                                             violatn                                                                                                                                                                                                                       of                                                   the                                                                                UTPCL,                                                                                                                                                                                                                  Defndats                                                                                                                                                                                                                                                have                                                                                               recivd,                                                                                                                                                                                   Iemd                                                                                   wiIl                                                                                                                               contiue                                                                                                                            to

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I                                                                                                                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           34                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                 123405                                                                        1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I                                                                                                                                            I



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          l‘ li
                                                                                                                                                                                                          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 59 of 66




                                                        reciv,                                                                                                                                                                                     income,                                                                                                                                                                                                   proﬁts,                                                                                                                                                                     and                                                                                                                                             other                                                                                                                                        benﬁts,                                                                                                                                                                                                                        whic                                                                                                                         they                                                                                                                  would                                                                                                                         not                                                                              have                                                                                                            recivd                                                                                                                                                                                                             if                                                            they                                                                                                            had                                                                              not

                                                                                                              engad                                                                                                                                                     in                                                                                the                                                                violatns                                                                                                                                                                                                                   of                                                                                      the                                                                                                          UTPCL                                                                                                                                                                                      as                                                                                                   alegd                                                                                                                                                           herin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    4                                                                                                                                                                                .

                                                                                                                                                                  142                                                                                                                                                                                                            As                                                                 a direct                                                                                                                                                                                   result                                                                                                                                                                                                   of                                                 Defndats’                                                                                                                                                                                                                                                                                                         acts,                                                                                                                       omisn                                                                                                                                                                                                                             and                                                                    practiegs                                                                                                                                                                                                         in                                                        Vielaton                                                                                                                                                                                                                                    of                                                         the

                                                                                          UTPCL,                                                                                                                                                                                                                          the                                                                                     Municpal                                                                                                                                                                                                                                   Plaintf                                                                                                                                                                                                                                                            and                                                              its                                                                    afectd                                                                                                                                                                                                                                     residnt                                                                                                                                                                                                       and                                                                             other                                                                                                          persion                                                                                                                                                                                                  in                                                              éinters                                                                                                                                                                                                      have

                                                                                                                      suferd                                                                                                                                 subtanil                                                                                                                                                                                                                                                           mjury                                                                                                                                  as                                                                                                        alegd                                                                                                                                                                             herin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I

                                                                                                                                                                  143                                                                                                                                                                                                            As                                                                 direct                                                                                                                                            result                                                                                                                                                                                               of                                                                         Defndats’                                                                                                                                                                                                                                                                                                       acts,                                                                                                                          omisn                                                                                                                                                                                                      and                                                                                                   practies                                                                                                                                                                                                    in                                                      violatn                                                                                                                                                                                                                                               of                                                                   the

                                                                 UTPCL,                                                                                                                                                                                                                                        Defndats                                                                                                                                                                                                                                                                        have                                                                                                                                                   caused                                                                                                                                                                                    the                                                                 Municpal                                                                                                                                                                                                                                                                             Plaintf                                                                                                                                                                                                 and                                                                             its                                                                          afectdI                                                                                                                                                                   resid1t                                                                                                                                                                                                                                                       and                                                                      other

                                                                 person                                                                                                                                                                       in                                                                                        inters                                                                                                                                                                             to                                      incur                                                                                                                                          and                                                                                                                         contiue                                                                                                                                                                                 to                                                                        incur                                                                                                                                                 Signﬁcat                                                                                                                                                                                                                     enviromtal,                                                                                                                                                                                                                                                                                                                                ifmancl                                                                                                                                                                                                              and                                                                                                  healt

                                                                          relatd                                                                                                                                     harms                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I                                                                                                                                                      i

                                                                                                                                                             14                                                                                                                                                                                                             As                                                          Defndats’                                                                                                                                                                                                                                                                                                                                                foregin                                                                                                                                                                                                     acts                                                                                                                                                           and                                                             practies                                                                                                                                                                                                                      in                                           violatn                                                                                                                                                                              of                                                                                  the                                                                    UTPCL                                                                                                                                                                                                                                                           wer                                                                                                     the

                                                                                                   subtanil                                                                                                                                                                                                                                      factor                                                                                                                          in                                                     the                                                                    contami                                                                                                                                                                                                                                                                                                                                                                as                                                        alegd                                                                                                                                                                                                        herin,                                                                                                                                                             Defndats                                                                                                                                                                                                                                                are                                               resp‘onibl                                                                                                                                                                                                                                                                                           for                                                                          restoing

                                              to                                                                                           the                                                            Municpal                                                                                                                                                                                                                                                                    P1aintf                                                                                                                                                                               and                                                                                                                                                         its                                                       afectd                                                                                                                                                                                   residnt                                                                                                                                                                                                                                                 and                                                                                                  other                                                                                               person                                                                                                                                                         1n                                                                         irtes                                                                                                                                                                            the                                                                                                                  enormus

                                                                                   cost                                                                                                             and                                                                                                expns                                                                                                                                                                                                                                  whic                                                                                                                                                                             the                                                                                                                                   Municpal                                                                                                                                                                                                    Plamtif                                                                                                                                                                                                                                                     and                                                                                                 such                                                                                  afectd                                                                                                                                                                    persion                                                                                                                                                                                                            in                                                                                         inters                                                                                                                                                                          have

                                              incured                                                                                                                                                                                                                        and                                                                                                      wil                                                                                                              incur                                                                                                             in                                                             remdiatng                                                                                                                                                                                                                                                                                                      the                                                                                                                                    contami                                                                                                                                                                                                                                                                                                                          and                                                                                   otherwis                                                                                                                                                                                                        reJdsing                                                                                                                                                                                                                                                                the                                                                                              mjuries

                             they                                                                                                                                                     have                                                                                         suferd

                                                                                                                                                       145                                                                                                                                                                                                            The                                                                                                   DA                                                                                                       Plaintf                                                                                                                                                                                                                                      sek                                                                                                                                      al                                                  lega                                                                                                                                                        and                                                                                   equitabl                                                                                                                                                                                                 relif                                                                                                                                   as                                                          alowed                                                                                                                                                                           by                                                                                 laéw,                                                                                                               includg,

                                      Intel                                                                                                                                                  alz,                                                                                           injuctve                                                                                                                                                                                                                                                       relif                                                                                                                  for                                                                                                                           Defndats’                                                                                                                                                                                                                                                                            violatns                                                                                                                                                                                                                                                            of                                                                the                                            UTPCL,                                                                                                                                                                                                       as                                                               alithorzed                                                                                                                                                                                                                                                                   under                                                                                                                                     § 73

                   201                                                                                                                                                            4                                          Speciﬁaly,                                                                                                                                                                                                                                                                                                              the                                                                      DA                                                                                                                               Plaintf                                                                                                                                                                                                          sek                                                                                                                                                                     an                                                         injucto                                                                                                                                                                                                                                      requing                                                                                                                                                                               Defndzits                                                                                                                                                                                                                                   to                                                                           cieas                                                                                                                                                         al                                                        false

                             or                                                                                                misleadng                                                                                                                                                                                                                                                    promtinal,                                                                                                                                                                                                                                                                                                                               marketg,                                                                                                                                                                                                                                              and                                                                                                                                   advertisng                                                                                                                                                                                                                                                                   actives                                                                                                                                                                                  regadin                                                                                                                                                                                                                 'ihe                                                      use’of                                                                                                                                                                                                  chemials

                   contaig                                                                                                                                                                                                                                                                                                      PFAS,                                                                                                                                                           PFOS                                                                                                                               and                                                                                                                                   PFOA,                                                                                                                                                                               and                                                                           to                                                                           inform                                                                                                                                                              the                                                                                          medical                                                                                                                                                                                comunity                                                                                                                                                                                                                                 imd                                                                           theipublc                                                                                                                                                                                                                                                                     of                                      the

            true                                                                                                                                                        consequ                                                                                                                                                                                                                                                                                                                                resulting                                                                                                                                                                                                from                                                                                                                                                    the                                                                   prio                                                                                                   use                                                                                                                                 of                                  such                                                                                                                                     contamis                                                                                                                                                                                                                                                                                                                                                                                                                                   l                                                                                                                                                                       3

                                                                                                                                                 146                                                                                                                                                                                                            The                                                                                                    DA                                                                                                  Plaintf                                                                                                                                                                                                                                          has                                                                                        reason                                                                                                                                      to                                                                                                             beliv,                                                                                                                                                                         based                                                                                                               on                                                                                         the                                                           facts                                                                                                             alegd                                                                                                                                                                                    herin,                                                                                                                                                                                   tha                                                                              the




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
Defndats’                                                                                                                                                                                                                                                                                                                                                                                                omisn,                                                                                                                                                                                                                                                                                     misrepntao,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        and                                                                                                                                         practies                                                                                                                                                                                                              relatd                                                                                                                                                                                   lito                                                                                             the:                                                                                                                                                  marketing,




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              35
                             123405                                                                                                                                                                                                       1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                          Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 60 of 66


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I i                                                                                                                                                                                                               a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          l                                                                                                                                                                                                                     1
                                           advertismn,                                                                                                                                                                                                                                                                                                                                       promtin,                                                                                                                                                                                                                                                                                                                                        and                                                                                                                      sale                                                                                                                       of                                                    the                                                                                    contamis                                                                                                                                                                                                                                                                                                                                        identﬁ                                                                                                                                                                                                                herin                                                                                                                                     halve                                                                                                                                                              ViolaJted,                                                                                                                                                                       and                                                                         may

                                 contmue                                                                                                                                                                                                                   to                                                 violate,                                                                                                                                                                                                                    the                                                                                                                  UTPCL,                                                                                                                                                                                                                                  absent                                                                                                                                                                                       the                                                                                                              grant                                                                                                                           of                                      an                                                     injuctlo                                                                                                                                                                                                                                                                                                                                                                                                                                                                    H                                                                                                                                                                                                                           ’

                                                                                                                                     147                                                                                                                                                                                             Unles                                                                                                                                                                                                                            restaind                                                                                                                                                                                                                                                              by                                                                  this                                                                                                                          Court,                                                                                                                                                                              the                                                                                    Defndats                                                                                                                                                                                                                                                     wil                                                                                             likey                                                                                                                                                contiue                                                                                                                                                                                                                                     to                                                            enga                                                                                                               in                                      the

              methods,                                                                                                                                                                                                                                                     acts,                                                                                                                              or                                                                            practies                                                                                                                                                                                                                                                     whic                                                                                                                                                                                           have                                                                                                                                       a likehod                                                                                                                                                                                                                                                                                               to                                                                        deciv,                                                                                                                                                                                 mislead                                                                                                                                                                                           anil                                                                                                      confujse                                                                                                                                                                                        the                                                                    public

              with                                                                                                                                                             respct                                                                                                                                           to                                                                      the                                                                                                                         use                                                                                                                   of                                                 the                                                                                          contamis                                                                                                                                                                                                                                                                                                                                                                          identﬁ                                                                                                                                                                                                herin,                                                                                                                                                                         al                                                                        in                                           violat10n                                                                                                                                                                                                         (if                                                                      the                                                                                                             LlTPC

                                                                                                                                                      148                                                                                                                                                                                         Thes                                                                                                                                                                                                  ongi,                                                                                                                                                                                                                                                        and                                                                                                                                       likey                                                                                                                                                  futre                                                                                                                                                                                   violatns                                                                                                                                                                                                                                                      by                                                   Defndats                                                                                                                                                                                                                                                                                           (if                                                                                                                   the                                                                                UTPCL                                                                                                                                                                    are

                                                                                                                  contray                                                                                                                             to                                                the                                                                                                        public                                                                                                                                                                                                        inters,                                                                                                                                                                                                               therby                                                                                                                                                                                                         necsitag                                                                                                                                                                                                                                                                                                          an                                                                     injucto                                                                                                                                                                                                                                                      to                                      restaui                                                                                                                                                                                            and                                                                                                                                prevnt                                                                                                                                      furthe

                                                                                                                  such                                                                  miscondut                                                                                                                                                                                                                                                     by                                                                                                        the                                                                                                     Defndats                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i

                                                                                                                                                      149                                                                                                                                                                                         Pursant                                                                                                                                                                                                                                                                                  to                                                      Section                                                                                                                                                                                   4 of                                                                                                                                       the                                                                                   UTPCL                                                                                                                                                                                                                                                73                                                                                            P S                                                                                                             § 201                                                                                                                                                     4                        and                                                                                                    d                                                               e to                                                                                                                                   their                                                                                       respctiv

                                                         violatns                                                                                                                                                                                                                                  of                                                                       the                                                                            UTPCL                                                                                                                                                                                                                                                                                   set                                                                                                                       out                                                                                                1n                                               thls                                                                                                                    Complaint,                                                                                                                                                                                                                                                                      the                                                                                            Defndats                                                                                                                                                                                                                                                                        shound                                                                                                                                                                           furthe                                                                                                                                                                   be                                                   orde

                                                                                                          and                                                         direct                                                                                                                                                                 by                                                                                       the                                                                                                       Court                                                                                                                                                                         to                                                                  resto                                                                                                                                                                                                      to                                                                  the                                                                                             Municpal                                                                                                                                                                                                                            Plaintf                                                                                                                                                                                               and                                                                                                                     other                                                                                             peison                                                                                                                                                                                                                                 inl                                                                     inters                                                                                                               in                                      or

                                                                                                          doing                                                                                                                           busme                                                                                                                                                                                  in                                                                                the                                                                                                 County,                                                                                                                                                                                                                   any                                                                                                                   moneys                                                                                                                                                                                                                             or                                                                   proety,                                                                                                                                                                                                                 real                                                                                      or                                                        personal,                                                                                                                                                                                                  wlich                                                                                                                                                                                                Delfndats                                                                                                                                                                                                                may

have                                                                                                                                                                                                                           acquired                                                                                                                                                 by                                                                                                                         means                                                                                                                                                                                           of                                                       then                                                                                                                                       violatns                                                                                                                                                                                                                                                                                              of                                                                    the                                                              UTPCL,                                                                                                                                                                                                                                           and                                                                                                         whic                                                                                                                                 ml                                                                                    Municpal                                                                                                                                                                                                                                                         Plaintf

       have                                                                                                                                                                                                    ben                                                                 caused                                                                                                                                                                                    to                                                                                                  expnd                                                                                                                                                                                 or                                                                                       wil                                                                                                                         be                                                               requid                                                                                                                                                                                                                           to                                             expnd                                                                                                                                                                 so                                                                       as                                              to                                                remdiat                                                                                                                                                                                                                                         or                                                                                                                otherw1s                                                                                                                                                                      adres

                                                         the                                                                                                contami                                                                                                                                                                                                                                                                                                                                                        identﬁ                                                                                                                                                                                                                                                  Withn                                                                                                                                                                                             this                                                                                              Complaint

                                                                                                                                                      150                                                                                                                                                                                         The                                                                                                              DA                                                                                                                           Plaintf                                                                                                                                                                                                                            ﬁnther                                                                                                                                                                                               sek                                                                                                                                                                    and                                                                                       by                                                                  way                                                                                                                              of                                                 restoain                                                                                                                                                                                                                 and/(fr                                                                                                                                                                            restilon                                                                                                                                                                                                                                   an                                                        orde

                                                                    directng                                                                                                                                                                                    Defndats                                                                                                                                                                                                                                                                                                                                          t0                                                                     disgore                                                                                                                                                                                                                                  al                                                                                    monies                                                                                                                                                                                                                acquired                                                                                                                                                                                         or                                                                       retamd                                                                                                                                                                                                                                 by                                   Defidants                                                                                                                                                                                                                                                                                                                          Eas                                             a result                                                                                                                                       of

                         their                                                                                                                                                                      violatns                                                                                                                                                                                                                of                                                                               the                                                                                          UTPCL                                                                                                                                                                                                                                                                    as                                                  alegd                                                                                                                                                                                          herin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H                                                                                                                                                                                                        I

                                                                                                                                           15                                                                                                                                                                                                                     Section                                                                                                                                                                                                                8 of                                                                                                                           the                                                                                                UTPCL                                                                                                                                                                                                                                                                                 73                                                                                            P S                                                                                                                          § 201                                                                                                                                8                                               also                                                                                                            empowrs                                                                                                                                                                                                                                       the                                                                                                                Courit                                                                                                                                                     to                          impose                                                                                                                            a

                                                                               Civl                                                                                                                                  penalty                                                                                                                                                      not                                                                                             excding                                                                                                                                                                                                                                                                                                  $1,0                                                                                                                                                                                                                   for                                                                                     each                                                                                                                                                 wilfu                                                                                                                                                           violatn                                                                                                                                                                                                                                 of                                                               the                                                                                      stamfie                                                                                                                                                                                   and                                                                                                               [a penalty                                                                                                                                                   not

                                                                                      excding                                                                                                                                                                                               $3,0                                                                                                                                                                                                       for                                                                               each                                                                                                                                      violatn                                                                                                                                                                                                                                                            wher                                                                                                                                                            the                                                                                              victm                                                                                                                                    is                                                       sixty                                                                                                                        years                                                                                                                                   of                              age                                                                                                    mi!                                                           older                                                                                                                                                                   i

                                                                                                                                                152                                                                                                                                                                                                         The                                                                                                         DA                                                                                                                                                                      Plaintf                                                                                                                                                                                                                                 is                                                     entild                                                                                                                                                                                                                                                to                                                  the                                                                                              Court’s                                                                                                                                                                                  asemnt                                                                                                                                                                                                                                                       agist                                                                                                                                                                                                                         Defiandts                                                                                                                                                                                                                      of                                             an

                                                                                                aproite                                                                                                                                                                                                                  civl                                                                                                               penalty                                                                                                                                                                                                                                for                                                                          each                                                                                                                         violatn                                                                                                                                                                                                                                                                        of                                                          the                                                                                         UTPCL                                                                                                                                                                                                                   by                                                them                                                                                                                                                                                                                                                                                            i                                                                                                                                                                                                                    I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         l1
                                                                                                                            123405                                                                                                                1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I 1I
                                     Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 61i of 66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       |




                153                                                                     The                                                                                               monies                                                                                                                                                                                          deman                                                                                                                                                                                                                                         herin                                                                                                                                                                                    are                                                                                in                                   excs                                                                                                                                                                                              of                                                     $50,                                                                                                                                                                                    exclui                                                                                                                                                                                 ive                                                                         ofjimerst                                                                                                                                                                                                                             and

cost                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PRAYE                                                                                                                                                                                                                                                             FOR                                                                                                                                 RELIF                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i

                          Plaintfs                                                            pray                                                                                                                               for                                                             judgment                                                                                                                                                                                                                                 aginst                                                                                                                                                                                            Defndats,                                                                                                                                                                                                                                                                 Jomtly                                                                                                                                                                                and                                             sevraly,                                                                                                                                                                                                                              a:s                                                                                                  folvxs

                      1                          The                       Comnwealth                                                                                                                                                                                                                                                                                                                                                                                  of                                                                                      Pensylvai,                                                                                                                                                                                                                                                                                                                                                         acting                                                                                                                                                                        by                                                                             and                                                                               throug                                                                                                                                                                                     thL                                                                                                                                 Delaivr                                                                                                                                                                                                                                       County

                                     Distrc                                                                                                                                    Atorney,                                                                                                                                                                                                           respctfuly                                                                                                                                                                                                                                                 requst                                                                                                                                                                                                                                           tha                                                                                      the                                                                                         Court                                                                                                                             awrd                                                                                                                               the                                                                        foilwng                                                                                                                                                                                                                                                                                    Erelif                                                                                                                   aginst

                                     Defndats,                                                                                                                                                                                         jointly                                                                                                                                                                       and                                                                             sevraly,                                                                                                                                                                                                                                                            as                                                            folws                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             “I                                                                                                                                                               1

                                                                       3                                                                             Enter                                                                                                             an                                                                           orde                                                                                                         enj                                                                               oing                                                                                                                                                  Defndats                                                                                                                                                                                                                                                                                      from                                                                                                                           contiug                                                                                                                                                                                                                to                                                    violate                                                                                                                                                                                                          the                                                                           $TPCL                                                                                                                                                                                      now
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                 and                                                         m                                                        the                                                                              ﬁlture                                                                                                                                          throug                                                                                                                                                                                                       their                                                                                                      decptiv                                                                                                                                                                                                                                             marketing,                                                                                                                                                                                                              and                                                                                                    diretng                                                                                                                                                                                                                              tha                                                                                                     Defndats

                                                                                                             take                                                                                                                                afﬁrmtive                                                                                                                                                                                                                                                      step                                                                                                                                    to                                                          provide                                                                                                                                                                                              acurte                                                                                                                                                                                                                 informat                                                                                                                                                                                                                      the                                                                                     mic                                                                                                                                                                                                                as                                                                     to                                                                the                                                nature

                                                                                                                                                                 and                                               consequ                                                                                                                                                                                                                                                                                                                                of                                                                    PFAS,                                                                                                                                                                   PFOA                                                                                                                                       and                                                                                                PFOS;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                                                   E

                                                           b                                                                                         Enter                                                                                                        an                                                                  orde                                                                                                   requing                                                                                                                                                                                                                                    Defndats                                                                                                                                                                                                                                                                                       to                                                     resto                                                                                                                                                                      to                      the                                                                             MunicIal                                                                                                                                                                                                                                                                                 Plahitf                                                                                                                                                                                                             and                                             other

                                                                                                                                         afectd                                                                                                                                                                              person                                                                                                                                                                                                  in                                                  inters                                                                                                                                                                                                                             in                                                                01                                           doing                                                                                                                                                                             busine                                                                                                                                                                             in                                                the                                                                                        CJunty                                                                                                                                                                                                                                        arid                                                                                                Haverfod

                                                                                                                                         Township,                                                                                                                                                                                                                                                             any                                                          moneys                                                                                                                                                                                    or                                                                                                      proety,                                                                                                                                                                                           real                                                                                                    or                                                                      personal,                                                                                                                                                                   whic                                                                                                                                                                                      liefndagts                                                                                                                                                                                                                                                                                        may                                                           have

                                                                                                                                         acquired                                                                                                                                                                                                          by                                                              means                                                                                                                                             of                                                                 the1r                                                                                                                                   Violatns                                                                                                                                                                                                                                    of                                                       the                                                                                      UTPCL,                                                                                                                                                                                                  and                                                                                 Wlhic                                                                                                                                                                                                             thfe                                                              County                                                                                                                                             and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1                                                                                                                                                    1
                                                                                                                    Municpal                                                                                                                                                                                                                                                    Plaintf                                                                                                                                                                                           have                                                                                                                                        ben                                                                                                                        caused                                                                                                                                                                          to                                                                          expnd                                                                                                                             or                                                            wil                                                                                                     be                                                                                   rilqued                                                                                                                                                                                                                                  to                                                             expnd                                                                                                             so

                                                                                                                                                     as                                            to                                                                       remdiat                                                                                                                                                                                                                                             or                                                                                   otherwis                                                                                                                                                                                                                                                         adres                                                                                                                                                                   the                                                                                                           contami                                                                                                                                                                                                                                                                                                                                         ientﬁld                                                                                                                                                                                                                                                       Withn                                                                                                                          this

                                                                                                                                                     Complaint                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               |                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  |

                                                               0                                                                                                       Enter                                                                                                                an                                                                  orde                                                                                                                      directng                                                                                                                                                                                                                                                      Defndats                                                                                                                                                                                                                                                               to                                             disgore                                                                                                                                                                                                     al                                                       monies!                                                                                                                                                                                                                            acquired                                                                                                                                                                                                    or                                                retaind

                                                                                                     by                                                                                                 Defndats                                                                                                                                                                                                                                                                     as                                                                                     a result                                                                                                                                                                                                               of                                                             their                                                                                                                     violatns                                                                                                                                                                                                                                        of                                                            the                                                                       UTPCiIL                                                                                                                                                                                                                                                                     boih                                                                                                                                   withn                                                                                                                          the

                                                                                                                               County,                                                                                                                                                                                 and                                                                                                         outside                                                                                                                                                        the                                                                          County                                                                                                                                                                                                              tha                                                                    had                                                                                       negatlv                                                                                                                                                                                            impacts                                                                                                                                                              wiLn                                                                                                                                                                                          theiCouny

                                                                   d                                 Enter                                                                                                                                                   an                                                                              orde                                                                                                      awrding                                                                                                                                                                                                                                     the                                                                                                         Comnwealth                                                                                                                                                                                                                                                                                                                                                                            civl                                                                                      penaltis                                                                                                                                                                                                 1i|nder                                                                                                                                                                               73'                                                                    P S                                                                                      § 201                                                                              8

                                                                                                                               aginst                                                                                                                                                                       Defndats                                                                                                                                                                                                                                                                                            in                                                         a                                                                                       sum                                                                                                          not                                                                             excding                                                                                                                                                                                                                                                       $1,0                                                                                                                                                                  for                                                                                   eulch                                                                                                                                                       violatn                                                                                                                                                                                                                   of                                              the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1,

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         37                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i

       123405                                          1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .:


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i                                                                                                                                                                .
             Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 62 of 66

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              f




                                                             staue                                                    and                                                                                                                                  not                                                                                            excding                                                                                                                                                                                                                   $3,0                                                                                                                                                                                for                            each                                                                                        violatn                                                                                                                                                             wher                                                                                      th%                                                                                    victmlL                                                                                                                                                                     sixty                                              years

                                                        of                  age                      or                                                                                                            older;                                                                                                                                                    and                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i                                                                                                                                                                    i

                            6                                        Such                    other                                                                                                                                                               and                                                                                                furthe                                                                                                                                                                           relif                                                                 as                                                                    the                                                                                      Court                                                                                dems                                                                                              just                                                                                                      and                                               proée                                                                                                                                                                                                                                        1!

         2   Haverfod                                                             Township                                                                                                                                                                                                                                  herby                                                                                                                                     sek                                                                                                                         the                                                                                  folwing                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i                                                                                                                                                               3

                                                    A                                                                                                                                Compensatry                                                                                                                                                                                                                                                                                                                                    damges                                                                                                                                                                      acording                                                                                                                                                                                     to                                    prof                                                                                  mcluding,!                                                                                                                                                                                   but                                                                   not‘                                                                                                 limted                                                           to

                                                                                                                                                                                                               1                  Cost                                                                                                                                                            and                                                   expns                                                                                                                                                                                                                 relatd                                                                                                                          to                                               the                                                             past,                                                                           presnt,                                                                                                                               and                                                                                                               futre                                                                                           :mvestigaon,

                                                                                                                                                                                                   sampling,                                                                                                                                                                                                  tesing,                                                                                                                                                         and                                                                         asemnt                                                                                                                                                                                                                              of                                             the                                             extn                                                                                                                      of                                  PF}                                                                                                                       S contami                                                                                                                                                                                                       on

                                                                                                                                                                         and                                                                                                                      withm                                                                                                                       Municpal                                                                                                                                                                                                  Plamtif’s                                                                                                                                                                                                   Propety,                                                                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                               2                                                                    Cost                                                                                                                                                and                                                                                                      expns                                                                                                                                                                                                          relatd                                                                                                         to                                                                 the                                             past,                                                                                                       plesnt,1ad                                                                                                                                                                                                                           futre                                                                                                                                          treamn

                                                                                                                                                                               and                                                                                                   remdiatlon                                                                                                                                                                                                                                                              of                            PFAS                                                                                                                                                               contami                                                                                                                                                                                                                   of                                     Munimpa                                                                                                                                                                                                      Plaintf’s                                                                                                                                                                                                  Propety;

                                                                                                                                                                         3                                                                                             Cost                                                                                                                                             and                                                                                                                  expns                                                                                                                                                                                                 asocmted                                                                                                                                                             with                                                                                             and                                                                          relatd                                                                                                                                                      to                                 the;                                                                                              removal                                                                                 and

                                                                                                                                                               dispoal                                                                                                                                                                                                                       of                                          the                                                                             contami;                                                                                                                                                                                                                                                                                        and                                                                                                                                                                                                                                                                                                                                                                                      i                                                                                                                                                !

                                                                                                                                                           4                                                                                                                  Cost                                                                                                                            and                                                                                        expns                                                                                                                                                                                         relatd                                                                                                                  to                                                                  the                                                    past,                                                                                       presnt,                                                                                                                  and                                                                                                          futlre                                                                                                                        instalo

                                                                                                                                                               and                                                                                                                                        maintec                                                                                                                                                                                                                                                 of                                    monitrg                                                                                                                                                                                                                     1nechasm                                                                                                                                                                                                                                                     to                         asei                                                                                                                                               and                                         eYalut                                                                                                                                          PFAS

                                                                                                                                                      on                                                                    and                                                                                                                   withm                                                                                                                     Municpal                                                                                                                                                                                                                                                     Plaintf                                                                                                                               3 Propety                                                                                                                                                                                                                                                                                                                      1                                                                                                                                                i

                                            B                                                                                   Dimnshed                                                                                                                                                                                                                                                                                                       proety                                                                                                                                                             value;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2                                                                                                                                                i

                                                C                                                                               Consequtial                                                                                                                                                                                                                                                                                                                                                    damges;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E                                                                                                                                                i

                                    D                                                                                 Punitve                                                                                                                                                                                                                                                      damges;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '                                                                                                                                   {I

                                        E                                                                                                     Cost,                                                                                                                                                                                 disburemnt,                                                                                                                                                                                                                                                                                                     and                                                                                                                       atorneys’                                                                                                                                                fes                                                          of                                                          this                                                               lawsit;                                                                                                                                                                                                         I

                                F                                                                               Pre                                                                                                                      judgment                                                                                                                                                                                                               and                                                                                                    post                                                                                        Judgment                                                                                                                                                                                          inters;                                                                                                                             and                                                                                                                                                                                      H                                                                                                                                                    .




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1i 1E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I

                                        G                                                                 Any                                                                                                                                                                                                       other                                                                                     and                                                                      ﬁther                                                                                                                                    relif                                                                                                                                                             as               the                                                                Court                                                                               dems                                                                                                                                 Just,                                                   proe,                                                                                                                                                        And                                                                                                     equitabl

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           38
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1
123405                  1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     II
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 63 of 66                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1 1
                                                                         DEMAN                 FOR                    JURY                                                                                                                                TRIAL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I

         Plaintfherby                            demans         a Jury           trial   for         al        isue                                                                                                                                  so           triable                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           |



                        Dated        June   28            201
                                                                                                                                                                                                        W                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I

                                                                                                                                                                              Jery                                                                                                                                   R                                                                                      DeSidrato                                                                                                                                                                                                                                                                                                                                        01%|                                                                                                                                    ID                                                                             No:                                                                            20197)
                                                                                                                                                             DILWORTH                                                                                                                                                                                                                                                                                                                                                                                                                  PAXSOI‘                                                                                                                                                                                                                                                                                                                 LP                                                                                                                                      i
                                                                                                                                                                                                                                        150                                                                              Market                                                                                                                                                                                                                       Stre                                                                                                                                                                                                          Suige                                                                                                                                                          350B
                                                                                                                                                             Philadep                                                                                                                                                                                                                                                                                                                                                                                                   PA                                                                              19%                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                              Telphon                                                                                                                                                                                                                                                                                                                (215)                                                                                                                                          57                                                                                                                               7                                                                                           0                                                                                                                                                 ‘
                                                                                                                                                                        Fax                                                                                                 (215)                                                                                                                                                                                                           57                                                                                                              720                                                                                                                                                                                                                                                                |                                                                                                                                                                   I
                                                                                                                             Jdesirato@lwhf1vcm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    !

                                                                                                                                                                                                                                 Scot                                                                                                             Sumy*                                                                                                                                                                                                                                          (TX                                                                                                                                           Bari}19507)
                                                                                                                                                                              BARON                                                                                                                                                                                                                                                             & BUD,                                                                                                                                                                                                                                                                                                                      P Ci
                                                                                                                                                                                                                       3102                                                                                                                 Oak                                                                                                                          Lawn                                                                                                                                                Avenug,                                                                                                                                                                                                                                                                                Suite                                                                                                                    I10
                                                                                                                                                                              Dals                                                                                                                                                                                                TX                                                                                                                         75219                                                                                                                                                                                    4281"                                                                                                                                                                                                                                                                                                                              5
                                                                                                                                                                                              Telphon                                                                                                                                                                                                                                                                                                                (214)                                                                                                                                               521                                                                                                                                   3605                                                                                                                                                                                                                      a
                                                                                                                                                                              Fax                                                                                                   (214)                                                                                                                                                                                                        520                                                                                                                    18                                                                                                                                                                                                                                                 H
                                                                                                                                                                                                                       Ca1y                                                                               McDougal                                                                                                                                                                                                                                                                                                                                                                   (TX                                                                                                                                   139                                                                                                                         135690)
                                                                                                                                                                                                                       Carl                                                                                                                                       Burke                                                                                                                                                                    Plckre1*                                                                                                                                                                                                                           (Tux                                                                                                                                                        Bar                                                                           24019)
                                                                                                                                                                                                                       Cristna                                                                                                                                                                                              Sanchez*                                                                                                                                                                                                                                                                          (TX                                                                                                                    13m                                                                                                                                    240i1                                                                                                   85   6)
                                                                                                                                                                                              John                                                                                               Fiske*                                                                                                                                                                                                                              (CA                                                                                                          Bar                                                                                                                                24156)
                                                                                                                                                                                                                                              * T o be                                                                                                                                           admzte                                                                                                                                                                                                                                      p)                                                                                          0 I1al'ic                                                                                                                                                                  vzce                                                                                                             ‘

                                                                                                                                                                                                                       COSIH                                                                                                                                                                                                                                                                                                 SUNHC                                                                                                                                                                                                                                                                                                                             iPARSIEOL
                                                                                                                                                                                                                       & TAYLOR                                                                                                                                                                                                                                                                                                                                                   LC                                                                                                                                                                                                                                                                      1‘                                                                                                                                                                         ‘
                                                                                                                                                                                                                                 8397                                                                                             Highway                                                                                                                                                                                                                                                              23                                                                                                           Sun?                                                                                                                                                                                  10                                                                                                                         I
                                                                                                                                                                              Bel                                                                                                                                                                         Chase                                                                                                                                                                                                              LA                                                                                                            703
                                                                                                                                                                                              Telphon                                                                                                                                                                                                                                                                                                                (504)                                                                                                                                                     394                                                                                                                                    90                                                                                                                                                                                                             I
                                                                                                                                                                              Fax                                                                                                   (504)                                                                                                                                                                                                              394                                                                                                        910                                                                                                                                                                                                                                          H                                                                                                                                                                         1
                                                                                                                                                                              Philp                                                                                                                                                                                       F                                                            Cosich                                                                                                                                                                                                                                                    Jr                                                                         * (LA                                                                                                                                                                                Bar|178)
                                                                                                                                                                                              Daren                                                                                                                                                                                    Sumich*                                                                                                                                                                                                                                         (LA                                                                                                                                                    B’Jn                                                                                                                          231)
                                                                                                                                                                              David                                                                                                                                                                                           A arsiol*P                                                                                                                                                                                                                                                                                                                                          (LA1                                                                                                                      Bar                                                                                                                                          2105)
                                                                                                                                                                              Brando                                                                                                                                                                                            J Taylor*                                                                                                                                                                                                                                                                                                                                                 (L                                                                                                              1 arB                                                                                                                                                  276)
                                                                                                                                                                                                            Christna                                                                                                                                                                                                                                  C0sich*                                                                                                                                                                                                                                                              (LA1                                                                                                                                                            Bar                                                                                                  32%07)
                                                                                                                                                                              Andrew                                                                                                                                                                                                                                    J                                                       Cvitanoc*                                                                                                                                                                                                                                                                                                                                                          :(LA                                                                                                                                   Bar                                                                               3450)
                                                                                                                                                                                       Luan                                                                                                                                                                                   N                                                                                 Smith*                                                                                                                                                                                        (LA                                                                                                                                        Ear                                                                                                                                    354)
                                                                                                                                                                                                                                              * To                                          be                                                                                                   admztepl                                                                                                                                                                                                                                                                                                                                0 hﬁl‘c                                                                                                                                                                    vzce                                                                                                         E

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I                                                                                                                                                                                         I
                                                                                                                                                  Atorneys                                                                                                                                                                                                                                                                                      for                                                                                                          Plamtzﬁ’                                                                                                                                                                                                                                                                          I                                                                                                                                                                                     '

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               l
                                                                                                          39                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     !

123405                           1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1
                                         Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 64 of 66                                                                                                                                                                                                                                                                                                                                    I a                                                                                                     Q




                                                                                                                                                              CERTIFA                                         OF                                                    COMPLIANE                                                                                                                                                             i                                                                                                                 i

                                                                                                                                                                                                                                                                                                                                                                                                                                                           i                                                                                                    1
                                           I certify                            tha                        this                 ﬁling              complies                   with                      the                  provisn                                                                               of                 the                                          Public                                        Alice“                                                                                                 P(IJzcy                                                                        of         the
                         Umﬁed                     Judzcal                                        System          ofPensylvam                                                        Case                          Records                                                                  of               the             Apelat                                                                                      (mic?                                                                                         T rial                     ICourts                                                                   tha
      requi                                ﬁling                   conﬁdetial                                                           informat                        and                 documents                                                                           diferntly                                                                        than                                 no                                      conﬁdetial



                                                                                                                                                                                                                                                                                                                                                                                                                                                                   gi i1
              informat                                       and                      documents                                                                                                                                                                                                                                                                                                                                                                i                                                                                                    '




                                                                                                                                                                                                                                                        Submited                                                        by                                Jery                                             R Dies'dr‘m
                                                                                                                                                                                                                                                        Signature                                                                                     ;                                          ‘M
                                                                                                                                                                                                                                                                                                                                                                                                                   [4'                                             ,4                                                                                                   I
                                                                                                                                                                                                                                       Name                                                      Jery                                             R                                         De              der,                                                                                                  to                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        |
                                                                                                                                                                                                                                              Atorney                                                   No                                  (if                         aplicbe)                                                                                                                                                20197
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '1                                                                                                  |l

                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i                                                                                                   I



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i                                                                                                   i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1   i                                                                                               i



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             li                                                                                                  lI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i                                                                                               I.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                    i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          \                                                                                                5


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1



Rev                              12/07



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 65 of 66



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                            VERIFCATON                                                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 l
                                                                           1,               Melisa                                                                     Murof,                                                            herby                                              stae                                          tha                                                          I            am                              an                                            Asitan                                                         Distrc                                                                                        Atcé>mey,                                                                                                         Chief,

     Envirometal                                                                                                                              Crimes                                    Unit,                             Delawr                                                                   County                                                                 Distrc                                                        Atorney’s                                                                          Ofﬁce,                                                  ancil                                            tha                                         13ave                                                             authoriy

to                                                 make                         this                                       veriﬁcaton                                                                       on   behalf                                           of            the                                      Delawr                                                                            County                                                            Distrc                                                      Atomey’ls                                                                                        Ofﬁctie                                                                                           The                         factul

                   respon                                                                            contaied                                                                   withn                                              the                Complaint                                                                                              are                                true                              and                                coret                                                          to               the                  bes!‘t                                                                    of                     my                                                   knowledg,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I                                                                                                    |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     k
                   informat                                                                                          and                               belif                                    I understa                                                                            tha                                         false                                            staemn                                                                     made                                                 herin                                   are                             3qu                                                           cot                            t6                                the                                penaltis
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‘\                                                                                              .’
                                     of                   18   Pa                          C S A                                                               § 490                             relating                                        to                    unswor                                                                   falsiﬁcton                                                                                               to                           authories
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '1


                              Date                                  June                                        18                      201                                                                                                                                                                                                                                                 W
                                                                                                                                                                                                                                                                                                                                                                   Name                                                  Melisa                                                                            Murof                                                                                                                                                                                              i

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               \


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ‘                                                                                          I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1‘                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        a I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '                                                                                         l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i                                                                                 l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i                                                                                 l       |



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            t                                                                                         |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i                                                                                         I




                                          123096                                       1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i
                                                                        Case 2:21-cv-03587-ER Document 1 Filed 08/11/21 Page 66 of 66                                                                                                                                                                                                                                                                                                                                                         '                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              l»
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i

                                                                                                                                                                                                                                                         VERIFCATON                                                                                                                                                                                                                               \
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I                                                                                                     W
                                                                                                                                                                                                                                                                                                                                                                                      /                                                                                                                                                                                                                        6(-
                                                                    I                   “AND?                                                   92%                                                      herby                                                               stae                tha                                                  I am                the                       lbwsHﬁMAEW‘                                                                                                                                                                                                                        Ifor                                                                      Haverfod

                            Township,                                                           and                           tha              I have                                 authoriy                                               to                       make                             this                              veriﬁcaton                                                                      on                  behalf                  of                               ‘Il-averfod                                                                                                                                                                                     Township

                      The                       avermnts                                                                            in   the            Complaint                                                are                              true                              and                              coret                                           to         the                               best                                of   my             knhwledgé,                                                                                                                                                                                                       informat
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I
                and                     belif                                                         I understa                                                                tha              false                              staemn                                                                    made                                           herin                            are                                  subject                      to                     th'e                                                                                                        penalrtis                                                                                                                0f   18   Pa

                C S A                                               § 490                                          relating
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I                                                                                                       a
                                                                                                                                                                    to unswom                                          falsiﬁcton                                                                                            to anthem                                                                                                                                                                                           I}                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                          .                                                                                                                                 1|                                                                                                                        I

         Date                                              (4               §ZVE1O'LI                                                                                                                                                                                                                                                                                                                                         QM
                                                                                                                                                                                                                                                                                          Name                                                                                                                                                                                                                                            g                                                                                                           i


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I                                                                                                           \
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          |




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .                                                                                                       t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I                                                                                                           t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t                                                                                                           ||
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          t


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i                                                                                                           l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                                                                            .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1'                                                                                                   X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  \


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               !


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ‘

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           §                                                                                               ‘


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I                                     ‘ I




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   j                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   t       [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       |
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I



123094                                                          1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               l
